08-13555-mg   Doc 22164-3   Filed 11/15/11 Entered 11/15/11 15:14:08   Exhibit B
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                            EXHIBIT B
                       08-13555-mg                                               Doc 22164-3                                                    Filed 11/15/11 Entered 11/15/11 15:14:08                                                                                                                               Exhibit B
                                                                                                                                                      Pg 2 of 109


  United              States           Bankruptcy            Court Southern Distrid ofNew                                                           York
  Lehman              Brothers           Holdings         Claims            Processing              Center                                                                                                                                             PROOF OF CLAIM
           Epiq                                                      LLC




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  clo                  Bankruptcy             Solutions

  FOR Station P Box 5076               O
  New York NY 10150 5976                                                                                                                                                                       I
                                                                                                            Chapter 11
  InRe
  Lehman              Brothers           Holdings         Inc        et al                                  Case       No        08 13555               JMP
                                                                                                             Jointly        Administered
                                                          Debtors

  Name ofDcbtor             Agoinst        Which Oaim       is   Held                                       CascNo          ofDchlor


  lehman                        Brothers Holdings Inc                                                        08 13555
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 Name and                  address ofCreditor                        and name and                  address                 where        notices should be sent if                                  r7f 01eek          1his   box     to      indicale        that



  different from Creditor                                                                                                                                                                                claim    amends           apm’iously                 filed


                                                                                                                                                                                                   claim

  JPMorgan Chase Bank                                                                 NA
  245 Park Avenue 12th Floor                                                                                                                                                                       Court Claim                    2gI
                                                                                                                                                                                                    Number
  New                 York               NY          10167                                                                                                                                              lfknown

  Attention Kevin                                         C Kelley Esq
                                                                                                                                                                                                    Filedon                  ibYrti

 Tel         honenwnber                      212 648 0427                                        Email             Address kevin                    c kelley chase com

 Name and                  address         where     payment              should            be sent               if different          from        above                                      .0        Ocd          this   box     ifyou          ore   aware



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 Tel                   enumber                                                                   Email             Address

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 1           Amount              of     Claim as      of    Date Case Filed S                                      See attached Annex                                                                                                                                         uder II s c S07  U                       a Uany           portion       of
 Ifall      or     part     ofyour claim              is   secured               complete               Item        4 below however                          if all ofyour claim                   is   unsecured                 do not complete                             your claim           faIJs  one ofthe
                                                                                                                                                                                                                                                                                                            in                    following
 itern4                                                                                                                                                                                                                                                                       categories           check the box and              state    the
 Ifall       or part        ofyour claim             is entitled               to priority complete                              Item     5                                                                                                                                   amount
 Ifall       or part        ofyour claim             qualifies              as   an        Administrative                    Expense            under          11   U SC           503         b9            complete             Item         6
 o           Check          this       box   ifall   or part ofyour claim                           is       based          on a Derivative Contract                                                                                                                          SpecifY the          priority       ofthe   claim
 III         Check          this       box   ifall   or part ofyour claim                           is       based          ona Guarantee

  IF YOUR CLAIM IS BASED ON AMOUNTS OWED PURSUANT TO EITHER A DERIVATIVE CONTRACT                                                                                                                                                                                             0        Domestic       support obligations under                  II

 OR A GUARANTEE OF A DEBTOR YOU MUST ALSO LOG ON TO http www lehman ilaimscom AND                                                                                                                                                                                             USC              507    a IA           or   aI B
 FOLLOW THE DIRECTIONS TO COMPLETE THE APPLICABLE QUESTIONNAIRE AND UPLOAD                                                                                                                                                                                                    0    Wages          salaries       or commissions           up   to




                                                                                                                                                                                                                  7
 SUPPORTING  DOCUMENTATION OR YOUR CLAIM WILL BE DISALLOWED                                                                                                                                                                                                                       10,950       earned        within 180 days            before    filing


 III         Check          this       box   ifclaim       includes              interest          or other charges                       in   addition to the                principal        amount ofthe                       claim Attach                                ofthe       bankruptcy          petition    or cessation ofthe
 itemized             statement            ofinterest or additional charges                                        Attach          itemized             statement of           interest        or charges to                 this    fonn            or on                    debtor’s      business         whichever        is earlier         11
 http         www lehman claimscomifclaim                                             is    a based               on   a   Derivative              Contract          or Guarantee                                                                                             USC        a4    507
                                                                                                                                                                                                                                                                              DContributions an              to        employee     benefit plan
 2           Basis for Claim                       See attached Annex                                                                                                                                                                                                           U SC S07 a5
                                                                                     l                                                                                                                                                                                        11

1S    ee ins tru  c ti o n 2 on r                     ev   erse          sid e                                                                                                                                                                                          j     Dupto               2,425     ofdeposits        toward      purchase




1
 3           Last four digits of any number                                         by which             creditor                                       debtor          See attached                         Annex                                                            lease       or rental       ofproperty       or services



                                                                                                                                                                                      de
                                                                                                                                 identifies                                                                                                                                                                                                 for

                                                                                                                                                                                                                                                                                                                                               U SC
                           i                                                on 3ao
             3a Debtor may have scheduled                                            a ount              as                                                                                                                                                                   personal         family        or household         use     11

             S ee                      ns truc ti                                                                                  n7     rev 7erse si                                                                                                                        1
                                                                                                                                                                                                                                                                                  507     a7
 4           Secured Claim                                                          4                              side                                                                                                                                                       0    Taxes                            owed



                                                                                                                                                                                                                                                                                                       a
                                               See    instruction                          on reverse                                                                                                                                                                                          or penalties                 to   governmental

             Check          the appropriate               box        ifyour          claim         is   secured             by     a    lien   on       property        or a right ofsetoffand                          provide              the requested                    units       11   USC               507   a8
             infonnation                                                                                                                                                                                                                                                      0    Other          SpecifY         applicable paragraph            of 11
             Nature         ofproperty             or right ofsetoff                         0          Real        Estate                         0        Motor       Vehicle                     0        Other                                                            USC              507

             Describe                  See attached                       Annex
                                                                                                                                                                                                                                                                                        Amount        entitled to priority
             Value         ofProperty                                                                                               Annual Interest                  Rate
             Amount ofarrearage and                              other charges                   as oftime                 case        filed   included             in secured        claim ifany
                                                                                                                                                                                                                                                                                        S See     attached        Annex
                                                                                            Basis       for        perfection


            Amount of Secured Claim S                                                                                            Amount             Unsecured                 S

 6           Amount of Claim that                          qualifies as an Administrative                                               Expense under                    11    U sC                503       b9 S See                  attached              Annex
              See      instruction             6   on reverse side

 7         Credits The amount ofall payments on this claim has                                                                     been        credited  for the pwpose ofmaking    this proof ofclaim

 8         Documents   Attach redacted copies ofany documents                                                                     that support the         claim such as promissory notes purchase
 orders       invoices                 itemized      statements ofrunning                               accounts              contracts             judgments mortgages    and security agreements
 Attach       redacted             copies      ofdocuments                     providing            evidence                ofperfection              ofa security interest See definition      redacted                             of
 on     reverse        side            Ifthe documents                   are   voluminous                     attach         a    summary
 DO NOT SEND ORIGINAL DOCUMENTS                                                                          ATIACHED DOCUMENTS MAY BE DESTROYED                                                                                         AFfER

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 See attached                           Annex
 Date


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                                             Signature

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 08-13555-mg             Doc 22164-3          Filed 11/15/11 Entered 11/15/11 15:14:08                                 Exhibit B
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                               UNITED STATES BANKRUPTCY COURT
                                SOUTHERN DISTRICT OF NEW YORK

 In re                                                                                       Chapter 11 Case         No

 LEHMAN BROTHERS HOLDINGS INC et                                    al                       08 13555     JMP

                                          Debtors                                            Jointly    Administered




                                      AMENDED AND RESTATED
                                   ANNEX TO PROOFS OF CLAIM OF

                     JPMORGAN CHASE BANK NA JPMCB
                   JP MORGAN BANK DUBLIN PLC JPMBD
                  JPMORGAN CHASE FUNDING INC JPMCFI
                 J P MORGAN CLEARING CORP JPM Clearing
             JP MORGAN INTERNATIONAL BANK LIMITED JPMIBL
                    J P MORGAN MARKETS LIMITED JPMM
                      J P MORGAN SECURITIES INC JPMSI
               JPMORGAN SECURITIES JAPAN CO LTD JPMSJC
                    J P MORGAN SECURITIES LTD JPMSL
                   JP MORGAN SUISSE SA JPM Suisse AND
            JP MORGAN VENTURES ENERGY CORPORATION JPMVEC

                 ALL OF THE FOREGOING CLAIMANTS                                    THE CLAIMANTS


                   1        Name     of   Claimants         This   is   the   Amended    and Restated       Annex          the




abovenamed
 Annex      to   the   amended Proofs of Claim


          Claimants each having an address            at
                                                          the   Proofs of


                                                           245 Park Avenue
                                                                                Claimsubmitted

                                                                                      New York New
                                                                                                          by   the



                                                                                                               York 10167


against   debtor   Lehman    Brothers     Holdings    Inc       LBHI           and the other debtors       with which            it   is




being jointly administered         together   with   LBHI       the     Debtors         The Claimants          are parties to the



Collateral Disposition      Agreement dated          as   ofMarch        16,2010       the    CDA among              the   Debtors


the Claimants and certain of the Claimants                 Affiliates     as defined     below         which was approved


by   the Court    as defined   below by       an order dated March 24,2010                    This Annex shall be deemed



incorporated     into   and made   a part of each     ProofofClaim              The   signatory    of each Proof of Claim
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                                                             AMENDED   AND RESTATED ANNEX TO PROOFS OF CLAIM
                                                                                     IPMorgan Chase Bank NA al                                           et




is    authorized    to     make such claim on             behalf        of the Claimant          named      therein    and        to   the extent



applicable         the following persons               collectively            such Claimant’s             Affiliates             such Claimant’s



successors         predecessors          assigns parents subsidiaries                     affiliates       directors        officers      consultants


agents      representatives            advisors    and employees and each other person or entity                                   who         within    the



meaning of         section      15 of the Securities            Act of        1933     or section      20 of the Securities Exchange Act



of    1934 each       as     amended        controls such Claimant                      The amended Proof              of Claim to which                 this




Annex is      attached        supersedes the original proof of claim                       filed      by   the Claimant           named        in such



amended Proof of Claim with                    respect      to the Claims described                   herein


                         2         Basis for Claims                On    September          15,2008         LBHI       and    at   several       times



thereafter     the other Debtors               each of which            is   a direct or indirect subsidiary                of    LBHI filed            with



the United     States Bankruptcy               Court      for    the Southern          District of     New     York         the    Court

voluntary cases            under chapter        11 of title 11 of the United                States     Code      the    Bankruptcy               Code

The     date on which          each Debtor        filed   its    chapter       11 petition with the Court              is   hereinafter          referred



to    as such Debtor’s           Commencement Date


                         On   and prior to their respective                   Commencement Dates                 certain of the Debtors



were     parties with the Claimants to                 among        other things certain commercial                         and financial


relationships       and agreements             which gave          rise      to the claims set forth           in the Proofs            of Claim as



further described            below      such claims collectively with the                        NonDebtor           Claims referred             to   below


the     Claims           In addition       LBHI     guaranteed               all   obligations    owing     to the Claimants              by Lehman


Brothers Inc             LBI      and    all   other   non Debtor             subsidiaries       of   LBHI      in   addition          to the   Debtors


Therefore      this      Annex     contains       descriptions          of the Claimants              claims    collectively             the    Non

Debtor Claims                against   LBI and such             other    non Debtor        subsidiaries        of    LBHI         collectively          the



 Other Lehman              Obligors




                                                                               2
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                                                                 AMENDED   AND RESTATED ANNEX TO PROOFS OF CLAIM
                                                                                        IPMorgan Chase Bank N A al                                          et




                         Unless otherwise                specified       the descriptions           below of          all   of the Claims against



each Debtor are as of such Debtor’s                          Commencement Date The                          dates of the Claims described                     in




the   Derivative         Contract Claims Descriptions                          as   defined    below        are as of the relevant                date or



dates   specified         in the applicable             Calculation        Statement



                                                         Claims against Debtor                  LBHI

                         All   ClaimantslLBHI                      Second           LBHI      Guaranty Claims LBHI owes each


Claimant the amount of                     a     all   of the Claims of such Claimant against                          all   of the Debtors and



 b    all   of the     Non Debtor          Claims of such Claimant against                          all   of the Other         Lehman Obligors


Pursuant         to   the Guaranty         dated       as of September              9,2008      the       Second LBHI Guaranty made by


LBHI LBHI               guaranteed         all   of the obligations            of   itself   and    all   of its direct and indirect



subsidiaries           and   their   respective         successors        to   JPMCB          and   all   of its affiliates          subsidiaries



successors            and assigns All of the Debtors                      other than          LBHI        and   all   of the Other Lehman


Obligors are subsidiaries                  of    LBHI       and    all   of the Claimants are subsidiaries                      or affiliates       of



JPMCB             The amount          of   LBHI         s liability     under the Second             LBHI Guaranty              is   limited      as set forth



therein          LBHI’s      obligations          under the Second              LBHI     Guaranty are secured                  pursuant      to    the



Security         Agreement dated              as of September             9    2008     the     Second LBHI                 Security       Agreement


executed by            LBHI      Certain         Claimants have heretofore                    made demands              against      the    Second LBHI


Guaranty          and enforced their rights against                      collateral provided              by LBHI under              the   Second LBHI


Security         Agreement           all as    described      in   the discussion            of the relevant Claims below                      In addition



LBHI        is   contingently        obligated         to each Claimant to              the extent        that any      payment        to or for the



benefit      of such Claimant of any Claims                        is    rescinded       returned recovered                   avoided       reversed     or



otherwise invalidated                  Any       such rescission           return recovery                avoidance          reversal or invalidation




                                                                                    3
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                                                                   AMENDED   AND RESTATED ANNEX TO PROOFS OF CLAIM
                                                                                          JPMorgan Chase Bank N A al                                           et




will give      rise to          a reinstatement            of the paid    Claim and LBHI              will be obligated               to   the Claimant



with respect to the reinstated                       Claim pursuant            to   the   Second LBHI Guaranty


                           Multiple ClaimantslLBHI                             Derivative        Contract         Guarantee Claims


Reference           is   made to        the descriptions            including        the related definitions              the     Derivative          Contract



Claims Descriptions                      set    forth below         in this    Annex of        the several       ISDA      Master Agreements                       the



 Derivative              Contracts between                  certain Claimants and certain of the Debtors                              and Other        Lehman


Obligors         as      well as the          Claims arising under such Derivative                     Contracts



                           LBHI      owes       to each Claimant that is a party to a Derivative                             Contract         listed   on


Exhibit       A to       this    Annex        the Claims stated          in   the Derivative         Contract Claims Description                       as



owing     to such Claimant under such Derivative                                    Contract     In addition         LBHI        is   contingently



obligated        to      each Claimant that             is   a party to a Derivative            Contract         listed   on    Exhibit      A   to   the



extent    that      any payment to or for the benefit of such Claimant of the Claims arising under such


Derivative          Contract        is   rescinded           returned recovered             avoided         reversed       or otherwise          invalidated



Any such         rescission          return recovery                avoidance         reversal or invalidation              will give        rise to     a



reinstatement             of the paid          Claim and LBHI            will be obligated           to the Claimant with respect                      to    the



reinstated       Claim The guaranty                        that serves    as   the contractual         source of LBHI’s obligations


described        in this        paragraph with respect                to the Claims arising under each such                           Derivative



Contract       is     listed     next    to   the   name      of such Derivative           Contract         on   Exhibit    A
                           JPMCBILBHI                       First   LBHI       Guaranty Claims                   LBHI owes JPMCB                   the



amount        of all of the Claims                  owing by LBI under               the Clearance          Agreement           referred to      below         all




as    described          in the    JPMCBILBI Proof                  of Claim referred           to   below        Pursuant to the Guaranty


dated    as   of    August 26 2008                   the     First LBHI        Guaranty made by LBHI LBHI                                  guaranteed        all    of



the    obligations          of    LBI and       other      named     subsidiaries         of   LBHI    to   JPMCB          under the Clearance




                                                                                    4
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                                                                                         IPMorgan Chase Bank NA al                                                    et




Agreement          referred to in the Proof of                   Claim filed by              JPMCB         against       LBI         attached     to    this    Annex


as   Exhibit      B   the        JPMCBILBI Proof                 of   Claim             The amount           of   LBHI’s             liability   under the           First




LBHI     Guaranty        is      limited   as set forth          therein      LBHI’s           obligations         under the            First    LBHI


Guaranty          are secured pursuant           to    the Security           Agreement dated                as of          August 26 2008                   the     First




LBHI     Security       Agreement              executed by             LBHI         In addition            LBHI        is   contingently          obligated           to




JPMCB        to    the extent       that any   payment to              or for the benefit of               JPMCB              of any Claims arising



under the Clearance Agreement                       is   rescinded           returned recovered                   avoided             reversed         or    otherwise



invalidated           Any such       rescission          return recovery                 avoidance          reversal or invalidation                        will give



rise to a reinstatement              of the paid Claim and                  LBHI         will   be    obligated          to   JPMCB        with respect              to



the reinstated Claim pursuant                  to     the First       LBHI         Guaranty


                       JPMCB JPMCFI JPMIBL JPMM                                                and    JPM     Suisse                 LBIE      Guarantee


Claims         LBHI owes            JPMCB JPMIBL                   and      JPM     Suisse the amount of                      all    of the Claims            owed by


LBIE    to   each of them described                 below             Pursuant      to   the Guarantee             ofLBHI              dated     as    of January



4    2008    the      LBIE Guarantee LBHI guaranteed                                     the   payment by Lehman Brothers


International         Europe           LBIE           of   all   of   its liabilities          obligations         and commitments                      to   any



counterparty of         LBIE         In addition           LBHI        is   contingently            obligated       to      each such Claimant



JPMCFI       and      JPMM          collectively         the      LBIE Claimants                     to   the extent          that    any payment to or                for




the benefit of a        LBIE        Claimant of any Claims                    owed       to    it   by LBIE       is   rescinded          returned


recovered         avoided         reversed     or otherwise            invalidated              Any such          rescission           return recovery



avoidance          reversal or invalidation                will give        rise   to    a   reinstatement          of the paid           Claim and LBHI


will be obligated           to    such LBIE Claimant with respect                             to the reinstated             Claim pursuant                  to the



LBIE    Guarantee




                                                                                   5
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                                                                                      IPMorgan Chase Bank N A al                                               et




                          JPMCBILBHI                    Account Overdraft Claims                          JPMCB            was owed              23,500,000


by LBHI       arising      from an          overdraft     of such amount incurred by                     LBHI       in     its   demand         deposit



account account number 066141605                               with       JPMCB       on or about September                      14,2008           JPMCB

was    also   owed an         additional         235,754            EUR172,619.40               at the prevailing           exchange            rate   on March


15 2010        arising from an overdraft                  of such amount incurred by                      LBHI        in   its   demand          deposit



account       account number                32500619       with       JPMCB          on or about September                   12,2008


                          JPMCBILBHI                    Contingent           Letter of Credit Claims                       LBHI       is   contingently



obligated      to    JPMCB       in    an    amount up         to    a      1,905,316 with respect               to   letters        of credit issued          by


JPMCB        pursuant to two credit                facilities        and    b      an additional          1,718,017 with respect                    to    letters




of credit     that   may be      issued       by   JPMCB             Pursuant to the provisions                  of two credit agreements                      to




which LBHI           is   a party      LBHI     is   obligated        to    reimburse          JPMCB      for   LBHI’s pro             rata share of



draws under          letters   of credit issued by              JPMCB         if   the   co issuers       fail to     pay the amount of the



draw    to   JPMCB            The amount           in clause         a    of the    first   sentence      of this paragraph                is   LCPI’s pro



rata share of such            letters   of credit issued             by    JPMCB         as of    March    6 2010            The amount             in clause



b     of the first sentence of this paragraph                        is    LBHI’s pro          rata share of the additional                     letters   of



credit that     JPMCB may               be obligated       to       issue pursuant to            commitments           existing        as of      LBHI’s


Commencement Date


                          JPMCBILBHI                    Misdirected          Wire Transfers                JPMCB            is   owed           4,519,978 by



LBHI    in    respect      of three misdirected wire transfers                           all   of which    are   post petition Claims


                          a        JPMCB           is   owed         2,959,719 by           LBHI       with respect         to   a   duplicate         payment


made    to    London       Diversified         Fund Limited                 LDFL on November                     17,2008              On    September          3

2008    a    payment for         the    same amount had been made to LDFL’s account                                         at   LBHI UK Branch

and   LBHI      did not       comply with            the recall instructions              for    its   return




                                                                                6
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                        b        JPMCB         is   owed      1,383,259        DKK8,000,000               at   the prevailing       exchange



rates on February           11 2009 and February 12 2009 by                        LBHI On            February          11 2009     and


February       12 2009 JPMCB             wired       this   amount   in total      for    the account of Tudor               Investment



Corporation           Tudor       to the account of           LBHI   at   Skandinaviska              Enskilda Banken            AB        SEB


Bank       which was inconsistent                with Tudor’s instructions                    JPMCB       subsequently paid Tudor               this




amount         A stipulation      to recover        the payments     from         SEB Bank          has been drafted but not yet


submitted       for   approval    to   the Court



                       c         JPMCB         is   owed approximately              177,000 by            LBHI        with respect   to   a


payment        for Drawbridge          Global Macro Master Fund Ltd                           Drawbridge               On    October 29,2008


JPMCB      delivered        a   payment   to    an   LBHI     account       for   further credit to            Drawbridge       inconsistent



with instructions        provided       by Drawbridge            Upon       being made             aware of the error JPMCB


attempted to recall the funds but was unable to do so                              On     November          17,2009          JPMCB

submitted a claim with            LBHI     for      the return of the erroneous               payment


                      JPMCBILBHI                    Legal Expenses             JPMCB          is   owed        3,426,131 by      LBHI      with


respect   to    post petition     legal expenses            incurred in connection             with the Claims



                      JPMCBILBHI                    Securities   Contract          Service         Fees   and Account Charges


JPMCB      was owed a prepetition accrued amount of                               1,335.42         and a post petition accrued



amount    of     539,645 for outstanding               service   fees     on   LBHI business              accounts         numbers


066141605,66650682,230293263,230293298                                  and 230314422               governed          by   the Treasury



Services General Service               Terms and Conditions             Service      Guide between               JPMCB        and   LBHI

                      JPMCBILBHI                    Lehman Brothers               Holdings         Japan Inc               Lehman    Japan

Loans Guarantee                 JPMCB     was owed           113,056,229            1O474,659,591                at   the prevailing



exchange       rate   on March     29 2010           by LBHI with         respect        to   Yen drawings             the   Lehman       Japan




                                                                        7
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                                                                                      JPMorgan Chase Bank NA al                                               et




Loans made            by Lehman Japan under                    the   Committed Revolving                        Credit      Facility     Agreement


between      JPMCB           Tokyo Branch and Lehman Japan dated                                 as    of November               27   2007        the    Japan



Loan       Agreement               The   contractual        source of    LBHI           s obligation            is   the Guarantee dated            as of



August 22,2007               the    Japan Loan Guarantee                     made by LBHI                  in   favor of      JPMCB       with respect



to   the   Obligations        as    such term       is   defined     in the   Guarantee               of   Lehman           Japan   to   JPMCB Of

this   amount        107,933,081               1O 000,000,000            was owed           to   JPMCB by Lehman Japan                            in respect



of principal         62,196          5,762,500           was owed       to    JPMCB        by Lehman Japan                    in respect     of accrued



and unpaid        interest    through September                   15,2008         5,055,087                468,353,791           was owed          to



JPMCB        by Lehman Japan              in respect        of accrued        and unpaid            interest         from September          16 2008


through     March 31,2010                and     5,864         543,300 was owed                  to    JPMCB            by Lehman Japan             in



respect     of legal fees incurred             in   connection       with the Civil Rehabilitation                          proceeding       in   the    Tokyo


District    Court Such Guarantee                    is   secured pursuant          to    the   Cash        Collateral        Agreement dated              as of



March       14,2008 between              LBHI       and   JPMCB         the       Lehman Japan                  Loans    Security        Agreement

In   addition     JPMCB        is   owed       pursuant      to    the Japan      Loan Agreement and                        the Japan     Loan


Guarantee currency conversion                       costs   incurred     by    JPMCB           if   the    Lehman Japan             Loans     are repaid



in   a currency     other than Japanese                  Yen      Proofs of Claim dated                October 16,2008 related                     to   the



Lehman       Japan Loans           have been asserted              against    Lehman Japan                  in a Civil Rehabilitation



proceeding        in the     Tokyo       District    Court


                      JPMSIILBHI                    Securities       Law Claims JPMSI                           and   its   Affiliates have



contingent      contractual         and    non contractual           indemnity           contribution                equitable      and other claims



against     LBHI     for any        losses claims damages or other                       liabilities            or actions     in respect         thereof


joint or several       to    which       JPMSI       and    its   Affiliates      may become               subject      under securities law or



otherwise including without limitation settlement costs investigation                                                    costs   and the fees and




                                                                              8
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                                                                                       IPMorgan Chase Bank N A al                                          et




expenses          of counsel arising            from based        on   or   relating to     the underwriting               placement             and or   sale



by JPMSI or its             Affiliates of securities             issued     or guaranteed         by   LBHI         In circumstances                where



JPMSI        or   an Affiliate       was    the lead      managing underwriter placement                          agent     or   the equivalent           with


respect      to   an offering        of such securities           JPMSI and         the Affiliate          also assert claims of the kind



described         in the preceding          sentence against           LBHI      on behalf of          all   underwriters            or placement



agents in the underwriting or placement syndicate                                 and     their    affiliates with respect                  to    such offer


In   addition       JPMSI      and    its   Affiliates each as an entity that                    may      be liable with         LBHI        to   a creditor



that   has not      filed    a proof of         claim hereby        files   pursuant      to     Bankruptcy         Rule     3005 a          a proof of



claim on behalf of each such creditor                       covering         claims with respect             to   which JPMSI and the


Affiliate of        JPMSI       as   applicable       is   a codebtor        with    LBHI         The name          of each such creditor                 is




not currently        known

                       This      filing    is   intended    to    include without limitation                  all   Claims of the types


described above in the preceding paragraph                              including but not limited to                      all   such Claims related



to   the offerings      described          in   Exhibit    C

                       JPMMlLBHI                    LBREM           Master Repurchase Agreement Guaranty                                           JPMM

was owed           18,907,988.55            by LBHI with           respect    to amounts           owed      to   JPMM          by   LBREM          II   BS


Financing          Mezz     Holdings        LLC       LBREM               pursuant    to the Master Repurchase                        Agreement


dated   as    of   December          27    2007 among            JPMM fk a           Bear        Stearns      International           Limited


     BSIL          LBREM         and Hilton        Mezz     Holdings         LLC     as    set    forth    in the letter from              JPMM      to



LBREM         and Hilton         Mezz       Holdings       LLC dated         November            18 2008          including          all   accompanying


attachments and related detail                      This amount was paid by application                           of cash collateral posted by




                                                                             9
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                                                                                                    JPMorgan Chase Bank N A al                                                             et




LBHI        under the Second                     LBHI       Guaranty and Second                              LBHI     Security        Agreement LBHI                        is




contingently obligated to                         JPMM               to the extent              that this     payment         is    rescinded          returned recovered



avoided          reversed       or otherwise invalidated                                   The        contractual       source of          LBHI        s   obligation           is   the



Guaranty          dated as of August 27,2008 made by                                             LBHI         in favor of          JPMM          as well       as the    Second


LBHI        Guaranty as described                       above


                  Claims against Debtor                               Lehman             Brothers Special Financing                              Inc        LBSF
                           JPMCBILBSF                                Derivative             Contract           Claims          JPMCBILBSF Agreement                                   As


of the date hereof and giving effect                                    to    setoffs       and application              of collateral           to be effected            pursuant


to   the    CDA JPMCB                     is    owed by          LBSF               42,607,145 plus interest under the                             ISDA        Master



Agreement dated                 as of          December               20      1995         as    amended and            including          all   annexes        thereto              the



    JPMCBILBSFAgreement                                    between             JPMCB              as    successor       to    Morgan         Guaranty Trust



Company            of    New York                 and   LBSF                 As    set forth in the Calculation                      Statement dated October                           17


2008 from          JPMCB             to    LBSF            including               all   accompanying                appendices            attachments and media


                                                                                                                                       2
containing related detail                         the      JPMCBILBSF                       Calculation             Statement JPMCB was owed by


LBSF        with respect         to       swap agreements under                                 the    JPMCBILBSF Agreement                            a       1,909,901,999


which was              a net   amount comprised                         of a       Close out Amount                   and Unpaid Amounts                        as such terms



are defined            in the   JPMCBILBSF Agreement                                        plus         b     254,503,233            which was               the   amount            of



JPMorgan           Posted Collateral                       as   defined            in the       JPMCBILBSF Agreement                              that     LBSF     failed to



return to        JPMCB          all       as described                in further detail                 in   the   JPMCBILBSF               Calculation             Statement




1   Demand       for   Payment under Guaranty                        dated    as   of November 19,2008                 from   JPMCB         to   LBHI and       Notice     of
Enforcement            of Security    in respect           of   Guaranty           dated    as   of November 21,2008



2   For   the   convenience     of the          Debtors and their official                  creditors        committee       this   Annex    will      show    the Bates        numbers
of certain      of the Calculation              Statements            excluding          accompanying              CDs Demands         and Notices          delivered      to    the

Debtors and the committee in connection                                with    Rule 2004 document                   production       The   Bates       number of the
JPMCBILBSF Calculation                         Statement        is   JPM 2004            0000048 50




                                                                                                 10
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                                                                    AMENDED    AND RESTATED ANNEX TO PROOFS OF CLAIM
                                                                                            JPMorgan Chase Bank N A al                                             et




                            The Claims            described       in    the   JPMCBILBSF                  Calculation           Statement were paid               as




follows         all   as further described              in   the   JPMCBILBSF                    Calculation            Statement and in accordance



with contractual               rights contained           in   the     JPMCBILBSF Agreement                              and the other agreements


referred       to    in this     Annex


                             i             416,130,873.50               was paid through                 setoff of funds              the     LBSF Account


Setoff         in    LBSF        account number 066143543                           at    JPMCB

                             ii            95,500,000 was               set   off        the    JPMCO Setoff                     against       amounts       owed by


JPMorgan             Chase           Co       JPMCO to LBSF under                                 the    ISDA      Master Agreement dated as of



February         14,2003             as   amended and          including            all    annexes thereto               the    JPMCO LBSF

Agreement               between           JPMCO and               LBSF3             38,498,221 was                set    off    the     JPMBD          Setoff


against        amounts         owed by JPMBD                   fk a      Bear Stearns Bank plc                          BSB to          LBSF      under the



ISDA        Master Agreement dated as of January                                 6       1993     as     amended and            including        all   annexes


thereto the            JPMBDILBSF Agreement                               between              JPMBD       and    LBSF4          and         2,683,199 was        set




off      the    BSCP         Setoff         against     amounts           owed by Bear              Stearns       Credit        Products Inc               BSCP to

LBSF under             the    ISDA         Master Agreement dated                        as    of July 1,2003             as    amended and            including        all




annexes        thereto         the        BSCPILBSF Agreement between BSCP                                         and     LBSF5

                             iii           37,117,173          was paid through                  application        of collateral posted pursuant to



the      JPMCBILBCS Agreement                           as defined            below           in accordance        with contractual              and secured


creditor       rights contained              in   the   CrossAffiliate Agreement dated                              as    of August 1,2008                 the




3   As   described     in   Calculation     Statement dated        as    of   October         17,2008    from     JPM CO         to   LBSF     including    all

accompanying           appendices         attachments    and media containing                  related   detail   JPM2004             0000118   120

4   As   described     in   Calculation     Statement     dated      October      17 2008 from JPMBD                     fk a   BSB     to   LBSF including       all


accompanying           appendices         attachments    and media containing                  related   detail   JPM 2004            0000056  117

5   As   described     in   Calculation     Statement     dated      October      17 2008 from BSCP                to   LBSF     including      all   accompanying

appendices          attachments       and media containing             related   detail        JPM2004      0000051        55




                                                                                     11
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                                                                                             JPMorgan Chase Bank N A al                                         et




    CAA among JPMCB Lehman                                 Brothers          Commercial Corporation                          LBCC Lehman

Brothers Commodity Services                          Inc        LBCS and               LBSF          and



                             iv         1,574,475,765.50                was paid by            application         of cash     collateral       posted by


                                                                                                                                          6
LBHI        under the Second                LBHI     Guaranty and Second                      LBHI     Security        Agreement


                            The Claims           stated   in   the   JPMCBILBSF                 Calculation         Statement have changed                     as




described below as a result of events                           after   the date of such statement                      as   well   as    corrections



identified           by    the Claimants in the reconciliation                    of    their       Claims


                                  1              7,000,000       of the      LBSF Account              Setoff      was subsequently reversed


              thereby        reinstating         7,000,000 of the amount                      owed    to   JPMCB         by   LBSF        by    virtue of



              JPMCB’sreturn                 of   a    4,000,000         to    MKP       Opportunity Master                   Fund Ltd            MKP
              pursuant        to the Stipulation           and Order with Respect                     to Return of Funds             of   MKP dated             as



              of January          8 2009         among     MKP JPMCB                   and    LBSF and             b    3,000,000         to   Sola Ltd


                  Sola pursuant              to the Stipulation           and Order with Respect                       to Return of Funds             of Sola



              dated        as of January         21,2009        among Sola             JPMCB          and   LBSF

                                  2              859,378.63          consisting         of setoffs of the following                 amounts           in the



              following        accounts maintained                by    JPMCB          in     London       for   LBSF which              were applied          on



              July 15,2009 against                 the Claims        owing by           LBSF to JPMCB

                                                 759,608.17          CHF845,595.82                   in account        number 25048103
                                                 74,331.83        EUR53,937.91                     in account      number 25048105
                                                 17,860.24           11,035.74           in account         number 25048106                    and

                                                 7,578.39       SEK61,453.92                  in    account number 25048111




6   As   described     in   Demand    for   Payment under Guaranty             dated    October       24   2008 from      JPMCB     to    LBHI        JPM 2004
0000001       3      and   Notice of Enforcement          of Security   in    respect    of   Guaranty     dated   October     28,2008         from   JPMCB     to


LBHI        JPM 2004        0000009    10




                                                                                12
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                                               AMENDED   AND RESTATED ANNEX TO PROOFS OF CLAIM
                                                                      IPMorgan Chase Bank NA al                                         et




                   3        The amount of           the Claims of               JPMCB        against      LBSF under        the



     JPMCBILBSF Agreement was                   determined            to   have been understated                 in the   JPMCBILBSF


     Calculation   Statement by         33,141,926              which      is   the net result          of an understatement          of the



     Close out Amountowed by              LBSF to JPMCB                    of     47,188,370            an understatement         of the



     Unpaid Amount owed by            JPMCB          to   LBSF of           15,963,588             and    interest     accrued on



     unreturned    collateral posted      by    JPMCB owed by LBSF to JPMCB                                    of    1,917,144



                   4        The amount owed by JPMBD                             to   LBSF under          the   JPMBDILBSF


     Agreement was determined             to   have been overstated                   by    3,855,479           and therefore the


     JPMBD     Setoff   was   overstated       by   a like      amount          as the result of an overstatement                 of the



     Close out Amount owed by             JPMBD           to   LBSF of            2,328,221 and interest accrued on



    unreturned collateral posted by             JPMBD owed by LBSF to JPMBD                                     of    1,527,258


                   5        The amount owed by                      BSCP to LBSF            under the          BSCPILBSF


     Agreement was determined             to   have been understated                   by     359,324 and             therefore the



    BSCP     Setoff   was   understated        by   a like     amount           as the net result         of an overstatement         of



     the   Close out Amountowed by              BSCP           to   LBSF of           32,278 and         interest     accrued on



    unreturned collateral posted by             LBSF owed by BSCP to LBSF                               of     391,602


                   6        The amount owed by                  JPMCO to                   LBSF    under the         JPMCOILBSF

     Agreement     was determined         to   have been understated                   by     130,552 and             therefore the



    JPMCO Setoff was              understated       by    a like      amount          as the result       of interest     accrued on


    unreturned collateral posted by             LBSF owed by                JPMCO             to   LBSF         and



                   7        The amount          applied        pursuant to the             CAA     to    the   amount owing by


    LBSF to JPMCB           was   overstated        by    41,006 which                is   the result of an understatement              of



     the claim    owing by    JPMCB       to   LBCS        under the        JPMCB LBCS                   Agreement        after   taking




                                                                13
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                                                                                    JPMorgan Chase Bank NA al                                                 et




          into consideration              netting    with claims owing by                    LBCS       to   JPMSL       and        JPMVEC          as




          described            below

As    a result of the foregoing              changes        the net unpaid         amount         that       JPMCB       is   owed by         LBSF under

the   JPMCBILBSF Agreement                       after     giving effect to the setoffs and application                              of collateral



pursuant      to    the    CDA     is    42,607,145          plus interest       thereon          Please refer to Section                 3   of this



Annex for          additional      related   Claims


                          WMBILBSF         Agreement              As of   the date hereof the Claims under the                            ISDA           Master



Agreement dated                as of   May 28     1998       as   amended and           including            all   annexes thereto            the



    WMBILBSF Agreement                       between        Washington Mutual Bank                        fk a      Washington          Mutual Bank


FA       WMB               and   LBSF have       been paid          As    set   forth    in the Calculation              Statement dated                 as   of



October     17 2008 from               JPMCB        as assignee      ofWMB              to    LBSF           including        all   accompanying


appendices          attachments and media containing                      related detail           the        WMBILBSF               Calculation



StatementJPMCB                         was owed by         LBSF with       respect       to   swap agreements under                     the



WMBILBSF             Agreement           a    222,326,721           which        was    the Settlement              Amount           as defined          in the



WMBILBSF Agreement                        plus   b         1,208,594       which were             the   Unpaid Amounts                  as defined            in



the   WMBILBSF Agreement                       all   as described         in further detail             in the     WMBILBSF             Calculation



Statement



                          The Claims under           the    WMBILBSF             Agreement were paid                   as follows all as further



described     in     the   WMBILBSF           Calculation          Statement and             in   accordance         with contractual               rights




contained      in the      WMBILBSF           Agreement and               the other agreements referred to                          in this   Annex


                           i           143,221,880         was    paid    by    application        of Posted Collateral                 as defined            in




the   WMBILBSF              Agreement         held    by    JPMCB          and



7   JPM2004    0000121 123




                                                                           14
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                                                                                       JPMorgan Chase Bank N A al                                      et




                           ii            80,313,435 was paid by application                       of cash collateral          posted by         LBHI

                                                                                                                          8
under the Second                 LBHI     Guaranty and Second                 LBHI     Security      Agreement


                           JPMCBILBSF                    Account Overdraft               Claims          JPMCB           was owed         3,361.89 by



LBSF arising from                 an overdraft          of such amount incurred by                LBSF in          its   demand     deposit      account


number 25048112 on                     or about September              12 2008        pursuant      to   the Global       Account Terms


between        JPMCB         and       LBSF



prepetition                JPMCBILBSF

              accrued amount of
                                                         Service       Fees   and Account Charges


                                                 931,881.84 and a post petition accrued amount of
                                                                                                                        JPMCB       is   owed


                                                                                                                                    125,030 by
                                                                                                                                                 a




LBSF in         outstanding            service    fees   on accounts 0278012600                   66143543 and 66625998 pursuant                            to




the Treasury Services                  General Service          Terms and Conditions                 Service       Guide between           JPMCB

and LBSF and               the   Swap        Collateral    Agreement dated June 14,2004 between                               LBSF        the    GMAM

Group Pension I              State Street         Bank and Trust Company and                      JPMCB         as custodian



                           JPMCBILBSF                    Letters of Credit Claims                   Fixed Claims              JPMCB        is   owed


    142,108      plus interest which              is    comprised       of     145,326 net of payments                   applied    to   date of



    3,218 by         LBSF with          respect    to    drawings      made by         a   Ace Property                 Casualty for           23,035,000



under standby Letter of Credit number                           TPTS 379958                b    SunTrust Merchant              Services         for



    4,000,000        under standby Letter of Credit number                            TPTS 265279            and    c    Suez Energy Resources



NA       Inc for      548,880 under standby Letter of Credit number                                 TPTS 690253 each                 issued      by


JPMCB          for   the account of Six Flags                Theme       Parks Inc          Six     Flags       pursuant       to   the Second



Amended          and Restated            Credit    Agreement dated               as of   May 25          2007      as    amended         the    Six Flags



Agreement among                        Six Flags as Borrower the additional                       borrowers         and guarantors             party




8   As   described    in   Demand      for   Payment under Guaranty           dated   October    24,2008     from    JPMCB to LBHI JPM2004
0000001       3 and    Notice     of   Enforcement       of Security    in respect    of Guaranty    dated    October   28 2008 from JPMCB to
LBHI       JPM 2004        0000009      10




                                                                               15
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                                                                                IPMorgan Chase Bank NA al                                                      et




thereto    JPMCB      as Administrative            Agent and           the lenders           party thereto from time to                       time


Pursuant to such credit agreement                 LBSF          as   a lender agreed            to       pay   to    JPMCB            its   pro rata share



of each drawing       made under         such Letters of Credit that                    is   not reimbursed             by Six Flags such pro


rata shares being       121,358          21,074 and             2,894       respectively            under the three drawn                     Letters of



Credit


                   Contingent          Claims      In addition         to    the fixed        claims       described         above           LBSF        is




contingently     obligated      to   JPMCB       in an    amount up           to     11,386 with respect                    to   undrawn        letters        of



credit issued    by JPMCB            pursuant    to the Six Flags            Agreement which amount                              is   LBSF’s pro              rata



share of such     letters   of credit issued by           JPMCB         as    of March         6 2010

                   JPMCBILBSF                    Legal     Expenses            JPMCB           is   owed            1,270,086 by             LBSF for

post petition    legal and consulting            expenses        incurred          in connection           with the Claims



                   JPMMlLBSF                    Derivative       Contract           Claims           As of          the date hereof the Claims



under the      ISDA   Master Agreement dated as of July                        11,2001              as   amended and              including         all




annexes    thereto    the    JPMMlLBSF Agreement                            between          JPMM         and       LBSF      have been paid                   As


set   forth in the Calculation         Statement dated October                     17   2008 from              JPMM      to      LBSF         including             all




accompanying       appendices          attachments and media containing                             related detail           the        JPMMlLBSF

Calculation     Statement9            JPMM       was owed by           LBSF with             respect       to   swap agreements under                         the



JPMMlLBSF Agreement                    19,659,834         which was comprised of a Close out                                 Amount and Unpaid


Amounts        as such terms are defined               in the   JPMMlLBSF Agreement

                   The Claims under              the   JPMMILBSF Agreement were                                 paid   as    follows          all   as



further described      in the   JPMMlLBSF Calculation                        Statement and in accordance                              with contractual




9   IPM 2004   0000043 47




                                                                       16
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rights contained             in the         JPMMlLBSF Agreement                  and the other agreements referred to in                     this




Annex


                            i               2,012,723 was paid by application                      of Posted Collateral        as defined          in




such      JPMMlLBSF Agreement                          held by       JPMM        and



                            ii              17,647,111 was paid by application                      of cash collateral posted by            LBHI

                                                                                                                      10
under the Second                 LBHI        Guaranty and Second                LBHI      Security    Agreement



             Claims against Debtor Lehman Brothers Commodity Services Inc                                                          LBCS
                           JPMCBILBCS                       Derivative       Contract       Claims         As of   the date hereof the



Claims under the                 ISDA        Master Agreement dated               as    of February       2 2006      as   amended and


including        all   annexes          thereto      the     JPMCBILBCS Agreement between JPMCB                                    and   LBCS           have



been paid             As   set   forth in the Calculation                 Statement dated October 17,2008 from                      JPMCB          to




LBCS         including           all   accompanying               appendices     attachments         and media containing            related detail



the       JPMCBILBCS                   Calculation      Statementl1 JPMCB was owed by LBCS                                 with respect       to    swap


agreements under the                    JPMCBILBCS Agreement                       74,972,443            which was the Loss           as defined              in




the    JPMCBILBCS Agreement


                           The Claims under                 the   JPMCBILBCS Agreement                    were paid    as   follows        all as




further described                in   the   JPMCBILBCS               Calculation        Statement and in accordance                with contractual



rights contained             in the         JPMCBILBCS Agreement                   and the other agreements referred to in                     this




Annex

                                                                                                                                                                   f




10   As   described    in   Demand          for   Payment    under   Guaranty   dated    October    24   2008 from   JPMCB    to   LBHI     JPM2004
0000001      3 and     Notice of Enforcement                of Security   in respect of   Guaranty    dated   October 28,2008       from   JPMCB         to


LBHI JPM 2004 0000009

11   JPM2004      0000140 160




                                                                                17
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                                                                                     JPMorgan Chase Bank N A al                               et




                     i           66,304,633             was paid through         setoff of funds           in    LBCS   account number


066647517     at    JPMCB        and



                     ii          8,667,810 was paid by application                        of Posted Collateral           as defined     in    the



JPMCBILBCS Agreement                     held     by    JPMCB

                    The remainder of              the Posted Collateral            was     applied    as    described    elsewhere in        this




Annex


                    The Claims           stated    in   the    JPMCBILBCS              Calculation    Statement have changed                 as



described below as a           result    of events after            the date of such statement              as   well as corrections


identified   by the Claimants            in the reconciliation              of their    Claims


                           l            The Close out Amount owed by                       JPMCB      to        LBCS   under the



          JPMCBILBCS Agreement was                             determined to have been overstated                   in the   JPMCBILBCS


          Calculation      Statement by             731,546 and


                           2            Interest accrued on unreturned                   collateral   posted by         LBCS    owed by


          JPMCB      to    LBCS     of     90,271


                    JPMCBILBCS                     Service Fees and Account Charges                              JPMCB       was owed


 50,583.00    for   outstanding          service        fees   on   LBCS     business      account    number 66647517              pursuant



to   the Treasury Services         General Service               Terms and Conditions             Service        Guide between       JPMCB

andLBCS

                    JPMSLILBCS                    Derivative          Contract         Claims     As of         the date hereof the



Claims under the          ISDA    Master Agreement                   as    amended       the    JPMSLILBCS Agreement


created   pursuant    to   section       2 of   the Transfer          Agreement         dated   as of September          26   2007    as




amended and        including      all   annexes         thereto      the    Transfer     Agreement among JPMSL JPMVEC


and    LBCS   pursuant      to   which certain of the transactions                      under the     ISDA        Master Agreement




                                                                           18
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                                                               AMENDED   AND RESTATED ANNEX TO PROOFS OF CLAIM
                                                                                       JPMorgan Chase Bank N A et al



dated    as    of August       8    2006    as   amended and         including     all   annexes    thereto         the      JPMVECILBCS


Agreement           between           JPMVEC        and   LBCS      were transferred       from     JPMVEC              to   JPMSL      have



been paid         As   set forth in the Calculation               Statement dated October               17   2008 from         JPMSL             to




LBCS          including      all   accompanying          appendices      attachments       and media containing                 related detail



the     JPMSLILBCS             Calculation        Statement 12         JPMSL       was owed by          LBCS with             respect       to    swap


agreements under the                JPMSLILBCS Agreement                     28,878,014      which was the Loss                 as defined                 in




the    JPMSLILBCS Agreement


                       The Claims under             the   JPMSLILBCS Agreement                    were paid        as   follows       all   as



further described            in the   JPMSLILBCS               Calculation   Statement and         in   accordance           with contractual



rights contained          in the Transfer         Agreement and         the other agreements referred to in this                       Annex


                         i            18,015,000 was paid through application                      of Posted Collateral               as defined



in the   JPMSLILBCS Agreement                        and



                         ii           10,863,014         was paid through application              of Posted Collateral as



described       in the    JPMCBILBCS              Calculation       Statement      in accordance          with contractual            rights




contained       in the    JPMCBILBCS Agreement


                       The Claims          stated   in   the   JPMSLILBCS          Calculation      Statement have changed                            as    a



result of interest        accrued on unreturned collateral posted by                      LBCS      owed by          JPMSL       to   LBCS                 of



     24,877


                       JPMVECILBCS                       Derivative    Contract       Claims        As of      the date hereof the



Claims under the             JPMV     sC         BCS Agreement         have been paid         As    set   forth in the Calculation



Statement dated October                17,2008       from       JPMVEC       to   LBCS     including         all   accompanying


appendices        attachments and media containing                     related detail       the    JPMVECILBCS                  Calculation



12   JPM2004     0000161 168




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                                                                                   JPMorgan Chase Bank NA al                                   et




Statement 13           JPMVEC         was owed by           LBCS       with respect     to   swap agreements under                 the



JPMVECILBCS Agreement                         8,466,360            which was the net amount of the Loss                     as   defined    in the



JPMVECILBCS Agreement owed by JPMVEC and                                           the Posted Collateral         as    defined       in the



JPMVECILBCSAgreement                          that   LBCS      failed to   return to     JPMVEC

                       The Claims under              the   JPMVECILBCS Agreement were                        paid through          application



of Posted Collateral under the                JPMCBILBCS Agreement in                        accordance      with contractual            rights




contained in the            CAA     all as   further described         in the      JPMVECILBCS          Calculation          Statement and



the    JPMCBILBCS             Calculation      Statement


                       The Claims        stated in the        JPMVECILBCS             Calculation      Statement have changed                     as



described       below       as a result of events          after   the date of such statement           as   well     as   corrections



identified      by    the Claimants in the reconciliation                of their    Claims


                               1        The Close out Amount owed by                     JPMVEC        to    LBCS      under the



          JPMCBILBCS Agreement was                           determined       to   have been understated          in the



          JPMVECILBCS                Calculation           Statement by         731,546 and


                              2         Interest     accrued on unreturned             collateral    posted by        JPMVEC owed by

          LBCS         to   JPMVEC       of    74,142



          Claims against Debtor Lehman Brothers Commercial                                          Corporation             LBCC
                       JPMCBILBCC                    Derivative        Contract      Claims         As of    the date hereof the



Claims under the            ISDA     Master Agreement dated as of November                          15,1993      as        amended and


including       all   annexes      thereto    the     JPMCBILBCC Agreement                       between      JPMCB              as successor       to




Morgan      Guaranty Trust           Company          of   New York        and     LBCC      have been paid           As    set forth      in the




13   JPM 2004    0000124 139




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Calculation Statement dated October                                   17,2008           from     JPMCB        to    LBCC           including     all




accompanying appendices attachments and media                                                   containing         related detail         the    JPMCBILBCC

Calculation Statement 14                          JPMCB          was owed by               LBCCwith           respect        to    swap agreements under


the   JPMCBILBCCAgreement                                 229,437,765                  which was the net amount of the Close out



Amount and Unpaid Amounts                                as such terms are defined                     in the       JPMCBILBCCAgreement

                               The Claims         described          in    the   JPMCBILBCCCalculation                             Statement were paid as


follows        all    as further described                in    the   JPMCBILBCCCalculation                                Statement and in accordance



with contractual                rights contained             in the       JPMCBILBCCAgreement                              and the other agreements



referred       to    in   this      Annex


                               i           41,483,000            was paid by             application         of Posted Collateral                as defined      in




the   JPMCBILBCCAgreement                                 held by          JPMCB

                               ii          138,486,687               was paid by           application        of cash collateral posted                  by LBHI


under the Second                    LBHI     Guaranty and Second                       LBHI       Security      Agreement            15   and



                               iii         49,468,078            was paid by             setoff     the      BSFX          Setoff         of amounts      owing by


Bear      Stearns         Forex Inc              BSFX           to    LBCC            under the     ISDA      Master Agreement dated                     as of



March 9           1995         as   amended            including          all   annexes thereto           the       BSFXlLBCC Agreement

                                                  16
between        BSFX            and   LBCc




14   JPM20040000235                  327


15   As   described       in   Demand      for   Payment       under Guaranty           dated    October 24,2008            from   IPMCB to LBHI IPM 2004
0000001       3     and   Notice of Enforcement              of Security         in   respect of   Guaranty     dated      October   28 2008 from IPMCB to
LBHI       JPM2004             0000009

16   As   described       in   Calculation       Statement      dated      October      17 2008 from BSFX             to    LBCC     including    all   accompanying

appendices          attachments       and media containing                related detail        JPM 2004     0000328         333




                                                                                        21
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                         The Claims             stated    in   the     JPMCBILBCCCalculation                             Statement have changed                          as



described below as a                  result    of events        after     the date of such statement                         as    well        as    corrections



identified      by     the Claimants in the reconciliation                          of     their   Claims


                           1           The amount           of the Claims of                   JPMCB          against    LBCC              under the



     JPMCBILBCCAgreement                            was determined                  to have        been overstated                 in the       JPMCB LBCC

     Calculation           Statement by             14,224,048                 which      is   the net result of an overstatement                           of the



     Close out Amount owed by                          LBCC          to    JPMCB          of     17,849,773             an overstatement                  ofthe



     Unpaid Amountowed by                         JPMCB           to   LBCC         of         3,706,940 and            interest          accrued on unreturned


     collateral        posted by           LBCC     owed by            JPMCB         to    LBCC          of     81,215 and


                           2           The amount           owed by             BSFX       to   LBCC          under the        BSFXlLBCC Agreement

     was determined              to       have been overstated                 by    524,584 and                therefore the              BSFX         Setoff   was


     overstated         by     a like      amount        which        is   a   result of an overstatement                     of the Close out               Amount


     owed by          BSFX       to    LBCC

As   a result        of the    foregoing         changes         JPMCB           was owed by              LBCC          under the             JPMCBILBCC

Agreement            a net    amount of           13,699,464 less than the amount                               set   forth        in   the     JPMCBILBCC

Calculation          Statement             JPMCB         holds    the corresponding                 cash        collateral          originally applied



against   such amount                as    available     for    application          to    other    Claims Please                       refer    to   Section    3 of    this




Annex for        additional           related     Claims



                       Claims against Debtor Lehman Commercial Paper Inc                                                                   LCPI

                         JPMCBILCPI                      Contingent              Letter of Credit Claims                            LCPI         is    contingently



obligated       to    JPMCB          in    an   amount up        to        a    37,296,747          with respect              to    letters          of credit issued by


JPMCB       and        b     an additional          620,779,702                 with respect        to    letters     of credit that                  may be    issued       by


JPMCB        Pursuant           to    the provisions           of approximately 33 credit agreements                                       to    which LCPI         is   a




                                                                                    22
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                                                                                        IPMorgan Chase Bank N A al                                            et




party LCPI          is   obligated     to   reimburse            JPMCB for LCPI’s                     pro rata share of draws under                 letters    of



credit issued       by        JPMCB    if   the borrower                  fails to   pay the amount of the draw                    to   JPMCB        The


amount       in clause         a   of the    first   sentence              of this paragraph           is   LCPI’s pro rata share of such                  letters




of credit issued by            JPMCB         as of    March               6 2010      The amount             in    clause     b   of the   first   sentence        of



this paragraph           is   LCPI’s pro rata share of the additional                            letters      of credit that       JPMCB may be

obligated     to    issue pursuant           to   commitments                   existing    as of     LCPI s Commencement Date JPMCB

is   providing      to    LCPI’s counsel a confidential                          schedule       listing      among          other things the relevant



borrowers          credit agreements               commitment amounts                       and issued            letters   of credit      All Claims of



the Claimants against                LCPI    are secured                  by   the securities        and securities accounts posted as


collateral    by LCPI under                the Clearance              Agreement            as   defined       below

                         JPMCBILCPI                   American Axle Participation Claims                                        Fixed Claims          As of


March 6,2010 JPMCB                     is   owed       1,685,000 by                  LCPI with         respect       to advances        made by JPMCB


following the            Commencement Date                      to   American Axle                   Manufacturing             Inc        AAM
JPMCB        made such advances                   pursuant           to    AAM’s Senior Unsecured                      Revolving        Credit     Facility



dated   as   of January 9,2004                as   amended among                     AAM         as   Borrower American Axle


Manufacturing             Holdings Inc             JPMCB                  as Administrative           Agent and             the lenders    party thereto



from time      to   time       the    AAM          Loan     Agreement                     Pursuant to the Consent and                   Partial




Assignment          of Participation          dated        as    of April 28 2008               among        JPMCB            Grand     Central    Asset


Trust    PFV       Series      and   LCPI LCPI             purchased a participation                        the      Participation          in   JPMCB’s


loans under the           AAM        Loan Agreement                       Pursuant to the terms of the Participation                         LCPI     is




obligated     to    reimburse        JPMCB           for   JPMCB’s advances                     to    AAM         under the       AAM      Loan


Agreement and LCPI                   has    failed to reimburse                   JPMCB         for the advances             described     above      As of


March    29,2010              JPMCB        held    approximately                   1,361,602         in   cash consisting         of principal       interest




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                                                                                          JPMorgan Chase Bank N A al                                                et




and   fees received          by   JPMCB           from       AAM       with respect               to    advances         funded by LCPI under the



Participation          prior to the       Commencement Date JPMCB                                       is   asserting secured          creditor          setoff and



recoupment            rights with respect             to    such amounts               The remaining unpaid amount                            will   be    satisfied




with principal and            interest         received       by    JPMCB        in respect             of securities posted as collateral by



LCPI

                          Contingent           Claims         In addition as of September                               11 2009 LCPI was


contingently           obligated     to   JPMCB             in an    amount up          to        a      283,548.49 with respect                 to existing



undrawn         letters    of credit issued by               JPMCB         under the          AAM            Loan Agreement and                  b    an



additional           17,212.93 which was available                         to   be borrowed by                    AAM      under the      AAM        Loan


Agreement              Pursuant     to    the Participation             LCPI      is    obligated             to       reimburse    JPMCB        for LCPI’s pro



rata share of such letters of credit                        issued    by   JPMCB             to   AAM             if   and when     drawn The amount                     in




clause          a   of the first sentence         of       this   paragraph       is   LCPI’s pro rata share of such                          letters     of credit



issued by           JPMCB    as   of September               11 2009            The amount               in clause         b   of the    first   sentence         of



this paragraph is LCPI’s pro rata                          share of the additional                     borrowing          availability under the            AAM

Loan Agreement               To     the extent         that additional           amounts               under the         AAM      Loan Agreement              are



funded by           JPMCB     in respect         of   LCPI s         Participation            and not repaid by                AAM       LCPI        is   also



contingently           obligated    with respect to such amounts


                          JPMCBILCPI                       Misdirected          Wire Transfers                          JPMCB     is   owed      867,750 from


LCPI       in   respect    of two    misdirected              wire transfers



                              1            As of March 29,2010                     JPMCB                was owed            220,692       EURI54,947.53


      at   the prevailing         exchange         rate      on September          15,2008                   with respect      to   prepetition


      misdirected         wire transfers          for      letter    of credit fees           owed           to   JPMCB JPMCB                 was owed           this




      amount         in respect     of   its   prorata        share of letter of credit fees under the Bucyrus                                   International




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    Inc    credit facility      dated     May 25           2007    but due to misdirected              wire transfers between



    JPMCB       and    LCPI      the fees were             not paid      On   December 19 2008 LPCI acknowledged                                   that



    the fees were       not     effectively transferred            by LCPI         to   JPMCB         The remaining unpaid amount


    will be satisfied         pursuant     to    the   CDA with          principal and interest            received        by    JPMCB       in



    respect     of securities posted as collateral                 by LCPI


                            2        As    of    March       6    2010    JPMCB          was owed       a total   of        647,059 by LCPI


    with respect       to Lear Corporation revolving                     credit principal payments                due      to   Goldman Sachs


      Co      that were       mistakenly wired              to   LCPI in   the amounts          of     588,235 and               58,824 on July


    17,2006        and August 5,2008 respectively                        The remaining unpaid amount                        will be satisfied



    pursuant       to the   CDA     with principal and interest received                       by    JPMCB     in respect             of securities



    posted    as   collateral     by LCPI




prepetitionaccrued
                     JPMCBILCPI

                       amount       of
                                                  Service        Fees and Account Charges


                                          6,946.96 and a post petition accrued amount of
                                                                                                              JPMCB

                                                                                                                           6,037
                                                                                                                                 was owed


                                                                                                                                       for
                                                                                                                                               a




outstanding service          fees   on LCPI       business        account number 66210860 pursuant                              to   the Treasury



Services General Service            Terms and Conditions                  Service        Guide between         JPMCB                 and   LCPI The


remaining unpaid amounts                 will be satisfied         pursuant        to   the   CDA with       principal and interest



received   by   JPMCB         in respect        of securities posted          as   collateral        by LCPI



                                                 Claims against            Other Debtors


                     JPMCBlLehman                 Brothers         Derivatives Products                Inc        Lehman




postpetition
Derivatives


           accrued
                      JPMCB

                       amount
                                    was owed


                                    of
                                                       a   pre petition accrued amount


                                          17,343 for outstanding               service        fees
                                                                                                      of    11,272.14 and a



                                                                                                     on Lehman          Derivatives          business



accounts numbers 66902622                   66902630             66902649 and 66902673 pursuant                       to    the Treasury




                                                                         25
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Services General Service               Terms and Conditions               Service     Guide between          JPMCB      and    Lehman


Derivatives


                       JPMCBlLehman              Brothers Financial Products                      Inc        Lehman Financial


JPMCB       was       owed   a   prepetition     accrued amount of              5,544.60 and a post petition accrued



amount of            5,501 for outstanding service            fees   on Lehman         Financial        business    accounts numbers



66289009,66289181                 and 66289203 pursuant              to   the Treasury     Services        General Service       Terms


and Conditions          Service     Guide between         JPMCB           and Lehman Financial



                       JPMCBlLehman              Brothers        OTC       Derivatives          Inc        Lehman     OTC JPMCB
was owed         a   pre petition   accrued     amount      of    31,664.10 and a post petition accrued amount of


 5,336     for    outstanding      service    fees on     Lehman aTC business                   accounts     numbers 66624770


66626277          and 66626412 pursuant to the Treasury Services                          General Service          Terms and


Conditions Service           Guide between           JPMCB       and Lehman           GTe


                                 Non Debtor Claims against                   Other Lehman Obligors


                       As noted above          the   NonDebtor            Claims are described             below to   assist   in the



quantification         of the Claims made hereunder by the Claimants against                               LBHI    pursuant     to its



above described           guaranties    of the   Non Debtor           Claims


                       JPMCB Aristos JPMCB                    was owed          a   pre petition accrued amount of               458.33



and   a   post petition accrued amount of                 584    for outstanding          service     fees   on   Aristos   business



account number 66644895 pursuant                     to   the Treasury         Services    General Service Terms and



Conditions Service           Guide between           JPMCB       and Aristos



                       JPMCB Aurora Bank                  FSB        flkla     Lehman     Brothers         Bank FSB            Aurora

Aurora is        contingently      obligated    to   JPMCB       in an     amount up       to     a   83,332,797       with respect      to



letters   of credit issued        by   JPMCB     and      b   an additional           511,801,756          with respect     to letters of




                                                                          26
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credit that   may     be issued by       JPMCB             Pursuant to the provisions                      of approximately 17 credit



agreements to which          Aurora        is   a party Aurora         is   obligated              to    reimburse       JPMCB           for Aurora’s pro



rata share of draws under letters of credit issued by                           JPMCB               if   the borrower          fails to    pay the



amount      of the   draw   to   JPMCB           The amount         in clause             a    of the      first   sentence         of this paragraph is



Aurora’s pro rata share of such                 letters    of credit issued          by       JPMCB          as    of   March 6,2010               The


amount    in clause      b   of the     first    sentence     of   this   paragraph                is   Aurora’s pro rata share of the


additional    letters   of credit that          JPMCB may be           obligated              to    issue pursuant           to   existing



commitments           JPMCB       is   providing to LBHI’s counsel                        a   confidential          schedule listing among


other things the relevant borrowers                      credit agreements                commitment amounts                        and issued      letters




of credit



                     JPMCBIBromley                 LLC JPMCB                was owed a pre petition accrued amount of


 458.33 and a post petition accrued amount of                             531       for   outstanding              service        fees   on Bromley


LLC business         account number 66653703 pursuant                          to   the Treasury                Services       General Service



Terms and Conditions             Service        Guide between         JPMCB              and Bromley LLC


                     JPMCBILB           Investments           Inc JPMCB was owed                             a    pre petition accrued amount


of   3,456.77    and a post petition accrued amount of                              4,573          for   outstanding         service      fees on    LB

Investments     Inc business           account number 66210879 pursuant                                  to the Treasury Services                  General



Service   Terms and Conditions                  Service     Guide between                JPMCB            and    LB     Investments          Inc


                     JPMCBlLehman                  Brothers Bankhaus                     AG             LBB           Fixed Claims            JPMCB        is




owed   the following        amounts in          service     fees for      LBB        Invoice             Group 4338A              pursuant    to the



Domestic Custody Agreement                      dated    September        22,2003              between          LBB      and      JPMCB

                                 2,444.45                 August 1,2008             to    September              14,2008
                                 3,222.23                 September         15      2008 to November                    12,2008 and

                                 17,666.77                November 13,2008                    to        August 31 2009




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postpetition   accrued
                           JPMCB

                             amount of
                                          was       also



                                                    3,722
                                                           owed


                                                                for
                                                                       a    pre petition accrued amount


                                                                      outstanding          service      fees on   LBB
                                                                                                                       of    549.73 and a


                                                                                                                            business    account number



66912857         pursuant       to    the Treasury              Services        General Service             Terms and Conditions              Service



Guide between              JPMCB           and      LBB

                           In addition          JPMCB           is    owed          134,789 with respect             to fees for clearance           advances


provided        to   LBB     which accrued following                           the   Commencement Date


                           Contingent           Claims In             addition       to the fixed         claims described        above      LBB     is




contingently          obligated           to   JPMCB        in an       amount up          to    127,000,000          with respect      to   letters   of


credit that      may be        issued          by   JPMCB             Pursuant to the provisions                 of a credit agreement to which



LBB       is   a party     LBB       is   obligated        to    reimburse           JPMCB        for     LBB’s pro     rata share of draws under



letters    of credit issued           by       JPMCB        if the borrower             fails to     pay the amount of the draw                 to   JPMCB

The    amount         in   the first sentence              of   this    paragraph        is     LBB’s pro      rata share of the letters of credit



that   JPMCB may              be obligated            to issue pursuant               to existing         commitments


                           JPMCBlLehman                    Brothers            Equity Finance                Cayman         Limited           Lehman


Cayman JPMCB                         is   owed         2,875.84 by Lehman Cayman in borrowing                                    fees for a    non cash

collateral loan for loan                  number 294343                     Issue    Marathon        Oil     Corp for the          period August          1

2008      to   September        15,2008 pursuant                       to   the Overseas         Securities      Lender’s Agreement dated June



19     2003 between            JPMCB                London branch and Lehman Cayman


                           JPMCB          is   also   owed            7,221 in post petition fees related                   to   securities    contract



loans provided to             Lehman Cayman                      In addition           JPMCB         is   owed    9,245 by        Lehman Cayman


with respect          to   post petition            legal and consulting                expenses          incurred    with respect      to    the   Claims


                           JPMCB JPMSI                     and        JPM      ClearinglLehman Brothers Inc                            LBI           On


September            19,2008         the       Petition     Date              the United        States     District Court for the Southern




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District of      New      York      entered        an Order granting the application                     of the Securities Investor


Protection       Corporation            for   issuance        of a protective       decree adjudicating              that the customers of         LBI


are in need of the protection                     afforded     by   the Securities        Investor       Protection       Act of 1970        as




amended On May 29,2009                             each of     JPMCB JPMSI               and   JPM       Clearing      filed   proofs of claim



with the Court            the     Initial     LBI Proofs of         Claim On              the date hereof each               of   JPMCB JPMSI

and    JPM   Clearing           filed   amended proofs of claim with                     the Court        together       with the Annexes to



such    proofs      of claim       the        LBI   Proofs of       Claim          The LBI Proofs of Claim copies                      of which      are



attached     hereto       as   Exhibit        B   are hereby incorporated                by   reference       herein      As   described     in



greater    detail    in the      LBI Proofs of Claim                the Claims of          JPMCB          against     LBI under      the Clearance



Agreement        as defined            in the   JPMCBILBI Proof                 of Claim the             Clearance      Agreement            are



guaranteed by the              First    LBHI       Guaranty and secured              pursuant       to   the First     LBHI       Security



Agreement           all   of the Claims of each of JPMCB                         JPMSI        and   JPM       Clearing against       LBI     are



guaranteed by the Second                      LBHI    Guaranty and secured pursuant                      to   the   Second LBHI        Security



Agreement           As described              in greater detail        in the   LBI      Proofs of Claim and the Calculation



Statements described               therein         the following          amounts     were unpaid as of the dates specified in the



LBI    Proofs of Claim


       LBI Proofs              Claimant                                Claim                                          Unpaid Amount
        of Claim
        Section



          2A I                 JPMCB            Clearance      and Settlement     Claims                            6,333,781,099     prepetition
                                                  Clearance     Agreement                                           280,224,670      post petition


          2 A II               JPMCB            Swap Agreement         Claims      lSDA    Master                      35,487,773     prepetition
                                                Agreement

          2 A III              JPMCB            Securities     Contract    Claims for
                                                Securities     Loans      Master Securities                            15,806,901     prepetition
                                                Lending       Agreement       Outof pocket
                                                expenses and transaction         costs




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     LBIProofs            Claimant                                  Claim                                        Unpaid Amount
        of Claim

        Section



        2 A I1            JPMCB           Securities     Contract     Claims for                                   8,565,357      prepetition
                                          Securities     Loans      Master Securities                                  25,302    post petition
                                          Lending      Agreement              Fees   account

                                          balances     and other amounts


        2 A IV            JPMCB           Securities     Contract     Claims for Failed                            2,450,272      prepetition
                                          Transactions         Global Custody         and

                                          Clearing     Agreement

         2 AV             JPMCB           BGI Related         Securities      Lending    Claim                     8,024,375      prepetition
                                           Custodial     Undertaking



        2A   V            JPMCB           Securities     Option Claims             Washington                      2,179,688      prepetition
                                          Mutual       Bank

        2 A VII           JPMCB           Securities     Contract     Service       Fees and                       3,008,872      prepetition
                                          Account      Charges                                                   14,582,913      post petition


      2AVIII              JPMCB           Misdirected         Payments                                         7,004,433.89      post petition


         2B I1             JPMSI          Underwriting and Placement                 Fees                          9,554,671      prepetition




                      Certain of the      JPMCB          Claims          in   the foregoing      table have       been partially paid and



may from      time to time hereafter be paid from the proceeds of                                collateral      posted by       LBI    As of


March    15,2010        the unpaid        amount of Clearance and                     Settlement    Claims         2AI          was


 6,333,781,099



                     As   set   forth in greater detail             in   the   LBI Proofs        of Claim and the Calculation



Statements described            therein    in    addition       to the Claims against              LBI   set   forth   above      the



Claimants assert additional           Claims held by such Claimant against                              LBI some        of which accrued



after the Petition      Date including            but not limited              to post petition         interest costs and expenses



contingent        claims not currently          liquidated          misdirected         payments out of pocket expenses                   and



transaction       costs and securities law claims


                     The Claims       stated      in   the Initial        JPMCBILBI Proof               of Claim arising under the



ISDA    Master Agreement             as defined          in   the   JPMCBILBI Proof                of   Claim and        the Calculation




                                                                              30
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                                                                                 IPMorgan Chase Bank NA al                                     et




Statement         as so defined          changed     as described         below      as   a result of corrections            identified   by   the



Claimants in the reconciliation                of   their   Claims


                             1           The amount of           the Claims of        JPMCB         against      LBI    under the    ISDA


      Master Agreement was determined                       to   have been understated              in   the Calculation          Statement by



        35,487,773         which    is    the result of an overstatement                  of the   Close out Amount owed by


      JPMCB to        LBI of       6,692,220         an overstatement           of the      Unpaid Amount owed by                  JPMCB       to




      LBI   of     28,686,285 and interest accrued on unreturned                             collateral posted          by   JPMCB     owed by


      LBI   to    JPMCB      of    109,268 and


                             2           The    45,567,129 Claim balance stated in the original                              JPMCBILBI


      Proof of Claim was an estimate                  of such understatement                 and should be deemed superseded                    by


      the results    of the reconciliation


As    a result    of the   foregoing       changes     JPMCB         is   owed by LBI under               the    ISDA     Master Agreement



 35,487,773         more than       the    amount    set forth      in   the Calculation           Statement           All of such   amount


plus   interest    thereon        remains unpaid Please              refer     to   Section    3   of this      Annex     for   additional



related    Claims


                      The   foregoing        description         of Claims against           LBI is      qualified in its entirety        by   the



LBI    Proofs     of Claim and shall be deemed amended contemporaneously                                          with any amendments of



the   LBI Proofs of Claim to conform                   to such     amendments


                      JPMCB JPMIBL JPM Suisse JPMCFI JPMM                                                 and     JPMBDlLehman

Brothers International                 Europe          LBIE              Distribution        Agreement Claims Claims of


JPMCB JPMIBL               and    JPM      Suisse against         LBIE with         respect    to distribution agreements and



unwound          failed redemption         transactions      have been included               in   letters      from   JPMIBL      dated



December          15,2008    and from          JPM   Suisse      dated    December 19,2008                 to    PricewaterhouseCoopers




                                                                          31
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                                                                                     JPMorgan Chase Bank N A al                                          et




LLP     as    Joint Administrators             of LBIE              collectively        the    PwC Claim             Letters         The   PwC Claim

Letters copies of which                are attached         hereto       as Exhibit           D    are hereby incorporated            herein        by


reference      herein      As described           in the       PwC       Claim Letters             the following           amounts    are unpaid as of



the dates specified in the              LBIE      Claim Letters


                    Claimant                                          Claim                                          Unpaid Amount


                    JPMIBL             Distribution      Agreement           Share of Revenues                                    689,057.00


                 JPM    Suisse         Distribution      Agreement           Share of Revenues                                    280,879.00




                       Repurchase            Agreement Claims                    In addition Claims of                JPMCB JPMCFI f k a

J P Morgan          Ventures Corporation                   and       JPMM fk a BSIL                    against      LBIE with      respect     to




repurchase agreements have been included                                in    letters   from each of             JPMCB JPMCFI              and   JPMM

dated November 7,2008                   to   LBIE       the         LBIE      Claim Letters copies                   of which      are attached



hereto as Exhibit         E      The    following          amounts           described        in   the      LBIE    Claim Letters      were paid in



the case of     JPMCB            with application           of LBIE collateral and in the case of                           JPMM      and    JPMCFI


with application         of cash       collateral      posted by          LBHI        under the Second               LBHI     Guaranty and Second



LBHI     Security      Agreement1




0000004000006
17   Demand   for   Payment    under

             Notice of Enforcement
0000007 000008          Restated
                                        Guaranty


                                    Demand
                                                       dated

                                             of Security

                                                 for   Payment
                                                                as of

                                                               in
                                                                        October

                                                                    respect of
                                                                                   24
                                                                                 Guaranty
                                                                       under Guaranty
                                                                                         2008 from

                                                                                               dated

                                                                                              dated    as
                                                                                                         as
                                                                                                            JPMCB     to   LBHI
                                                                                                              of October 29,2008
                                                                                                                                  JPM 2004

                                                                                                            of November 14 2008 from
                                                                                                                                     JPM 2004
                                                                                                                                               JPMCB to
LBHI    and Notice of Enforcement             of Security       in   Respect of Guaranty           dated    as   of November 14,2008       from  JPMCB
to   LBHI




                                                                                 32
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                     Claimant                                     Claim                                      Paid Amount


                      JPMCB              Global Master Repurchase Agreement                                        13,029,269.02


                      JPMCFI             Reverse Repurchase       Transactions                                      3,889,936.81


                          JPMM           Global Master Repurchase Agreement                                         1,876,971.00




                           Derivative      Contract Claims Calculation                  Statements        Demands        under the Second



LBHI     Guaranty and Notices of Enforcement                          of Security       sent   by   JPMCB         and   JPMCFI      and



JPMM         to    LBIE which          reflect    the assertion and      payment of         additional      Claims with respect           to




swap agreements               against     LBIE     are listed     on Exhibit     F

                           The amount of          the Claims of      JPMCB        against      LBIE   described      in the relevant



Calculation          Statement was determined                as    a result of corrections          identified     by   the Claimants in



the   reconciliation          of their     Claims     to have been overstated            by     13,229,683         which    is   the net result



of an overstatement               of the Close out Amount               owed by LBIE           to   JPMCB     of    13,156,949        an



understatement              of the Unpaid         Amount owed by LBIE              to   JPMCB        of   31,849 and       interest   accrued


on    unreturned          collateral     posted by LBIE owed            by   JPMCB        to   LBIE    of    104,583        Please refer       to



Section 3 of          this   Annex      for additional      related     Claims




postpetition  misdirected
                           Other Claims



                                  wire transfer
                                                  JPMCB

                                                       On
                                                            is   owed


                                                            September
                                                                          5,000,000 from



                                                                             17,2008        JPMCB
                                                                                                    LBIE    in respect



                                                                                                          transferred
                                                                                                                          of a



                                                                                                                         in error



 5,000,000           to   LBIE’s account 30635285 held with Citibank pursuant                               to a standing     instruction



given    to      JPMCB by         Goldman Sachs Asset Management                         LBIE       failed to return such transfer             and



owes such amount                 to   JPMCB JPMCB            is   asserting this claim pursuant              to   the Clearance



Agreement and               the Custodial         Undertaking      in Connection        with Master Repurchase               Agreement


between           Merrill    Lynch Government            Securities      Inc andor        Merrill     Lynch       Pierce Fenner



Smith Incorporated                Liberty        Harbor Master Fund          I   LP and        JPMCB      dated November           8,2007


This    is   a    post petition Claim




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                                                                                             JPMorgan Chase Bank N A et al



                           JPMCB          was       also   owed        1,910 by      LBIE     for   outstanding     pre petition     service   fees



on LBIE        business          accounts numbers 66211832                         66292336         66709423        66709806       66710154 and


66710170            pursuant       to    the Treasury            Services    General Service          Terms and Conditions           Service



Guide between               JPMCB          and      LBIE JPMCB              was      also   owed      5,834   for   post petition    fees accrued



with respect          to   the    same accounts


                           JPMCB          is   also   owed        the following       post petition amounts             a    181,942 by        LBIE


for securities        lending           related fees             156,942 and         operations      and business      expenses        25,000


and     b      286,043        for       fees relating to physical              settlements          In addition     JPMCB     is   owed      285,396


by LBIE        for    post petition            legal expenses          incurred       in the United        Kingdom     in respect    of the



Claims


                           In addition         to   the    LBIE       Claims   set    forth   above     the Claimants assert Claims held



by such Claimant                 against       LBIE        including but not limited to post petition interest costs and



expenses        contingent              claims not currently            liquidated out          of pocket      expenses     and transaction



costs


                           JPMCB JPMIBL                         and   JPMMlLehman               Brothers      Finance     S A LBFSA

As    set   forth    in    the letter dated February                  25    2009      including      all   accompanying      appendices


attachments           and media containing                      related detail       the    Swiss Claim Letter from             JPMCB BSIL

and JPMIBL            to    LBFSA regarding                     the insolvency proceeding             of   LBFSA       Claim Submission the



following amounts                 were unpaid              as   of the dates specified         in   the Swiss     Claim Letter


                     Claimant                                            Claim                                      Unpaid Amount


                      JPMCB                    JPMCB       Agreement                                                           2,485,013


                      JPMM                     JPMM       Agreement                                                                835,018




                                                                                34
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                                                                                        JPMorgan Chase Bank NA al                                             et




The    Swiss Claim Letter               a copy         of which    is   attached     hereto   as    Exhibit      G     is       hereby incorporated


by   reference      herein        The Claims            against    LBFSA were          guaranteed pursuant                      to   the   Morgan


Agreements          as defined         in   the Swiss       Claim Letter and            pursuant      to   the   Second LBHI Guaranty


and   secured      pursuant to the Second                  LBHI     Security        Agreement         Calculation               Statements and a



Demand       under the Second               LBHI        Guaranty sent by            lPMCB lPMIBL                and        lPMM            to   LBFSA

which    reflect    the assertion and              payment of       these      Claims    are listed        on    Exhibit             H     The amounts             of



the Claims of       lPMCB          and      lPMM         against   LBFSA described             in   the relevant            Calculation



Statements were determined                        as   a result of corrections         identified     by    the Claimants in the



reconciliation       of   their    Claims          to have    been understated          as follows



                             1              The amount        of the Claims of          lPMCB         against      LBFSA under                    the       ISDA


      Master Agreement referred to in the relevant Calculation                                 Statement was determined                            to       have


      been understated            in   such Calculation            Statement by         4,525,112          which           is   the result       of an



      understatement         of the      Close out Amountowed by                       LBFSA to lPMCB                      of        886,386 and


      understatement of the Unpaid                      Amount owed by LBFSA to lPMCB                             of        2,485,013            and


      interest   accrued on unreturned collateral posted by                            lPMCB         owed by          LBFSA to lPMCB                         of



       1,153,713       and



                             2              The amount of          the Claims of        lPMM        against      LBFSA under                     the    ISDA


      Master Agreement referred to in the relevant Calculation                                 Statement was determined                                to   have



      been understated            in   such Calculation            Statement by         937,655 which                 is   the result of an



      understatement of the Unpaid                      Amount owed by LBFSA to                     lPMM         of        835,018 and interest



      accrued      on unreturned            collateral posted           by   lPMM owed        by     LBFSA to lPMM                         of    102,637


These    Claims are reflected                in   the Swiss Claim Letter               All of such         Claims          plus interest           thereon



remain unpaid Please refer                    to   Section    3 of      this   Annex   for additional           related          Claims




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                       In addition    to   the Claims against             LBFSA set            forth    above      the Claimants assert




postpetition
additional        Claims held by such Claimant against



             interest costs and expenses              contingent
                                                                              LBFSA including

                                                                          claims not currently
                                                                                                               but not limited



                                                                                                               liquidated
                                                                                                                                     to


                                                                                                                              out of pocket


expenses          and transaction    costs



                       JPMCBlLehman                Brothers        Holdings          Japan Inc             Lehman          Japan          As


described above          JPMCB        is   owed      113,056,229                10,474,659,951            at    the prevailing       exchange


rate on      March 29,2010           by LBHI with             respect    to    the   Lehman Japan Loans                    Proofs    of Claim



dated October          16 2008      related to this      amount have been                asserted        against    Lehman Japan            in a



Civil Rehabilitation         proceeding       in   the   Tokyo       District        Court


                       JPMCBlLehman                Brothers Japan               Inc JPMCB was owed                    a    pre petition accrued


amount       of     579.28 and a post petition accrued                   amount of            1,131 for outstanding             service     fees   on


Lehman        Brothers    Japan Inc business             account number 66635713                        pursuant     to    the Treasury



Services General Service             Terms and Conditions                     Service    Guide between             JPMCB       and    Lehman


Brothers Japan Inc


                       JPMSJClLehman               Brothers Japan Securities                       Co Ltd            LBJS            JPMSJC


was owed           6,893,551        638,687,465          at   the prevailing         exchange          rate on    March      29 2010        as   of



September          19,2008   arising from securities              loans        under the       JSDA      Basic Agreement Concerning



Bond     Lending       Transactions dated as of                May      12,2008         as   amended           between      LBJS and      JPMSJC

Of    this   amount      a   5,666,105             524,964,586           related to          outstanding        balances     that    LBJS   failed



to   remit   to    JPMSJC    remaining       after   the close out of outstanding                      securities    loans          1,217,564



     112,807,270        related to    accrued and unpaid interest and                          9,882       915,609         related to legal fees



incurred      in connection      with the Civil Rehabilitation                    proceeding           in the   Tokyo      District Court          A




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                                                                                 JPMorgan Chase Bank NA al                                            et




Proof of Claims dated October                   16 2008      related to         this   amount have been               asserted     against   LBJS


in   a Civil Rehabilitation            proceeding     in the      Tokyo       District Court



                      JPMCBlLehman                  Brothers       Securities          Asia Limited                LBSAL              Fixed Claim


JPMCB        is   owed     644,507        HK5,000,000             at   the prevailing          exchange           rate   on   April   1 2010      plus



interest by       LBSAL       pursuant to the Guarantee                  dated July          15 1996 as amended on November 24


1998     reference       number        NLC9     6049301           by JPMCB f k a The Chase                          Manhattan         Bank   for



HK5,000,000           for the benefit         of    Hong Kong          Securities       Clearing          Company Ltd             HKSCC           on


behalf    ofLBSAL             which    was drawn       upon in         full   by   HKSCC on               September       17,2008


                      Contingent         Claim       JPMCB        also issued          on behalf of          LBSAL        a Guarantee



 reference        number      G9550713          dated October           18 1995          with periodic maturity                extensions



through    October       17 2008         in   the   amount of          515,606         HK4,000,000                 for the benefit       of The


Stock Exchange           of   Hong      Kong Limited         at   the prevailing             exchange        rate on     March 29,2010


LBSAL        will   owe such amount            plus interest to         JPMCB          if such Guarantee is               drawn


                      Proofs of Debt related to these amounts copies                                 of which       are attached        hereto   as



Exhibit   I   and are hereby incorporated               by   reference          herein have been asserted                     against   LBSAL          on



February      10 2009         in the   High Court of      the     Hong Kong             Special       Administrative            Region Court           of



First Instance



                      JPMCBlLehman                  Investments            Inc JPMCB            is    owed         351,594.42         by Lehman


Investments         Inc arising from an overdraft                 in account        66210879 of                  343,744.67 as of September



11    2008    plus charges        on the overdraft       of       7,849.75         pursuant          to    the   LBHI’s       Secretary’s



Certificate for       Bank Accounts            dated October           7   1996        for   JPMCB f k a The              Chase Manhattan


Bank




                                                                           37
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                         JPMCBIWoodlands                   Commercial Bank                   f k a Lehman                Brothers          Commercial


Bank        LBCB LBCB                      is   contingently        obligated     to   JPMCB             in    an amount up to             a

 10,073,905            with respect    to    letters    of credit issued         by   JPMCB              and     b    an additional



 257,216,415            with respect       to   letters   of credit that      may be         issued       by     JPMCB           Pursuant        to   the



provisions        of approximately 15 credit agreements to which                                  LBCB          is   a party     LBCB       is   obligated



to    reimburse        JPMCB    for    LBCB’s          pro rata share of draws under letters of credit issued                                    by



JPMCB       if    the borrower       fails      to pay the       amount of     the    draw        to    JPMCB           The amount          in   clause          a

of the    first   sentence     of   this   paragraph        is   LBCB’s      pro rata share of such                    letters   of credit issued           by


JPMCB       as    of   March   6 2010            The amount         in clause         b    of the       first   sentence       of   this   paragraph        is




LBCB’s       pro rata share of the additional                    letters   of credit that         JPMCB may be                 obligated         to issue



pursuant     to existing       commitments                JPMCB       is   providing        to   LBHI’s counsel              a confidential



schedule listing among other things the relevant borrowers                                             credit agreements              commitment


amounts and issued letters                 of credit



                        JPMCBlLehman                Brothers         Asset    Management                      Ireland Limited                JPMCB          is




owed      5,717 for post petition accrued service                          fees and account charges                    related to      invoicing



group     LBAF PA

                        JPMCBlLehman                 Re    Ltd JPMCB             is   owed             12,500 for post petition accrued



service    fees and account charges                 related to business           account 2210009877



                        Additional Claims Applicable                       to All     Claimants                 In addition      to   the Claims set



forth    above each Claimant may hold                      additional       Claims some of which may have accrued                                      after




the    relevant Debtor’s        Commencement Date                    or    may   accrue          after    the date      hereof        Such Claims


include     but are not limited             to    a Claims         for   post petition           interest       and currency conversion                 costs



accrued under applicable               agreements or law including                        interest       computed         at default rates             b




                                                                            38
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                                                                                       JPMorgan Chase Bank N A al                               et




Claims for        prepetition            and post petition costs and expenses                 including       transaction        and legal fees



and expenses             payable under applicable agreements or                        law    c   increases     to Claim amounts            stated



above     in this    Annex         that      may be   determined upon          final   reconciliation      of the relevant transactions



and amounts          payable             d   contingent     Claims not currently          liquidated      including but not limited


to    contingent         claims of the Claimants arising from unresolved disputes                              relating to alleged



misdirected payments including                        processing errors unreturned collateral and other matters                              e

Claims      for   pre petition and post petition                  misdirected     payments        to   the Debtors          including but not



limited     to amounts             paid or payable         by    or to customers of the       Claimant amounts held                 in   accounts



for a Debtor by a Claimant and amounts                             paid to a Debtor that should have been paid                     or    remitted



to the Claimant              and    f Claims       arising from         out of pocket expenses           and transaction          costs



incurred     by    or    on behalf of Claimant              in   connection     with the exercise         of default remedies



enforcement          of rights        and the liquidation of collateral



                         Each Claimant            asserts all rights entitlementsclaims and remedies with respect                                    to



such Claims as a matter of general                        law equity or otherwise and               reserves    the right to assert any



and   all   rights       entitlements          claims and remedies as a creditor for such Claims                            The Claimant on


behalf of       itself   and   its   Affiliates       also asserts a claim against           the Debtors for all amounts                 owed    to




the Claimant         andor         its   Affiliates   by   the Debtors that are not           yet absolutely      due       or   owing    or are



otherwise contingent                or unliquidated         including      any amount        that   may   be due       to   the Claimant



and or    its   Affiliates from the Debtors                 in respect     of representations          warranties reimbursement



obligations agreements                    covenants or indemnities             made by       the Debtors       or implied at law or in



equity


                         3           Secured Claim               In addition    to the collateral       applied       against     Claims as



described above              JPMCB           currently    holds     a   unliquidated     securities      collateral     posted by        LBHI




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                                                                                                                JPMorgan      Chase Bank          NA    et   al




under the        First   LBHI       Security      Agreement           the details of which            have been provided              to    LBHI       and


the value of which             is   not    currently     determinable plus              b     approximately               6,885,706,290           as of



March 15,2010               of unapplied         cash and          money     market fund collateral              including        amounts         posted



by LBHI under            the   Second LBHI               Security     Agreement and            interest     thereon        and principal and



interest on securities              posted by         LBHI     under the      First   LBHI      Security      Agreement              plus    c

approximately             60,131,813.83               as of   March 15,2010 of cash              collateral       posted by          LBHI        under the



Lehman      Japan Loans              Security     Agreement           plus      d   unliquidated        securities collateral posted                   by


LCPI      under the Clearance Agreement the                           details    of which have been provided                    to   LBHI        and


LCPI      and the value of which                 is   not currently      determinable plus              e collateral          posted by          LBI


described in the LBI Proofs of Claim plus                               t   approximately             1,361,602      in    cash consisting             of



principal        interest    and fees received                by   JPMCB      from    AAM       with respect         to    advances       funded by


LCPI      under the Participation                prior to the        Commencement Date                 plus      g   approximately



 29,844,008         in cash collateral consisting                    of principal and interest received                    from   JPMCB           in



respect    of the securities              posted by      LCPI       as collateral       In accordance           with the      CDA each

Claimant has applied                or will apply the Collateral                 as defined      in   the   CDA to the            non contingent

Claims     set    forth herein



                         The Claimants reserve                 all   of their rights and remedies with respect                       to   the First



LBHI      Guaranty and Second                   LBHI         Guaranty       including without           limitation their right              to   realize



on   collateral     posted by         LBHI       to    secure its obligations         thereunder          and   to   make     further      demands


under the guaranties                with respect        to    i    amounts      owing    to   any of the Claimants                ii amounts           paid



or otherwise        transferred           to   or for the benefit of any Claimant in connection                            with any setoff or



secured creditor            right    arising under the guaranties                or   any     other   document             iii interest     accruing



in   relation to amounts             that remain         unpaid       and     iv out of pocket expenses                    including       legal fees




                                                                              40
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                                                                                           IPMorgan Chase Bank N A a1                                     et




incurred       by any Claimant by reason of                          the enforcement         and protection          of   their   respective         rights



under applicable documents


                          4         Amount          of Claim Entitled                 to Priority         Each Claim is           a secured      claim to



the   extent    of the value of the              collateral          securing    such Claim         is   entitled to priority as an



administrative            expense       to    the extent       it   arose   on   or after   the   Commencement Date                  and    is   a   general



unsecured claim to the extent                     that    it   is   not secured and not           entitled to such priority            without


prejudice      to    any and      all   of the rights of each Claimant                      i under       Section     1111 b       of the



Bankruptcy           Code and       ii to       assert that all or          a   portion     of the Claims       is   entitled to administrative



priority under Sections                 503 and 507 of the Bankruptcy                       Code         These Proofs of Claim are                filed




without prejudice              to the right of any Claimant to request                        payment of any              administrative         expense



claims that         it   may   have against         any of the Debtors                  including without limitation administrative


expenses       not described            in this Proof of             Claim and      administrative         expense        claims arising from the



use of Claimants cash               collateral           by the       debtors    in these chapter         11 cases          and each Claimant



reserves    the right to request                payment of such             administrative         expenses      at   a later date or         when


required    by      the    Court    the Bankruptcy                  Code    or other applicable           law


                          5         Credits          The amount             of all payments         on    the Claims has been credited                    and



deducted       for       the purpose of         making         this   Proof of Claim or such payments                      have been described



above      Each Claimant            reserves        all    rights of setoff



                          6         Supporting             Documentation                  Pursuant to the Stipulation                Agreement and


Order Exempting JPMorgan                         From      the Obligation          to    Comply with        Certain Requirements                 of the



Bar Date Order Related                   to   Derivative            Contracts approved            by   the Court      on    July   2,2009        the



 JPM    Claim Stipulation the Claimants are exempt from any requirement                                                     to    provide



informationand documentation                        pursuant to the Derivative                    Questionnaire and Guarantee




                                                                                 41
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                                                                   AMENDED   AND RESTATED ANNEX TO PROOFS OF CLAIM
                                                                                          JPMorgan Chase Bank N A al                                        et




Questionnaire with respect                       to   JPM     Derivative        Contracts      and guaranties            of    JPM    Derivative



Contracts as such terms are defined                             in the     JPM      Claim Stipulation


                        The Claimants have                    heretofore        provided      to   the Debtors and their              official    creditors



committee         the        Committee                 hundreds of thousands of pages of documents                              requested        by   the



Debtors and the Committee including                                  copies   of the agreements referred                  to   herein   and



information relevant                to    the Claims described                herein     Consequently              additional      copies of such


voluminous         documents              are not       included         with this   Annex The             Claimants will furnish the



Debtors with copies of any additional                               pertinent    documentation             upon request


                        7                Reservation           of   Rights Amendments                      The   assertion of Claims             by each


Claimant herein              is   not    a concession          or admission          as to   the correct characterization                or treatment



of any such claims nor a waiver                          of any rights of such Claimant                      The execution and             filing     of the


Proofs of Claim does not constitute                                 a    a waiver    or release        of such Claimant’s rights against                    any



other entity or person liable for                       all   or part of the        Claims         b   a consent        by such Claimant          to the



jurisdiction      of this Court with respect                        to   any proceeding       commenced             against      or otherwise



involving such Claimant                        c      a consent      by such Claimant          to      the treatment         of any   non core        claim



against    it   as a core         claim        d      a waiver      of the right to      move to        withdraw         the reference      with



respect    to the subject               matter     of the     Claims or otherwise including                      without limitation any



objection       or other proceedings                   commenced            with respect      thereto        or any other proceedings



commenced          against         or otherwise           involving such Claimant                      e   a waiver      of any    right   to the



subordination           in    favor of such Claimant                      of indebtedness or liens               held   by    other creditors       of the



relevant    Debtor f an                  election       of remedies that waives               or otherwise affects              any other remedies


 g   a waiver      of any right to               arbitration        or   other alternative         dispute       resolution     mechanism         that is



otherwise applicable                or     h     a waiver      of any right with respect                to property          of a Claimant held by a




                                                                                 42
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                                                                     Pg 45 of 109
                                                                    AMENDED    AND RESTATED ANNEX TO PROOFS OF CLAIM
                                                                                            IPMorgan Chase Bank N A al                                          et




Debtor or Other              Lehman      Obligor               Each Claimant           expressly reserves           its   right to       amend and


supplement            this   Proof of Claim          to      the full extent          permitted       by law   to   specify         and quantify



damages costs expenses                    and other charges                or claims incurred             by   the Claimant and to file




postpetition
additional       proofs       of claim       for   additional



              interest legal fees and related expenses
                                                                     claims including



                                                                                     that are not
                                                                                                     without   limitation



                                                                                                       ascertainable
                                                                                                                                    i


                                                                                                                               at this
                                                                                                                                         claims for



                                                                                                                                         time and         ii



claims arising from or relating                    to     the avoidance              of transfers made         to the Claimant or any other



entity    including          without limitation any payments                           of Claims described           herein          In addition          the



assertion of Claims             by     the Claimant set forth herein                      is   in   addition   to not in place            of    and does not



amend         alter    or affect   in   any    way        the assertion of the Claims                    made in other           jurisdictions        The


Claimants           reconciliation        process         is      ongoing and          the Claimants therefore                 reserve    the right to



amend     the Proofs of Claim and this                         Annex      consistent with the results               of such reconciliation



This Annex and the Proofs of Claim are without prejudice                                              to and are not intended              to    supersede


any and       all   additional     claims that            may      be   filed    by a Claimant            Pursuant        to   Bankruptcy          Rule



3001     e3 JPMCB hereby                      adopts and incorporates                     in   its   Proofs of Claim by reference                  any and


all   proofs    of claim       filed    by   trustees          issuers or similar persons                against    a Debtor with               respect    to




securities that have           been pledged               to   JPMCB        as collateral           pursuant   to the Clearance             Agreement


the   First    LBHI      Security       Agreement or otherwise                        the      Trustee    Proofs of       Claim JPMCB’s

Proofs of Claim are not intended                        to     duplicate        or   supersede the Trustee           Proofs of Claim but                  shall




not be affected          by any withdrawal                   or   other impairment of any Trustee                    Proof of Claim prior                 to     its




allowance        or disallowance             by    the Court         on   the merits



                         8           Notices         ALL NOTICES WITH RESPECT TO THE CLAIMS SHOULD

BE SENT TO




                                                                                     43
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                                                AMENDED   AND RESTATED ANNEX TO PROOFS OF CLAIM
                                                                       JPMorgan Chase Bank N A et al



                 JPMorgan Chase Bank           NA
                 245 Park Avenue       1ih Floor
                 New York New         York    10167

                 Attention        Kevin      C Kelley   Esq
                 Fax              646534 6400

with a copy to

                 Wachtell    Lipton    Rosen     Katz

                 51   West 52nd   Street

                 New York New         York    10019

                 Attention        Harold     S Novikoff      Esq
                                  Kathryn     Gettles   Atwa Esq
                 Fax              212403 2249

Penalty for Presenting    Fraudulent Claim       Fine of up    to   500,000   or   imprisonment for up   to   five

years or both    18   US c        152 and 3571




                                                        44
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                                            AMENDED   AND RESTATED ANNEX TO PROOFS OF CLAIM
                                                                   JPMorgan Chase Bank N A
                                                                                         etal




                                              EXHIBITS



EXHIBIT   A   Guaranties of Derivative      Contracts

EXHIBIT   B   LBI    Proofs of Claim

EXHIBIT   C   JPMSIILBHI       Securities   Law   Claims

EXHIBIT   D   PWC     Claim Letters
EXHIBIT   E   LBIE Claim Letters
EXHIBIT   F   LBIE    Calculation   Statements and Demands

EXHIBIT   G   Swiss Claim Letter

EXHIBIT   H   LBFSA Calculation        Statements and Demands

EXHIBIT I     Proofs of Debt
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                                                           AMENDED   AND RESTATED ANNEX TO PROOFS OF CLAIM
                                                                                  IPMorgan Chase Bank N A et al



                                                              EXHIBIT           A
                                  GUARANTIES OF DERIVATIVE CONTRACTS


                     JPMCBILBSF Agreement                       Guarantee         ofLBHI           dated as of December 20,1995

made by LBHI           in   favor   of   JPMCB        successor       to   Morgan Guaranty Trust Company of                            New
York      in respect      of the    JPMCBILBSF Agreement

                     JPMCBILBCC Agreement                      Guarantee of           LBHI        dated    as   of November           15   1993

made by LBCC           in favor        JPMCB successor to Morgan
                                      of                                                  Guaranty Trust          Company         of   New
York      with respect       to the   JPMCBILBCCAgreement

                     JPMBDILBSF Agreement                      Guarantee as of January                6        1993 made by       LBHI        in

      JPMBD fkJa BSB
favor of                                       as assignee    of Bear Stearns             Capital Markets             Inc with respect        to   the

JPMBDILBSF Agreement

                     JPMCBILBIE Agreement                      Guarantee of          LBHI     dated       as    of February      26    1996

made by LBHI           in favor of       JPMCB        successor      to    Morgan Guaranty            Trust       Company of New
York with respect            to the   ISDA       Master Agreement dated                   as of February         26    1996 between

JPMCB successor              to   Morgan Guaranty Trust Company of                          New York            and    LBIE

                     JPMCBILBFSA Agreement                          Guarantee     ofLBHI           dated as of November                15,1993
made by LBHI           in favor of       JPMCB        successor      to    Morgan Guaranty            Trust       Company of New
York with respect            to the   ISDA       Master Agreement dated                   as of   November         15 1993 between
JPMCB successor              to   Morgan Guaranty Trust Company of                          New York            and    LBFSA

                     JPMIBULBFSA Agreement Guarantee                                 of   LBHI      dated as of July        19 2007 made
by   LBHI    in   favorof JPMIBL with respect to the ISDA                            Master Agreement dated                 as   of July      19
2007 between         JPMIBL         and    LBFSA

                     JPMBDILBIE Agreement                      Guarantee        ofLBHI            dated   as    of June 18,1997 made by

LBHI      in favor   of     JPMBD        as   assignee   of Bear Stearns          Capital         Markets       Inc      BSCM with
respect    to the    ISDA     Master Agreement dated                 as    of June   18      1997 between             JPMBD      as assignee

of   BSCM     and    LBIE

                     JPMMILBIE Agreement                      Guarantee         ofLBHI       dated    as   of August 26,1997 made

by   LBHI    in   favor     ofJPMM             BSIL with
                                              flkJa                  respect     to the     ISDA     Master Agreement                 dated   as   of

August 26,1997 between                   JPMM and LBIE

                     JPMMILBFSA                Agreement Guarantee of                LBHI         dated as of January            14    1994

made by LBHI           in favor of       JPMM flkJa BSIL with respect                       to the   ISDA        Master Agreement dated

as   of January 14 1994 between             JPMM and LBFSA

                     JPMCBILBCS Agreement                      Guarantee of          LBHI         as of February         2 2006       made by
LBHI      in favor   of     JPMCB        with respect    to   the   JPMCB LBCS               Agreement




                                                                      A     I
 08-13555-mg           Doc 22164-3         Filed 11/15/11 Entered 11/15/11 15:14:08 Exhibit B
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                                                AMENDED   AND RESTATED ANNEX TO PROOFS OF CLAIM
                                                                       IPMorgan Chase Bank NA al              et




                    JPMSULBCS Agreement Guarantee of LBHI as of August 8 2006 made                       by
LBHI     in favor   of JPMSL as assignee of JPMVEC with respect to the JPMSLILBCS

Agreement


                    JPMVECILBCS Agreement            Guarantee    ofLBHI    as of   August   8   2006 made by
LBHI     in favor of   JPMVEC    with respect    to the   JPMVECILBCSAgreement

                    WMBILBSF Agreement           Guarantee     ofLBHI   as of   May 28,1998 made by LBHI
in   favor   ofWMB     with respect   to the   WMBILBSF        Agreement


                    JPMMILBSF     Agreement      Guarantee of     LBHI   as of July   11 2001 made by LBHI
in favor of   JPMM fk a BSIL          with respect   to the    BSILILBSF Agreement




                                                          A2
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                                  Pg 50 of 109
                                 AMENDED    AND RESTATED ANNEX TO PROOFS OF CLAIM
                                                         JPMorgan Chase Bank N A
                                                                               etal




                                   EXHIBITB

                            LBI   PROOFS OF CLAIM




                                      B1
               08-13555-mg                                               Doc 22164-3                                           Filed 11/15/11 Entered 11/15/11 15:14:08                                                                                                               Exhibit B
                                                                                                                                     Pg 51 of 109


    B 10 Official Penn                     10 12107

                                                                                                                                                                                                                                                                 PROOF OFCLAIM
    UNITED STATES BANKRUPTCYCOURT                                                                                               Southem District ofNew York


    NameofDebtor                                                                                                                                                                                                           Case Number
    lehman Brothers Inc                                                                                                                                                                                                          08 01420            JMP SIPA
         NOtE              Thisfimn             shouldnot            be used         to   malce    a claimfaran                 administrativeexpense                arising ajIQr          the COmme1lC4lllent
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    Name ofCreditor or other                                                              to whom1he             debt          owes     money      or property                                                              S    Check                 box to indicate
                                                                          NA   CIl1ity                                                                                                                                                                                                      that    this

     JPMorgan Cliase Bank                                                                                                                                                                                                        claim              ends a previously                       filed


    Name       and address where ootices should be sent                                                                                                                                                                          claim

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    New
                Park
                Yo k                 NY            10167
                                                               12th           Floor
                                                                                                                                                                                                                            CourtCIaIJ                  1   Number                t91
                                                                                                                                                                                                                                 J knUWlf
    Attention                              Kevin                 Kelley                   Esq
 Telephone

    21.2 648 0427
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 Name and             address whenl                 payment should                  be sent        if different            from    above                                                                                    o Check                this     box     ifyou arc           IIWlII’C      that

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 J    AnlollJtt           of Claimas                ofDate Case                Filed                         S     See            attached               Annex                                                             5 A         lloulit          ofClaiiD            Ent       tJed    18
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                pert ofyour               claim          is   secured      complete          item    4 below              ho            ifall ofyour             claim    is   unsecured      do not complete
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     stetement ofillereSt                      Olcharges
                                                                                                                                                                                                                           o     Domestic                support         obligations               under

2     Basis for           Claim            See            a    ttached               Annex                                                                                                                                       11    Us C                 S07        aXlA or aXI                      B
          eo    lnstruction               2   oil   reverse         side
3      Last       four      digits            Ifany l1umber               It which         creditOr          identifies           debtllr         See     attached                  Annex                                  o Wages                  salaries           or COIIlnlimons                 up
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           3ao     Dd        tor     may       have           KUduled           acrolll t     a                                                                                                                                   before           filing        ofthe       ballknlptcy


                       See                                Ja on reverse             side                                                                                                                                          petition           or           on            oftbc       debtor’s


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                              instruclion

                                                                                                                                                                                                                                  business whichever                            is earlier            II
4                                         see                             4                       aide       See attached                          AAPex
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                                                                                     is   secured      by a       lien     on     property or a         right    ofsetoffand         pro1ide        the requested                 Us C                  S07       a4
      information
                                                                                                                                                                                                                           o     Contributions                    to   an employee                 benefit


      Nature          of property               or right          ohetotr                 oRcaI      Estate                  oMotor          Vehicle                 o   Othl   r
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      Describe
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                                                                                                                                                                                                                                 putdlaac               lease          orrcnlll1       ofproperty
      VtiJe ofPropertyS                                                                   Annual InterestRate
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      Amount                                             1Id                                                   cau                                      ucured claim                                                             household                usc          Il   Us C              S07
                          of arrearage                          other      charges         as oftime                      filed    Included        in
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      ifuy S                                                                   Balis for perfection
                                                                                                                                                                                                                           o     Taxes          or      penalties         owed        to

      Amoant              ofSeeured CIabu S                                                                       Amount            Umecured                                                                                     governmental                    units           II   USc             S07
                                                                                                                                                                                                                                  aX8

6                                                                    ments on         Ibis   claim      bas been             credited       for   the pnrpoSe        ofmilingthis            proofof      claim
     SCreeedltaslttTahecahmeodIlrttAofnanlIepxay                                                                                                                                                                           o Other                  SpecifY applicd                    lc   paragraph


1 Documents                      Atlad1                             copies      ofany      documents             that      support the        claim such          as promissoty           notes      purcbllse
                                                                                                                                                                                                                                 of       II    US C              S07           aU
orden          invoices          itemized           statements            ofnnming                unts con                 nlCts judgmenlS              mortgages         and    security     agreements
                                                                                                                                                                                                                                       Amount               entitled            toprlority
Yau may al o                atlaoh        a summary                 Attach redacted copies ofdOcuments                                  providing        evidence        ofperfection         of

a   security       interest           You may                 also altlih       a   summary              4 definition               of HredactedH          Olt   reverse       sJde
                                                                                                                                                                                                                                                        See        attached                   Annex
     See        attached           Annex
                          ND ORIGINAL DOCUMENTS AITACHED DOCUMENTSMAYBEDESTROYED                                                                                                            AFTER
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rfthe documents                  are not available                   pleueexplain
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          illJf                           ISil           llatttre       The     person      filing    thLs     claim         must     sign it      Sign    and    print      name    and    title    ifany ofthe      creditor       ot

                                                              persgn authorized ll file                tills     claim       end    state    address and telephone                  number    ifdifferentwmthe              notice

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 08-13555-mg              Doc 22164-3            Filed 11/15/11 Entered 11/15/11 15:14:08                                   Exhibit B
                                                       Pg 52 of 109


                                    UNITED STATES BANKRUPTCY COURT
                                     SOUTHERN DISTRICT OF NEW YORK

 In re


 Lehman       Brothers      Inc                                              Case    No 08 01420 JMP SIPA

                                          Debtor


                                           AMENDED AND RESTATED
                                      ANNEX TO PROOFS OF CLAIM OF

                                       JPMORGAN CHASE BANK N                                A
                                     JP MORGAN SECURITIES INC AND
                                      J P MORGAN CLEARING CORP


                     1           Name   of Claimants       This    is   the       Amended     and Restated Annex             the



 Annex        to the     amended Proofs     of Claim      the     Proofs of         Claim submitted            by JPMorgan


Chase Bank        NA JPMCB                JP     Morgan   Securities          Inc        JPMSI        and   JP   Morgan      Clearing



Corp fkJa Bear            Stearns   Securities    Corp      JPM        Clearing and each of                 JPMCB JPMSI            and



JPM Clearing         a    Claimant      each having an address               at   245 Park Avenue           New York New            York


10167      against   debtor      Lehman   Brothers Inc      the       Debtor             The Claimants        are parties to the



Collateral Disposition           Agreement dated     as   of March           16,2010        the     CDA among Lehman
Brothers Holdings          Inc      LBHI     certain subsidiaries            of   LBHI      excluding the        Debtor      the



Claimants and certain of the Claimant’s Affiliates                      as defined        below      which was approved            by


the   Bankruptcy       Court presiding     over LBHI’s chapter               11 case     by an     order dated    March 24 2010


The   signatory      of each Proof of     Claim to which        this    Annex       is   attached    is   authorized   to   make such


claim on behalf of the Claimant named therein                   and     to    the extent     applicable       the following



persons     collectively      such Claimant’s       Affiliates               such Claimant’s successors predecessors



assigns parents subsidiaries            affiliates directors          officers      consultants agents representatives


advisors    and employees and each other person or entity                         who     within    the   meaning of    section      15




                                                                  1
 08-13555-mg                 Doc 22164-3                Filed AMENDED
                                                              11/15/11 AND
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                                                                            RESTATED11/15/11
                                                                                          ANNEX 15:14:08
                                                                                                  TO PROOFSExhibit   B
                                                                                                              OF CLAIM
                                    JPMorgan Chase Bank        NA
                                                              Pg 53Jof
                                                                     P 109
                                                                       Morgan Securities Inc and JP Morgan Clearing Corp




ofthe       Securities      Act of       1933    or section   20    of the Securities       Exchange Act         of   1934    the



 Exchange           Act      each    as    amended        controls such Claimant The amended Proof of Claim to



which       this   Annex     is   attached      supersedes     the original proof of claim filed              by    the Claimant        named


in   such amended Proof of Claim with respect                           to   the Claims described          herein




                       2            Basis for Claims               On   September     19    2008     the     Petition     Date       the



United      States    District Court for the Southern                   District of   New     York    the     Court entered             an



Order granting           the application         of Securities      Investor     Protection     Corporation         for   issuance      of a



protective         decree adjudicating           that   the customers         of the Debtor    are in need of the protection



afforded      by    the Securities         Investor     Protection       Act of 1970     as   amended          SIPA          On    and prior



to   the   Petition    Date       the Debtor      and the Claimants were parties to among other things certain



commercial          and financial relationships               and agreements          which    gave   rise   to the claims set forth in



the Proofs of         Claim and          further described         below      collectively     the    Claims          As    of the Petition



Date       unless    otherwise specified




                       A            JPMCB        Claims


                       1            Clearance       and   Settlement         Claims    Clearance      Agreement             As    of October



1,2008        JPMCB         was owed            25,279,675,964          for extensions     of credit for the clearance            and



settlement         of securities transactions            under the Clearance Agreement signed by the Debtor on


June       7,2000     as   amended         to   which    JPMCB          and the Debtor are party together             with certain of the



Debtor’s       affiliates     the        Clearance      Agreement             As of March      15,2010 such amount had been


reduced       to    6,333,781,099            principally      by   application     of the sale proceeds of securities                collateral




 the       Clearance Agreement Securities Collateral pledged by the Debtor pursuant                                          to   the



Clearance Agreement                 to   secure such claims application               of distributions received             on the




                                                                             2
 08-13555-mg             Doc 22164-3                 Filed AMENDED
                                                           11/15/11 AND
                                                                      Entered
                                                                         RESTATED11/15/11
                                                                                       ANNEX 15:14:08
                                                                                               TO PROOFSExhibit   B
                                                                                                           OF CLAIM
                                 JPMorgan Chase Bank        NA
                                                           Pg 54Jof
                                                                  P 109
                                                                    Morgan Securities Inc and JP Morgan Clearing Corp




Clearance Agreement Securities                  Collateral          application      of cash repo adjustments received               with



respect   to   the Clearance       Agreement Securities                  Collateral    the exercise       of setoff rights against



certain of the Debtor’s          demand        deposit       accounts        application     of collateral     pledged by the Debtor



in connection      with the Agency             MSLA          as   defined     below and       other account activity




                    In addition as of           March        31 2010 JPMCB                was owed        280,224,670       for interest



accrued on and after the Petition               Date on the Claims under the Clearance Agreement




                    II           Swap Agreement Claims                    USDA      Master    Agreement JPMCB was owed


 49,243,907       arising from         swap agreements under                  the   ISDA    Master Agreement dated             as   of



September 8 2004            as   amended        between           JPMCB       and the Debtor        the      ISDA   Master


Agreement           This    is   a net   Claim comprised of Unpaid Amounts Loss amounts                                   owing     for



failure to return Posted Collateral                 as such terms are defined               in such    ISDA     Master Agreement


and   other amounts        arising under        swap agreements                including     terminated      swap agreements


JPMCB        sent the Debtor       a   Calculation       Statement dated October                17,2008        together     with



appendices and attachments                containing         related detail         together the       Calculation     Statement


requesting     payment of          13,756,134         of such net Claim              As    described    in   the Calculation



Statement       such     13,756,134           was   repaid    by    application      of proceeds of the liquidation            of



securities     collateral posted         by   the Debtor          under the Clearance Agreement




                    The Claims           arising under the           ISDA      Master Agreement and the Calculation



Statement have changed as described                     below       as   a   result of corrections        identified   by   JPMCB         in   the



reconciliation     of the    Claims




                                                                          3
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                                                          11/15/11 AND
                                                                     Entered
                                                                        RESTATED 11/15/11
                                                                                      ANNEX15:14:08
                                                                                              TO PROOFSExhibit   B
                                                                                                          OF CLAIM
                                 JPMorgan     Chase Bank PgNA55Jof
                                                                P 109
                                                                   Morgan Securities Inc and JP Morgan Clearing Corp




           1          The amount of          the Claims of      JPMCB             against      the Debtor       under the      ISDA     Master



          Agreement was determined                  to   have been understated                 in the Calculation            Statement by



           35,487,773           which   is   the result of an overstatement                    of the Close out        Amount          as   such



          term   is   defined    in   the   ISDA    Master Agreement                    owed by      JPMCB       to the Debtor         of



           6,692,220          an overstatement           of the Unpaid Amount                  owed by       JPMCB       to the Debtor of



           28,686,285         and interest accrued on unreturned                        collateral    posted by       JPMCB       owed by          the



          Debtor      to   JPMCB       of    109,268 and




           2          The     45,567,129       Claim balance           stated      in the original Proof of Claim filed                     by


          JPMCB        against    the Debtor        was   an estimate        of such understatement                   and should be



          deemed superseded by               the results    of the reconciliation




As a   result   of the foregoing changes                 JPMCB    is   owed by            the Debtor        under the    ISDA     Master


Agreement         35,487,773          more   than   the   amount     set forth in the Calculation                 Statement            All of



such amount        plus interest thereon            remains unpaid




                      III        Securities     Contract Claims             for    Securities        Loans Master            Securities



Lending    Agreement JPMCB was owed                            23,817,391           arising from securities             loans    under the


Master Securities           Lending Agreement dated              as of      March         9   1983     as   amended          between    JPMCB

fk a The        Chase Manhattan Bank                National    Association                   as   trustee or   managing agent and                 the



Debtor     fk a ShearsoniAmerican                Express       Inc      the       Agency           MSLA          Of   this    amount        a

 8,010,490       related to     income dividends and             other distributions                 on   securities   borrowed         by   the



Debtor under the Agency               MSLA      which      the Debtor failed to remit to                    JPMCB       as required         by   the



Agency     MSLA            fees and other charges          owing under            the    Agency       MSLA       and indemnification




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claims and            b        15,806,901      related to    out of pocket expenses           and      transaction        costs   incurred     by


JPMCB       in    connection         with the exercise        of remedies with respect            to    the outstanding           securities



loans under the Agency                 MSLA       and the liquidation of collateral held thereunder                             JPMCB   was


also   owed      an additional             8,565,357    by   the Debtor      in    fees account balances            and other amounts



under the Agency                MSLA



                          JPMCB       recovered        8,010,490      of the      non estimated        portion    of the Claim



described        in   the preceding         paragraph through         the application        of the proceeds of collateral posted



by the    Debtor       under the Agency            MSLA



                          In    addition    JPMCB      is   owed     25,302 by       LBI    for other        post petition expenses


incurred as a result of the closing of the securities lending                             portfolio




The    reconciliation            process    with respect      to   the Claims under the         Agency         MSLA        is   ongoing and


JPMCB       therefore           reserves    the right to     amend    its   Proof of Claim        including        this    Annex

consistent       with the results of such reconciliation




                          IV         Securities     Contract Claims          for   Failed Transactions             Global Custody and


Clearing     Agreement JPMCB was owed                               2,450,272       arising from breaches            of securities



contracts     under the Global Custody and Clearance Agreement dated as of March                                                14 2001   as




amended between JPMCB f k a The                             Chase Manhattan           Bank     and the Debtor This Claim arises



from     the failure           of the Debtor to repay funds advanced                 by   JPMCB         as   collateral     agent to the



Debtor      and to     settle      a portion    of certain securities contracts            because       the Debtor        did not pay    uK

stamp     taxes       applicable      to   the transactions        and payable by the Debtor This Claim represents                             the




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amount         payable    by   the Debtor under the relevant             securities contracts      including         the stamp   tax


and may be           subject   to    reduction    by   the   amount    of any net proceeds realized         by   JPMCB      from the



sale of the relevant           securities




                         V           BGIRelated         Securities    Lending   Claim   Custodial     Undertaking           JPMCB

was owed             8,024,375       arising from the exercise         of remedies with respect       to    the Debtor’s     defaults



under     securities      loans      with Barclays Global Investors Limited             as   agent   for   Stichting



Pensioenfonds            voor de Gezondheid Geestelijke                 en Maatschappelijke      Belangen             BGI under
the   Custodial        Undertaking         in Connection         with Global Master Repurchase          Agreement and Global


Master     Securities        Lending Agreement among the Claimant                    as custodian       the Debtor and       BGI


dated     as    of January      18 2006




                         VI          Securities    Options Claims           JPMCB    as assignee     from Washington             Mutual


Bank      Account        No G54440               was owed        2,179,688    arising from put   options        on   three forward



settling trades for          FNMA         securities     on which     the Debtor defaulted       These trades          are evidenced



by two Option Confirmations and Agreements                            dated September      3 2008     and one such agreement



dated September              9,2008




                         VII         Securities    Contract Service         Fees Account     Charges and Other Amounts


JPMCB          was owed         2,910,494        for   various   fees and charges    relating to accounts and services



provided        to   or for the benefit       of the Debtor The fees and charges              consist      of    2,803,620       of



service        fees and other fees and charges under the Master                   Implementation        Form for        Treasury


Services        General Service           Terms and Conditions and Controlled Disbursement                       Services   dated     as




of February          8,2005         as   amended between JPMCB               and the Debtor      41,949 of physical




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securities       fees   and other         fees and charges        under the Domestic            Custody Agreement dated                    as of



February         28,2007        as   amended           between   JPMCB         and the Debtor and              64,925 relating to             uK
Accounts         and other      fees and charges under the Global Custody                         and Clearance Agreement dated



as   of March         14 2001        as   amended         between        JPMCB fkla       The Chase Manhattan                Bank          and the



Debtor       In addition         JPMCB          was owed         97,578 arising from an overdraft                  in account 66020751



resulting       from     returned     checks      dated prior       to   the Petition    Date     In    addition        JPMCB       is   owed        the



following        amounts        arising after      the Petition      Date        a    491,692     for   post petition broker dealer


fees      483,974 and            fees     on   physical      settlements         7,718     b      75,473 for principal and                 interest




payments         in   relation to     two      physical      securities purchased        by   JPMSI        c      12,102,386         for      legal



expenses         and     d     1,913,362         for consulting          expenses    incurred    by    JPMCB       with respect          to    its




Claims against           the   Debtor




                         VIII        Misdirected Payments


                         A           JPMCB        is   owed      7,000,000 for the return of misdirected payments                              with



respect    to    its   client Bridgewater               On   September        17 and 18,2008           JPMCB       made     erroneous



payments         totaling       7,000,000         from    JPMCB          custodial   accounts to accounts of the Debtor


maintained            with Citibank         London        accounts         account      66427    and account



GB23CITI18500810640409                            Bridgewater issued cancellation                 instructions          that were    not



executed before the payments                       JPMCB made payment recall                    requests   to    Citibank      but Citibank



rejected    the recall of the             funds    JPMCB         paid     Bridgewater         7,000,000    and subsequently                filed      a



claim with the Debtor for the return of the payments                                 This Claim arose           after    the Petition         Date



                         B           JPMCB        is    owed     4,433.89 for the return of misdirected payments                              with



respect     to   its   client Fidelity Central            Investment        Portfolios    LLC      fbo Fidelity Mortgage                 Backed




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Securities         Central          Fund      Fidelity On September                         16,2008      the Debtor         wired      4,433.89



through       Citibank to             JPMCB      for further credit to Fidelity                    In October        2008    JPMCB             which had



been unable to confirm with Fidelity the instructions                                       regarding    the      Funds     returned      the funds        to



the Debtor          and subsequently                received       instructions         from Fidelity        to   execute the cash payment



This Claim arose                after   the Petition           Date




                           B            JPMSI Claims


                           1            Securities        Contracts Claims                for   Defaulted     Securities     Loans        JPMSI was


owed      10,097,117                arising from securities loans                 under the Master Securities Loan Agreement


dated    as   of April          23 1993        as    amended between JPMSI                        fk a   Chemical       Securities        Inc        and the



Debtor        fk a    Shearson             Lehman        Brothers       Inc       the      JPMSI     MSLA            This    is   a net Claim



remaining          after   the close out of outstanding                    securities loans          and application          of collateral posted



under the          JPMSI        MSLA          Such         10,097,117 has been paid by application                          of cash collateral



posted by          LBHI        to   secure    its   Guaranty dated           as   of September           9   2008     the    Second       LBHI

Guaranty            of   all    obligations         of   LBHI      and   all   of   its   subsidiaries       to   JPMCB      and    all   of   its




affiliates subsidiaries                    successors          and assigns      as indicated        in the following         documents           sent   by


JPMCB         to    LBHI            collectively         the    LBHI Demand Documents Demand                                  for   Payment under


Guaranty           dated October            24 2008            Notice    of Enforcement            of Security       in respect      of Guaranty


dated October              29,2008          Restated           Demand     for   Payment under Guaranty dated November                                 14


2008 and           Restated Notice             of Enforcement             of Security           in Respect        of Guaranty dated November



14,2008




                           II           Underwriting             or Placement           Fees JPMSI was owed                   9,554,671 for net



underwriting          fees payable to               JPMSI        pursuant to certain underwriting arrangements where the




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Debtor      as lead or       managing         underwriter         or equivalent           failed to     pay JPMSI          fees   owed      for its




participation       as joint    book running           manager       co manager           or underwriter             or equivalent         in   debt


equity and asset backed                securities      offerings    which took place             in   June July August and


September of 2008                   7,314,913     is   attributable to     fees or interests            arising from equity            offerings



and   2,807,714        is    attributable to fees owing             to   JPMSI       from the Debtor            arising from debt and



asset backed        securities       originations        net of fees of         567,956 arising from debt and asset backed


securities   originations           which     are owing      to   the Debtor from              JPMSI




                      C             JPM   Clearing       Claims          JPM   Clearing        was owed         525,266 arising from



securities   loans under the Master Securities                      Loan Agreement dated                 as of January            18 2002        as




amended between JPM                    Clearing and the Debtor                the        JPM   Clearing    MSLA              This     is   a net



Claim remaining             after   the close out of outstanding               securities       loans    and application            of collateral



posted under the        JPM         Clearing    MSLA         Such        525,266 has been paid by application                         of cash



collateral posted       by LBHI          to   secure the Second           LBHI Guaranty               as indicated         in the   LBHI


Demand Documents




                      D             Additional Claims Applicable                    to   All Claimants          In    addition      to the Claims



set forth    above each Claimant may hold                     additional        Claims some             of which          may have     accrued


after the Petition        Date or        may   accrue     after    the date    hereof          Such Claims include but                are not



limited    to    a   Claims for post petition interest accrued under applicable                                  agreements or             law        b

Claims     for   prepetition        and post petition costs and expenses                       including    transaction           and legal fees



and expenses payable under applicable                        agreements or               law    c   increases        to   Claim amounts          stated



above     in this   Annex       that   may be     determined         upon      final     reconciliation     of the relevant transactions


and amounts         payable          d   contingent       Claims not currently              liquidated      e        Claims for prepetition




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and post petition misdirected payments                           to the    Debtor including         but   not limited       to amounts         paid



or payable by or to customers of the Claimant amounts                                held in accounts for the Debtor by a



Claimant and amounts paid                     to the Debtor         that   should have been paid or remitted                 to   the



Claimant and              f   Claims arising from               outof pocket     expenses     and transaction          costs      incurred     by


or    on behalf      of Claimant in connection                  with the exercise     of default remedies             enforcement         of



rights and the liquidation                  of collateral




                          Each Claimant           asserts all rights        entitlements claims           and remedies with respect                 to




such Claims as a matter of general                      law      equity    or otherwise and reserves           the right to assert           any


and    all   rights      entitlements claims           and remedies as a creditor             for   such Claims The Claimant on



behalf of       itself    and    its   Affiliates     also asserts a claim against          the Debtor       for    all   amounts       owed      to




the    Claimant          and or    its   Affiliates   by   the Debtor       that are not yet absolutely         due or owing or are


otherwise contingent or unliquidated                         including       any amount that        may be    due    to    the Claimant



and or       its   Affiliates from the Debtor              in   respect     of representations       warranties reimbursement


obligations agreements                    covenants     or      indemnities    made by   the Debtor or implied at law or in



equity




                          E            Securities     Law Claims           Claims Filed by Codebtor             Each Claimant            or its



Affiliates         may    have     contingent       contractual      and    non contractual      indemnity          contribution


equitable          and other claims against            the Debtor          for any losses claims          damages         or other liabilities



 or actions         in   respect    thereof       joint or several to         which such Claimant            may become            subject



under securities law or otherwise including without limitation settlement costs investigation



costs    and the fees and expenses                  of counsel        collectively     Actions            arising   from based on            or



relating to the underwriting                  placement          andor     sale of securities    by such Claimant                 In




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circumstances            where     a Claimant or an Affiliate of a Claimant                             is     the lead      managing            underwriter



with respect        to   an offer of securities             such Claimant or Affiliate also asserts claims of the kind



described     in    the preceding             sentence     against    the Debtor           on behalf of               all   underwriters          in    the



underwriting         syndicate           and   their     affiliates with respect             to       such offer In addition                     each


Claimant and          its   Affiliates         as an entity that is or          may       be liable with the Debtor                        to   a creditor       that



has not     filed    a proof of claim              hereby   files    pursuant        to   Bankruptcy             Rule        3005 a         a proof of claim



on   behalf   of each such creditor                  covering      claims    in   which such Claimant or Affiliate                                 as



applicable      is   a codebtor          with the Debtor The name                       of each such creditor                   is   not    currently



known




                     This       filing   is   intended to include           without limitation                       all   Claims of the types



described      above in the preceding                  paragraph arising from the                      facts     and circumstances                 which


allegedly     gave       rise   to the claims asserted             against      Claimant any                 of its Affiliates             and or       the Debtor



in   the following         cases         In   re   Ambac Fin Group                Inc     Sec     Litig         S DN         Y       In re       American         Int’l




Group Inc Sec              Litig     SD N          Y     American      Nat’l Ins           Co v        Fuld          et al      SD Tex SDN                      Y
City of Cleveland            v    Deutsche         Bank    Trust    Co     et   al        Ohio Ct           Com PI           Cuyahoga County                     ND
Ohio City           of Cleveland          v JPMorgan           Chase Bank            NA          et    al      Ohio        Ct   Com PI            Cuyahoga


County        In re Fannie           Mae 2008 Sec            Litig     SD N          Y      Freidus             et    al    v ING     Groep            NV       et al



 S DN       Y       Genesee        County Employees Ret System v Thornburg                                            Mortgage Inc                et   al       Santa


Fe County           New Mexico                Iron   Workers       Local   No      25 Pension Fund v CreditBased Asset


Servicing     and        Securitization            LLC    SD N      Y      Jacoby         v Syron            et al         S DN      Y          Luther      v


Countrywide          Home Loans               Servicing     LP     et al     County         of    Los Angeles New York                            City



Employees’Ret               System       v    Countrywide        Fin Corp            CDN              Y        Orange County Employees Ret




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System      et al   v   Carlson        et    al     N D Cal Phynice                      Kelley v ShoreTel               Inc     et al     San Francisco


County       ND     Cal Rubin            v   MF      Global Ltd                  et al    S DN           Y   In re      US   Interactive         Inc Sec



Litig      E D Pa In        re   SemGroup Energy Partners                                LP     Sec      Litig      ND Okla             In re Virgin



Mobile USA IPO           Litig      D NJ             In    re    Washington              Mutual Inc Sec              Litig       W D Wash           and



Watkins      v ShoreTel          Inc     et al       ND         Cal         as well as        a     all   cases     or Actions relating to          the



restoration     retrieval     or clean        up of Claimant’s                    its   Affiliates        and or     the Debtor’s properties



affected     by September         11,2001           terrorist         actions       and     b   all      cases    or Actions relating to



allocation     compensation            and analyst recommendation                           matters         involving      initial     public    offerings



including but not limited to In                     re    Initial     Pub        Offering     Sec        Litig      S DN Y            and actions   filed




by Vanessa Simmonds seeking                       relief        under Section             16 b    of the Exchange Act                  W D Wash           9th



Cir        The Claimants         further reserve             all    rights to assert all claims                   under contract          federal



securities    law and     common law                 including             but   not limited        to    indemnification         and contribution



against     the Debtor      with respect            to all similar actions                brought         against    Claimant whether             the



actions    currently     are pending          or are filed            at    a future     date




                     3           Secured Claim                      In addition          to the collateral applied               against      Claims as



described     above      JPMCB         currently           holds       a     cash and securities collateral                    including        cash


principal    and    interest payments               and other proceeds thereof                           posted by the Debtor under the



Clearance      Agreement which                secures           all   claims of         JPMCB        against      the   Debtor        the aggregate



value of which collateral              is   not currently             determinable              b    approximately             8,565,357        of the cash



proceeds of collateral posted by the Debtor under the Agency                                               MSLA         to secure the Claims under



the   Agency    MSLA        and    all      other    JPMCB            Claims against            the      Debtor and          c   at   least




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 142,476,437           of cash in accounts of the Debtor against                                    which      JPMCB        has    collateral          andor


setoff rights




                        In addition the Claims of                             JPMCB       against      the Debtor under the Clearance



Agreement           are guaranteed              by     the Guaranty             of   LBHI      dated    as of     August 26 2008               the       First




LBHI Guaranty                     and secured           by the cash and securities collateral posted therefor pursuant                                              to




the Security         Agreement             relating to the First                LBHI      Guaranty dated as of August                        26   2008 between


JPMCB       and      LBHI          The Claims of              all    of the Claimants against                   the Debtor         are guaranteed by the



Second LBHI Guaranty and                           secured          by   additional        collateral       posted therefor pursuant                    to    the



Security Agreement relating                        to   the   Second           LBHI      Guaranty dated             as   of September          9,2008


between        JPMCB         and    LBHI             The aggregate              value    of the collateral posted by                   LBHI       is    not



currently      determinable




                       In accordance                 with     the    CDA         the Claimant has            applied       or will apply the Collateral



 as defined         in the    CDA          to    the    non contingent               Claims set        forth herein




                       4             Amount              of   Claim           Entitled     Priority Each Claim                    is   a secured claim to



the   extent   of the value of the collateral securing                                such Claim          is   entitled to priority as an



administrative         expense            to    the extent      it   arose       on   or after      the Petition         Date and       is   a general



unsecured claim              to   the extent           that it is not securedand                    not entitled to       such priority without



prejudice      to    any and        all   of the rights of the Claimant                         i under      Section       1111        b   of chapter          11 of



the United      States       Bankruptcy                Code     11    US c               101   et   seq     the     Bankruptcy             Code         and      ii to



assert that all or a portion                    of the Claims            is   entitled to      administrative            priority under Sections                    503



and 507 of          the Bankruptcy               Code         These Proofs of Claim are                     filed    without prejudice                 to the right




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of any Claimant to request                        payment of any                administrative        expense      claims that      it   may have


against       any of the Debtors                  including without limitation administrative                             expenses         not described



in    this   Proof of Claim and administrative                             expense     claims arising from the use of Claimants cash



collateral      by       the debtors         in   these Chapter            11    cases and Claimant                reserves    the right to request



payment        of such administrative                    expenses          at   a later date or       when    required        by   the Court    the



Bankruptcy           Code            or other applicable            law




                           5             Credits         The amount               of all payments        on   the Claims has            been credited and



deducted       for the purpose of                   making     this   Proof of Claim or such payments                          have been described



above         The Claimant              reserves      the right       to    set    off against       any amount        securities        or positions



owed by        it   to    the   Debtor        all   obligations       of the Debtor            to   the Claimant and any obligations                  that




the    Debtor or any             affiliate        owes   to   the Claimant or any affiliate                   in   each case       to   the extent



allowed       by    applicable           law or any agreement or instrument




                           6            Supporting Documentation                             The Claimants have               heretofore      provided       to




the Trustee              the    SIPA Trustee appointed by                           the Court under           SIPA     tens of thousands of pages



of documents              requested by the SIPA Trustee                            including        copies   of the agreements referred               to




herein       and information relevant                    to   the Claims described                  herein    Consequently              additional    copies


of such voluminous                    documents          are not included with this                  Annex     to the Proofs of           Claim The


Claimant will furnish                   the Debtor        and the Trustee              as applicable          with copies of any additional



pertinent      documentation                 upon request




                           7             Reservation           of   Rights Amendments                        The   assertion       of Claims    by each


Claimant herein                 is   not a concession or admission                     as   to the correct         characterization        or treatment




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of any such claims nor a waiver                       of any rights of such Claimant                      The execution and             filing       of the



this Proof of         Claim does           not constitute       a     a waiver        or release       of such Claimant’s rights against



any other entity or person                  liable   for all or part of the         Claims            b   a consent        by such Claimant               to




the jurisdiction          of   this    Court with respect        to    any proceeding commenced                       against      or otherwise



involving such Claimant                     c    a consent    by such Claimant                to the treatment            of any   non core         claim


against    it   as a core      claim        d    a waiver     of the right to move              to   withdraw        the reference       with



respect    to    the subject          matter    of the Claims or otherwise including                       without limitation any



objection        or other proceedings              commenced with             respect      thereto        or any     other proceedings



commenced            against     or otherwise involving               such Claimant               e a waiver         of any right to          the



subordination           in    favor     of such      Claimant       of indebtedness           or liens held         by    other creditors           of the



Debtor          f   an election        of remedies that waives or otherwise affects any other remedies                                         or     g    a


waiver     of    any   right to arbitration or other alternative                      dispute        resolution     mechanism          that    is




otherwise applicable                  Each Claimant          expressly reserves             its   right to   amend and supplement                     this




Proof of Claim to the                 fullest   extent   permitted by law             to   specify        and quantify damages costs


expenses        and other charges               or claims incurred         by the     Claimant and           to    file   additional    proofs        of



claim     for   additional       claims including            without limitation               i claims       for   post petition       interest legal



fees   and      related   expenses          that are not     ascertainable       at    this    time and       ii claims arising from or



relating to the        avoidance           of transfers      made     to   the Claimant or any other entity                        The Claimants


reconciliation         process        is   ongoing and        the Claimants therefore                  reserve     the right to      amend          the



Proofs of Claim and               this     Annex     consistent       with the   results       of such reconciliation




                          8           Notices        ALL NOTICES WITH RESPECT TO THE CLAIMS SHOULD

BE SENT TO




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                   lPMorgan Chase Bank           NA
                   245 Park Avenue lih Floor
                   New York New         York    10167

                   Attention        Kevin      C Kelley     Esq
                   Fax              646 534 6400

with a copy to



                   Wachtell    Lipton Rosen          Katz

                   51 West 52nd Street

                   New York New         York    10019

                   Attention        Harold     S   Novikoff   Esq
                                    Kathryn     Gettles   Atwa Esq
                   Fax              212403 2249



Penalty   for   Presenting   Fraudulent Claim        Fine of up   to   500,000 or imprisonment   for   up to five

years or both       18   USc        152 and    3571




                                                            16
                   08-13555-mg                                           Doc 22164-3                                                   Filed 11/15/11 Entered 11/15/11 15:14:08                                                                                                          Exhibit B
                                                                                                                                             Pg 68 of 109

    B   10       Official      Form 10             f12107


                                                                                                                                                                                                                                                                   PROOF OF CLAIM
    UNITED STATES BANKRUPTCY                                                                     COURT                              Southern District ofNew                              York


    Name ofDebtor                                                                                                                                                                                                             CaseNumber
     lehman Brothers Inc                                                                                                                                                                                                       08 01420                          JMP          SIPA
             NOTE            Thisform            shouldnot            be used10            ma1ce       a            administrative
                                                                                                           claimfor an                                            e      arisingajkr          the    commencement          ofthe   case             A   requestfor            payment            of011

                                                                                                                                     e
                                                                                                      administrative meme mav be flIed                               rJur lant to II          U     s    C
                                                                                                                                                                                                         503

    Name
    JP
                 ofCreditor
                     Morgan
                                               th  earing
                                                            or other
                                                                        Corp
                                                                            entity         to    whom         the debtor owes               money     or property                                                             fi   Check             this       box     to indicate            that    this

                                                                                                                                                                                                                                   claim             amends         a    previously            filed


    Name         and address where                  notices      should be sent                                                                                                                                                    claim

                                                                 th Floor
                                                                                                                                                                                                                                                                Number                     l1o
    N24ew5        YPaorrkk      ANvYenu1e01l67
                                                                                                                                                                                                                              Co   luflrctnCoWwnm



    Attention                                  Kevin           Kelley Esq
Telephone                number
    212 648 0427                                                                                                                                                                                                              Filed       on                 sJ Zs                 lea


Name             and address             where payment should                        be    sent       if different             from    above                                                                                   o Check               this       box     if   you are aware                that

                                                                                                                                                                                                                                   anyone               else has         filed     a    proofof           claim

     NA                                                                                                                                                                                                                            relating             to your claim                    Attach copy             of

                                                                                                                                                                                                                                   stlrement giving                       particulars




Telephone                number                                                                                                                                                                                               o Check                this       box     ifyou arc the debtor

                                                                                                                                                                                                                                   or     trustee           in this case

J Amount                   of Claim as ofDate ClUe                              Filed                                    See         attached               Annex                                                             5 Amount                     ofDalm             Entitled           to


                                                                                                                                                                                                                                   Priority under 11                          UsC               5l    7a         If
Ifall        or part ofyour chum                     is    secured       complete                item      4 below however                  ifaU     ofyour claim          is   unsecured           do    not complete             any              portion ofYOllrcIaim                         falls     In

item         4                                                                                                                                                                                                                     oue        of        the follOWing categories

                                                                                                                                                                                                                                   check             the     box and           state the

Ifall        or   part     ofyour          clalm     is    entitled     to      priority          complete              item    5                                                                                                  amount


o Check             this     box      if   claim    includes          interest        or other charges                    in addition       to the    principal      amount       ofclaim           Attach itemized           SpeciJY           the        priority      ofthe          claim

        statetnent         ofinterest            or charges

                                                                                                                                                                                                                              o    Domestic                 support                                   Wlder

        B sforCWm
                                                                                                                                                                                                                                                                             obligations

2                                           See           attached                    Annex                                                                                                                                        II      US C                 567      aIA or aXI B
          See     instruction              2   au reverse        side

J        Last      four      digits        ofoyDumber                   by      which           creditor Identif Ies                   debtor       See         attached            Armex                                     o Wages                   salaries         or   oollllnissiol1S               up
                                                                                                                                                                                                                                   to S10,950                      camed           within 180 days

             3a Debtor may                         ve         hOOnled           account           as                                                                                                                               before               filing     ofthe       bankruptcy

                         See   instruction                3a on reverse             side                                                                                                                                           petition                or   cessation          ofthe       debtor’s

                                                                                                                                                                                                                                   business                 whichever                    earlier          11
4       Secured           Claim            See    instruction           4   on revane              side         See             attached              Armex                                                                                                                        is




        Check        the appropriate               box      ifyour claim              is   secured            by    a    lien   on property or         a right    ofsetoffand         provide            the   requested
                                                                                                                                                                                                                                   U SC                    501      a4
        information
                                                                                                                                                                                                                              o    Contributions                    to   an employee                  benefit


        Nature of            property            or right of setoff                        UReal           Estllre                o Motor Vehicle                     CI   Other
                                                                                                                                                                                                                                   plan              I I    U SC             507         a5
        Dese ribe
                                                                                                                                                                                                                              o Up          to        2,425         ofdeposits              toward

        Value        of   PropertyS                                                        Annual             Interest          Rate                                                                                               purchase                 lease or          rental      ofproperty

                                                                                                                                                                                                                                   or services                  for personal              family or

         Amonnt of             arrearage             and      other     charges             35 oflime               case       filed   Included      In secured          claim
                                                                                                                                                                                                                                   household                 use II U S C                       507

                                                                                                                                                                                                                                    a7
         Ifauy                                                              Basis for perfectlon
                                                                                                                                                                                                                              o Taxes                or    penalties         owed         to

         Amount            ofSecured              Oalm S                                                                 Amouat          Unsecured          S                                                                      governments                      units           11    US C             507
                                                                                                                                                                                                                                    a8
6                                                                yments on                this    claim        has been          credited        for the   pwpose ofmaking             this     proofofclaim
        SCreeeditas ttTahcehameoduntAonfanllepxa                                                                                                                                                                              o Other                   Specify          applicable            paragraph


1       Documents               Attach redacted copiea                          ofany           documents               that    support the       claim             as   promissory      notes purchase
                                                                                                                                                                                                                                   of 11             U SC            507           aU
orders           invoices       itemized Slarements ofrunning                                     accounts              contracts        judgments         mortgages        and    security         agreements
                                                                                                                                                                                                                                         Amountentitled                            to   priority
You may             also     attach        a   summary           Attach             rc cted         copiea ofdocuments                      providing       evidence       ofperfcction             of

a   security interest                    You     ffi 1 also attaCh              a   summary                   See       dej’mition       of redacted            on reverse      side
                                                                                                                                                                                                                                                           See       attached                    Annex
 See at tached AnneX




                                            Ism
DO NOT SEND ORIGINAL DOCUMENTS AITACHED DOCUMENTS                                                                                                    MAY BE DESTROYED                         AFTER
                                                                                                                                                                                                                               Amounts                are subject             to   adjustment on
SCANNING                                                                                                                                                                                                                      4110 Q11d                 every 3years thereaflerwith

                                                                                                                                                                                                                              respect to cases                    commenced un                   or      after
If the       documents             are     not available              please explain
                                                                                                                                                                                                                              the date ofadjustment




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                                   UNITED STATES BANKRUPTCY COURT
                                    SOUTHERN DISTRICT OF NEW YORK

 In re


 Lehman       Brothers     Inc                                                 Case   No 08 01420 JMP                    SIPA


                                            Debtor


                                       AMENDED AND RESTATED
                                     ANNEX TO PROOFS OF CLAIM OF

                                       JPMORGAN CHASE BANK N                                  A
                                    J P MORGAN SECURITIES INC AND
                                      JP MORGAN CLEARING CORP


                    1           Name   of   Claimants This           is   the       Amended        and Restated     Annex       the



 Annex       to the     amended    Proofs    of Claim the           Proofs of         Claim submitted by             JPMorgan


Chase Bank        NA JPMCBJP                    Morgan       Securities         Inc        JPMSI       and     JP   Morgan Clearing


Corp       fk a   Bear   Stearns   Securities   Corp          JPM       Clearing and each of                 JPMCB JPMSI              and



JPM   Clearing      a    Claimant      each having an address                  at   245 Park Avenue            New York New            York


10167 against       debtor Lehman Brothers             Inc    the       Debtor             The Claimants        are parties to the



Collateral Disposition Agreement              dated    as    of March          16,2010       the      CDA among Lehman
Brothers Holdings         Inc      LBHI       certain subsidiaries             of   LBHI      excluding the         Debtor      the



Claimants and certain of the Claimant’s Affiliates                       as defined        below       which was approved             by


the Bankruptcy        Court presiding       over LBHI’s chapter                11 case by an order dated March                 24 2010


The   signatory    of each Proof of Claim         to   which    this      Annex       is   attached    is   authorized    to   make such


claim on behalf of the Claimant named therein                   and       to    the extent     applicable the following



persons     collectively     such Claimant’s           Affiliates              such Claimant’s successors predecessors



assigns parents subsidiaries           affiliates directors             officers      consultants agents representatives



advisors    and employees and each other person or entity                           who     within the meaning of section               15



                                                                    1
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                                                                     Morgan Securities Inc and JP Morgan Clearing Corp




of the Securities         Act of       1933 or   section    20   of the Securities        Exchange Act of 1934                 the



 Exchange         Act      each    as    amended        controls such Claimant The amended Proof of Claim                                      to




which     this   Annex     is   attached      supersedes     the original proof of claim filed               by    the Claimant          named


in    such amended Proof of Claim with respect                     to   the   Claims described            herein




                      2           Basis for Claims            On   September         19,2008        the    Petition      Date          the



United     States    District Court for the Southern               District of      New      York    the    Court entered               an



Order     granting    the application          of Securities     Investor      Protection      Corporation         for   issuance       of a



protective       decree adjudicating           that the customers        of the Debtor         are in need of the protection



afforded by the Securities               Investor     Protection    Act of 1970         as    amended        SIPA           On    and prior



to    the Petition   Date       the Debtor       and the Claimants were             parties    to among        other things certain



commercial        and financial relationships              and agreements           which     gave   rise to    the claims set forth in



the    Proofs of Claim and further described                    below    collectively         the    Claims          As of     the Petition



Date     unless     otherwise specified




                      A           JPMCB         Claims


                      r           Clearance       and   Settlement      Claims       Clearance       Agreement             As    of October



1,2008       JPMCB        was owed            25,279,675,964       for extensions        of credit for the clearance              and


settlement       of securities transactions            under the Clearance Agreement signed by the Debtor on



June 7,2000          as   amended        to   which    JPMCB       and the Debtor are party together                 with certain of the



Debtor’s     affiliates     the        Clearance      Agreement           As   of   March      15,2010 such amount had been


reduced     to    6,333,781,099            principally     by   application     of the sale proceeds of securities                     collateral




 the     Clearance Agreement Securities                    Collateral pledged by the Debtor pursuant                        to   the



Clearance Agreement               to   secure such claims application                of distributions received            on     the




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                                                                      Morgan Securities Inc and JP Morgan Clearing Corp




Clearance Agreement Securities                    Collateral          application      of cash repo adjustments received                   with



respect   to   the Clearance          Agreement         Securities         Collateral    the exercise        of setoff rights against



certain of the Debtor’s             demand       deposit       accounts      application       of   collateral     pledged by the Debtor


in connection        with the Agency             MSLA          as defined       below       and other account activity




                     In   addition         as   of March       31 2010 JPMCB was owed                        280,224,670       for    interest




accrued on and         after    the   Petition    Date on the Claims under the Clearance Agreement




                     II             Swap Agreement Claims                  USDA       Master    Agreement JPMCB was owed


 49,243,907         arising    from swap agreements under                       the   ISDA    Master Agreement dated                 as   of



September       8   2004       as   amended       between        JPMCB          and the Debtor         the       ISDA   Master



Agreement            This      is   a net Claim comprised              of Unpaid        Amounts Loss amounts owing                        for




failure   to return Posted Collateral                 as such     terms      are defined      in   such   ISDA      Master Agreement


and   other    amounts arising under swap agreements                             including     terminated        swap agreements


JPMCB      sent the Debtor            a   Calculation      Statement dated October                  17 2008        together    with


appendices and attachments containing                          related detail         together the        Calculation     Statement


requesting      payment of            13,756,134        of such net Claim              As   described     in     the Calculation



Statement       such      13,756,134            was   repaid    by    application      of proceeds of the liquidation                of



securities     collateral posted           by   the Debtor under the Clearance                  Agreement




                     The Claims arising under                   the   ISDA       Master Agreement and the Calculation


Statement have changed as described                        below      as   a result of corrections           identified   by   JPMCB            in   the



reconciliation       of the Claims




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                                                                                                          OF CLAIM
                                 JPMorgan        Chase Bank N A JP Morgan Securities Inc and JP Morgan Clearing Corp
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          1           The amount of          the Claims of        JPMCB              against    the Debtor        under the     ISDA     Master



          Agreement was determined                    to   have been understated                    in the Calculation        Statement by



           35,487,773           which     is the    result   of an overstatement                of the Close out        Amount        as such



          term   is   defined    in    the   ISDA     Master Agreement                     owed by      JPMCB      to the Debtor of



           6,692,220         an overstatement of the Unpaid Amount                              owed by       JPMCB       to the Debtor         of



           28,686,285         and     interest     accrued    on unreturned                collateral posted      by   JPMCB       owed by       the



          Debtor to     JPMCB          of    109,268 and




          2           The     45,567,129 Claim balance stated                         in    the original Proof of        Claim filed by


          JPMCB        against    the Debtor         was     an estimate        of such understatement                 and should be



          deemed superseded by               the results       of the reconciliation




As   a result of the foregoing            changes          JPMCB    is    owed by           the Debtor under the          ISDA      Master



Agreement        35,487,773           more than      the     amount      set   forth in the Calculation             Statement        All of



such amount       plus interest thereon              remains unpaid




                      III        Securities        Contract Claims             for   Securities        Loans Master           Securities



Lending    AgreemenO JPMCB was owed                             23,817,391            arising from securities            loans    under the



Master Securities           Lending Agreement dated               as of        March 9,1983              as   amended between JPMCB


fk a The      Chase Manhattan Bank                   National     Association                  as    trustee or   managing agent and             the



Debtor     f k a Shearson American                  Express     Inc       the        Agency         MSLA          Of this amount           a

 8,010,490     related to       income dividends and               other distributions on securities                    borrowed by the


Debtor under the Agency                MSLA        which      the Debtor        failed to remit          to   JPMCB      as   required     by   the



Agency    MSLA         fees     and   other charges          owing under         the       Agency       MSLA       and indemnification




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                                     JPMorgan                Pg
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                                                                       Morgan Securities Inc and JP Morgan Clearing Corp




claims       and      b     15,806,901 related           to   out of pocket expenses             and transaction        costs incurred         by


JPMCB         in    connection       with the exercise         of remedies with respect               to the outstanding         securities



loans under the Agency                MSLA           and the liquidation of collateral held thereunder                         JPMCB     was


also owed          an additional           8,565,357 by the Debtor in fees account balances                         and other amounts



under the Agency                MSLA



                          JPMCB       recovered         8,010,490 of the           non estimated         portion   of   the    Claim


described       in    the preceding         paragraph through          the application          of the proceeds of        collateral     posted



by   the    Debtor under the Agency                   MSLA



                          In addition       JPMCB        is   owed    25,302 by LBI            for   other   post petition expenses


incurred as a          result    of the closing        of the securities lending             portfolio




The   reconciliation             process    with respect       to   the Claims under the             Agency    MSLA       is   ongoing and


JPMCB         therefore         reserves    the right    to   amend    its   Proof of Claim including              this   Annex

consistent         with the results of such reconciliation




                          IV        Securities        Contract Claims            for   Failed Transactions         Global Custody and



Clearing       Agreement JPMCB was owed                              2,450,272         arising from breaches of securities



contracts      under the Global Custody and Clearance Agreement dated as of March                                              14,2001    as



amended         between          JPMCB f k a           The Chase Manhattan               Bank        and the Debtor This Claim             arises




from       the failure     of the Debtor        to    repay funds advanced              by   JPMCB       as collateral agent        to   the



Debtor and           to settle    a portion    of certain securities contracts                because     the Debtor did not pay           uK
stamp       taxes    applicable      to    the transactions         and payable by the Debtor This Claim represents                            the




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                                 JPMorgan     Chase Bank   NA
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                                                                   Morgan Securities Inc and JP Morgan Clearing Corp




amount payable by             the Debtor under the relevant            securities   contracts     including       the stamp   tax


and may be         subject    to reduction     by   the   amount     of any net proceeds realized           by   JPMCB      from the



sale of the relevant         securities




                      V          BGI Related        Securities      Lending   Claim    Custodial Undertaking                JPMCB

was owed           8,024,375     arising from the exercise           of remedies with respect         to   the Debtor’s     defaults



under securities loans with Bm’clays                 Global Investors Limited           as   agent   for   Stichting



Pensioenfonds         voor de Gezondheid Geestelijke                  en Maatschappelijke         Belangen          BGI      under



the   Custodial      Undertaking      in   Connection        with   Global Master Repurchase           Agreement and Global


Master Securities Lending Agreement among                           the Claimant    as custodian       the Debtor and        BGI


dated     as    of January    18 2006




                      VI         Securities    Options       Claims      JPMCB      as assignee      from Washington          Mutual


Bank       Account     No 054440             was owed        2,179,688     arising from put       options    on    three forward



settling trades       for   FNMA     securities      on which       the Debtor   defaulted      These trades are evidenced


by two     Option     Confirmations and Agreements                  dated September      3,2008 and one such agreement


dated September             9,2008




                      VII        Securities    Contract Service          Fees Account Charges and Other Amounts


JPMCB          was owed       2,910,494      for   various   fees and charges       relating to    accounts and services



provided        to or for the benefit      of the Debtor The fees and charges consist of                         2,803,620 of


service        fees and other fees and charges            under the Master Implementation              Form for      Treasury



Services General Service Terms and Conditions and Controlled                             Disbursement            Services   dated   as




of February        8,2005      as   amended        between    JPMCB       and the Debtor        41,949 of physical




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                                IPMorgan     Chase Bank   NA
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securities    fees and other fees and charges               under the Domestic            Custody Agreement dated                     as of



February 28,2007           as   amended between             JPMCB         and the Debtor and             64,925 relating to            UK
Accounts      and other fees and charges               under the Global Custody and Clearance Agreement dated



as   of March   14 2001         as   amended between              JPMCB fk a The            Chase Manhattan                 Bank      and the



Debtor       In addition    JPMCB          was owed        97,578 arising from an overdraft                   in account        66020751


resulting from returned          checks      dated prior     to   the Petition    Date      In    addition         JPMCB       is   owed      the



following amounts          arising after      the Petition    Date         a    491,692     for    post petition broker dealer


fees      483,974 and       fees     on   physical     settlements        7,718      b      75,473 for principal and interest



payments      in relation to     two physical securities purchased by                 JPMSI          c      12,102,386 for            legal




expenses and       d       1,913,362       for consulting         expenses     incurred    by    JPMCB        with respect to           its




Claims against     the   Debtor




                   VIII         Misdirected Payments


                   A            JPMCB        is   owed    7,000,000       for the return of misdirected                    payments     with



respect    to its client Bridgewater              On   September      17 and 18,2008             JPMCB        made erroneous


payments      totaling     7,000,000        from    JPMCB         custodial    accounts    to accounts of the Debtor



maintained      with Citibank         London         accounts       account      66427 and account


GB23CITI18500810640409                      Bridgewater issued            cancellation      instructions           that    were not



executed before      the   payments          JPMCB made payment recall                    requests    to    Citibank         but Citibank



rejected   the recall    of the funds         JPMCB        paid Bridgewater          7,000,000        and subsequently                filed   a


claim with the Debtor for the return of the payments                           This Claim arose            after    the Petition       Date




                   B            JPMCB        is   owed     4,433.89 for the return of misdirected                         payments    with



respect    to its client Fidelity Central Investment                 Portfolios     LLC      fuo    Fidelity        Mortgage Backed




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                                                                                                                 OF CLAIM
                                      JPMorgan         Chase Bank    NA
                                                                    Pg 76Jof 109 Securities Inc and JP Morgan Clearing Corp
                                                                          P Morgan


Securities      Central       Fund         Fidelity             On    September            16 2008      the Debtor         wired     4,433.89


through    Citibank          to    JPMCB         for    further credit to Fidelity                In October        2008     JPMCB         which had



been unable       to    confirm with Fidelity the instructions                             regarding    the      Funds returned          the funds       to




the Debtor and subsequently                      received        instructions           from Fidelity      to    execute the cash payment



This Claim arose              after   the Petition           Date




                        B             JPMSI Claims


                        1             Securities         Contracts Claims                for   Defaulted    Securities       Loans        JPMSI was


owed      10,097,117              arising from securities loans under the Master                                Securities   Loan Agreement


dated as of April            23     1993    as    amended           between        JPMSI f k a          Chemical       Securities         Inc     and the


Debtor     fk a    Shearson            Lehman          Brothers       Inc         the     JPMSI     MSLA             This    is   a net Claim



remaining       after    the close out of outstanding securities loans                              and application           of collateral posted



under the    JPMSI           MSLA          Such         10,097,117         has been paid by application                    of cash   collateral




posted by    LBHI            to secure     its   Guaranty dated as of September                        9,2008        the     Second LBHI


Guaranty         of    all   obligations         of    LBHI      and   all   of    its   subsidiaries      to    JPMCB       and   all   of its



affiliates subsidiaries               successors             and assigns      as indicated         in the following          documents sent by


JPMCB      to   LBHI          collectively             the    LBHI Demand Documents Demand                                   for   Payment under


Guaranty dated October                  24,2008              Notice    of Enforcement             of Security       in respect      of Guaranty



dated October           29,2008         Restated             Demand     for   Payment under Guaranty dated November                                14


2008     and Restated             Notice    of Enforcement              of Security            in Respect       of Guaranty        dated November



14,2008




                        II            Underwriting             or Placement Fees                 JPMSI was owed               9,554,671 for net



underwriting fees payable to                     JPMSI         pursuant      to   certain underwriting              arrangements          where    the




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                                        JPMorgan     Chase Bank N A JP Morgan Securities Inc and JP Morgan Clearing Corp
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Debtor      as lead or           managing        underwriter            or equivalent          failed to pay     JPMSI          fees   owed        for       its




participation         as   joint      book running manager                 co manager           or underwriter            or equivalent            in   debt



equity and asset backed                      securities      offerings    which took place            in   June July August and


September        of    2008             7,314,913       is   attributable to fees or interests               arising from equity               offerings



and     2,807,714          is    attributable to fees           owing      to   JPMSI from          the Debtor    arising from debt                    and



asset backed securities                  originations          net of fees of          567,956 arising from debt and asset backed



securities      originations            which are owing to the Debtor from                          JPMSI




                           C            JPM     Clearing Claims                 JPM   Clearing was         owed      525,266 arising from


securities      loans      under the Master Securities Loan Agreement dated as of January 18 2002                                                        as




amended between JPM                          Clearing     and the Debtor          the         JPM   Clearing    MSLA              This        is   a   net



Claim remaining                 after   the close out of outstanding                  securities     loans    and application            of    collateral




posted under the               JPM      Clearing     MSLA           Such        525,266 has been paid by application                          of cash



collateral posted           by LBHI            to secure      the   Second       LBHI     Guaranty         as indicated         in the    LBHI


Demand Documents




                           D            Additional Claims Applicable                     to   All Claimants          In    addition      to    the Claims



set forth    above         each Claimant            may       hold additional          Claims some of which may have accrued


after the Petition             Date     or   may   accrue       after    the date hereof            Such Claims include                but are not



limited    to    a     Claims for post petition interest accrued under applicable                                     agreements or law                       b

Claims     for   prepetition            and post petition           costs and expenses              including     transaction          and legal fees



and expenses payable under applicable                               agreements or             law    c   increases        to   Claim amounts             stated



above     in this     Annex         that     may   be determined upon                 final   reconciliation     of the relevant transactions



and amounts           payable            d contingent           Claims not currently             liquidated       e       Claims    for       prepetition




                                                                                 9
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                                                                           Entered  11/15/11
                                                                              RESTATED   ANNEX15:14:08
                                                                                                 TO PROOFSExhibit   B
                                                                                                             OF CLAIM
                                        JPMorgan      ChaseBankPgNA78Jof 109 Securities Inc and JP Morgan Clearing Corp
                                                                       P Morgan



and post petition              misdirected       payments        to   the    Debtor including         but not limited      to amounts       paid



or payable           by   or to customers of the              Claimant amounts           held in accounts      for the Debtor        by a


Claimant and amounts                     paid   to   the Debtor       that    should have been paid or remitted             to the



Claimant and                f Claims       arising from        out of pocket expenses            and transaction      costs incurred        by


or    on   behalf      of Claimant in connection                with the exercise         of default    remedies     enforcement       of


rights and the liquidation of collateral




                           Each     Claimant asserts          all   rights     entitlements    claims and remedies with respect                  to




such       Claims as a matter of general                 law     equity       or   otherwise and reserves      the right to assert any



and     all   rights      entitlementsclaims and remedies as a creditor                         for   such Claims         The Claimant on


behalf of        itself    and    its   Affiliates     also asserts      a claim against      the Debtor for all          amounts owed        to



the   Claimant            and or    its Affiliates      by    the Debtor       that are not   yet absolutely    due or owing or are


otherwise contingent                 or unliquidated           including       any amount that        may   be due   to   the Claimant



and or        its   Affiliates from the Debtor                in respect      of representations       warranties reimbursement



obligations agreements                    covenants or indemnities                  made by   the Debtor or implied at law or in



equity




                           E            Securities     Law Claims            Claims Filed by Codebtor           Each Claimant         or its



Affiliates          may    have contingent           contractual       and    non contractual     indemnity        contribution



equitable           and other claims against             the Debtor          for any losses claims       damages      or other liabilities



 or actions          in   respect    thereof         joint or several to           which such Claimant may become              subject



under securities law or otherwise including without limitation settlement costs investigation



costs      and the fees and expenses                  of counsel        collectively       Actions       arising   from based on         or



relating to the underwriting                    placement        and or      sale of securities   by such Claimant            fu




                                                                               10
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                                                                            RESTATED 11/15/11
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                                                                                                  TO PROOFSExhibit   B
                                                                                                              OF CLAIM
                                    JPMorgan      Chase Bank PgNA79Jof
                                                                    P 109
                                                                       Morgan Securities Inc and JP Morgan Clearing Corp




circumstances            where     a Claimant or an Affiliate              of a Claimant              is   the lead        managing      underwriter



with respect        to    an offer of securities         such Claimant or Affiliate also asserts claims                                  of the kind



described      in   the preceding          sentence     against      the Debtor           on behalf of           all   underwriters       in    the




underwriting         syndicate        and     their   affiliates with respect               to such         offer      In addition each



Claimant and          its   Affiliates      as an entity that is or            may       be liable with the Debtor                 to   a creditor     that



has not     filed    a proof of claim           hereby    files   pursuant          to   Bankruptcy           Rule         3005 a    a proof of claim



on behalf of each such               creditor     covering      claims in which such Claimant or Affiliate                                 as



applicable      is   a codebtor        with the Debtor The name                      of each       such creditor            is   not currently



known




                     This filing      is   intended     to include         without         limitation all Claims of the types



described      above in the preceding                 paragraph arising from the                   facts     and circumstances             which



allegedly     gave rise to the claims asserted                  against        Claimant any of                its     Affiliates    andor       the Debtor



in the following cases                In re    Ambac Fin Group                 Inc       Sec     Litig       SD N          Y     In re American         Int’l




Group Inc Sec              Litig     S DN      Y       American       Nat’l Ins           Co v     Fuld          et   al    SD Tex S DN               Y
City of Cleveland            v   Deutsche       Bank    Trust     Co      et   al        Ohio    Ct     Com PI             Cuyahoga County             ND
Ohio City           of Cleveland       v JPMorgan            Chase Bank             NA          et al      Ohio Ct          Com Pl Cuyahoga

County In           re Fannie       Mae 2008 Sec          Litig       SD N          Y      Freidus          et   al v ING Groep            NV         et al



S DN        Y       Genesee        County Employees Ret System v Thornburg                                       Mortgage Inc             et al       Santa



Fe County           New Mexico             Iron   Workers       Local     No        25 Pension Fund v Credit Based Asset


Servicing     and        Securitization       LLC      SD N       Y       Jacoby         v Syron           et al      S DN       Y      Luther    v


Countrywide          Home Loans            Servicing     LP     et   al    County of Los Angeles New York                                 City



Employees’Ret               System    v    Countrywide        Fin Corp              C DN         Y         Orange County Employees Ret




                                                                           11
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                                                                                         ANNEX15:14:08
                                                                                                 TO PROOFSExhibit   B
                                                                                                             OF CLAIM
                                 JPMorgan        Chase  BankPgNA80Jof
                                                                   P 109
                                                                      Morgan Securities Inc and JP Morgan Clearing Corp




System      et al   v   Carlson       et    al     ND     Cal Phynice            Kelley v ShoreTel              Inc     et al     San Francisco


County       ND     Cal Rubin           v   MF      Global Ltd          et al      S DN         Y   In re      US   Interactive         Inc    Sec


Litig      E D Pa In       re   SemGroup            Energy Partners             LP      Sec     Litig     ND      Okla In            re Virgin



Mobile     USA IPO       Litig     DN J             In re Washington            Mutual Inc Sec             Litig      W D Wash                and



Watkins      v ShoreTel         Inc    et al        ND Cal          as well as         a   all   cases    or Actions relating to            the



restoration    retrieval or clean            up of Claimant’s             its   Affiliates       andor     the Debtor’s         properties



affected    by September 11,2001                   terrorist    actions      and      b   all   cases    or Actions      relating to



allocation     compensation           and analyst recommendation                       matters     involving      initial     public    offerings



including but not limited to In                    re Initial    Pub    Offering       Sec      Litig     S DN      Y        and actions      filed




by Vanessa Simmonds              seeking         relief   under Section           16 b     of the Exchange Act                 W D Wash           9th



Cir       The Claimants         further reserve           all rights    to   assert all claims under contract                     federal



securities    law and     common law                including     but   not limited to           indemnification         and contribution



against    the Debtor     with respect           to all similar actions            brought against          Claimant whether             the



actions    currently     are pending          or are filed       at a future      date




                     3           Secured Claim                  In addition      to   the collateral      applied       against      Claims as



described     above      JPMCB        currently        holds      a cash        and securities collateral             including        cash


principal    and interest payments                 and other proceeds thereof posted by the Debtor under the



Clearance Agreement              which        secures     all   claims of       JPMCB         against    the   Debtor        the aggregate



value of which collateral             is    not currently        determinable             b   approximately           8,565,357        of the cash



proceeds of collateral posted by the Debtor under the Agency                                      MSLA         to secure the Claims under



the   Agency    MSLA       and    all      other    JPMCB        Claims against           the   Debtor and          c   at   least




                                                                          12
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                                                                                                              OF CLAIM
                                      JPMorgan       Chase Bank N A JP Morgan Securities Inc and JP Morgan Clearing Corp
                                                               Pg 81 of 109


 142,476,437          of cash in accounts of the Debtor                              against        which      JPMCB        has    collateral          andor


setoff rights




                       In addition the Claims of                           JPMCB         against       the Debtor          under the Clearance


Agreement           are guaranteed           by     the Guaranty             ofLBHI            dated    as of   August 26,2008                 the       First




LBHI Guaranty                   and secured          by    the cash and securities                     collateral posted therefor                 pursuant         to




the Security        Agreement           relating to the First                    LBHI     Guaranty dated             as   of August          26   2008 between


JPMCB       and      LBHI        The Claims of              all      of    the   Claimants against              the Debtor         are guaranteed             by    the



Second LBHI Guaranty and secured by                                    additional         collateral      posted therefor pursuant                      to   the



Security Agreement relating to the Second                                    LBHI        Guaranty dated             as    of September         9,2008


between      JPMCB         and    LBHI The                 aggregate             value   of the collateral posted                 by LBHI         is   not



currently    determinable




                       In accordance              with the           CDA         the Claimant has applied                   or will apply the Collateral



as defined in the           CDA         to    the   non contingent                 Claims set forth herein




                       4              Amount          of Claim Entitled                   Priority Each Claim                     is   a secured claim to



the extent     of the value of the collateral securing                               such Claim           is   entitled to priority as an



administrative         expense          to the extent           it   arose on or after              the Petition         Date and       is   a general



unsecured claim            to   the   extent        that   it   is   not    secured       and not entitled to such priority                       without



prejudice      to   any and       all   of the rights of the Claimant                           i under        Section      1111 b        of chapter          11   of



the   United    States      Bankruptcy              Code        11    U Sc               101   et   seq   the       Bankruptcy           Code           and      ii to



assert that all or a portion                 of the Claims is entitled                    to   administrative             priority under Sections                  503



and 507 of the Bankruptcy                     Code         These Proofs of Claim are                        filed    without prejudice to the                    right




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                                                                                                                     OF CLAIM
                                           JPMorgan          Chase Bank  NA
                                                                        Pg 82Jof 109 Securities Inc and JP Morgan Clearing Corp
                                                                              P Morgan


of any Claimant to request                            payment      of any administrative             expense       claims    that   it   may     have



against      any of the Debtors                       including without limitation administrative                           expenses      not described



in    this   Proof of Claim and administrative                             expense       claims arising from the use of Claimants                         cash



collateral      by       the debtors             in   these Chapter 11          cases and Claimant                reserves    the right     to    request



payment of such                 administrative               expenses      at   a later date or      when    required        by   the    Court    the



Bankruptcy           Code            or other applicable                law




                           5               Credits           The amount of         all   payments       on   the Claims has             been credited and



deducted        for the purpose of                      making     this   Proof of Claim or such payments                     have been described


above        The Claimant                 reserves        the right to set off against              any amount        securities or positions



owed by        it   to    the    Debtor           all   obligations       of the Debtor       to   the Claimant and any                obligations      that



the    Debtor or any                 affiliate        owes   to   the Claimant or any affiliate              in    each case      to    the extent



allowed       by applicable               law or any agreement or instrument




                           6              Supporting              Documentation             The Claimants have               heretofore        provided        to




the Trustee              the     SlPA Trustee                 appointed by the Court under                   SlPA     tens of thousands of pages



of documents              requested by the SIPA Trustee                           including        copies   of the agreements referred to



herein and information relevant                              to   the Claims described             herein    Consequently               additional      copies



of such       voluminous                documents            are not included        with   this    Annex     to   the Proofs of         Claim       The


Claimant will furnish                     the Debtor          and the Trustee         as applicable          with copies of any additional


pertinent       documentation                    upon     request




                           7              Reservation              of   Rights Amendments                   The    assertion of Claims            by each


Claimant herein                 is    not a concession             or   admission     as   to the correct characterization                 or treatment




                                                                                   14
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                                                                      P 109
                                                                        Morgan Securities Inc and JP Morgan Clearing Corp




of   any such claims nor                  a waiver    of any rights of such        Claimant The execution                         and   filing       of the



this Proof of         Claim does not            constitute      a   a waiver      or release          of such Claimant’s rights against



any    other entity or person liable for all or part of the                       Claims             b   a consent       by such Claimant                 to



the jurisdiction         of   this   Court with respect          to any proceeding               commenced against                or otherwise



involving such Claimant                     c   a consent     by such Claimant             to    the treatment           of any   non core          claim



against     it   as   a core claim          d   a waiver     of the right to      move          to withdraw         the reference         with



respect     to   the subject      matter of the Claims or otherwise including                                 without     limitation any



objection        or other proceedings             commenced with           respect      thereto          or   any   other proceedings



commenced             against   or otherwise involving              such Claimant                e   a waiver       of any    right     to   the



subordination in favor of such Claimant of indebtedness                                    or    liens held        by    other creditors            of the



Debtor          f   an election      of remedies that waives              or   otherwise         affects       any other remedies              or     g    a



waiver     of any right to           arbitration or other alternative             dispute         resolution        mechanism           that   is




otherwise applicable                 Each Claimant           expressly     reserves     its     right to       amend and supplement                   this




Proof of Claim           to   the fullest       extent   permitted       by law   to   specify           and quantify damages                  costs



expenses         and other charges or claims incurred by the Claimant and to                                      file   additional      proofs       of



claim     for    additional     claims including             without limitation i claims for post petition interest legal


fees   and related expenses                that are not ascertainable           at this    time and             ii claims arising from or



relating to the avoidance                  of transfers made        to   the Claimant or             any   other entity           The Claimants


reconciliation         process       is   ongoing and        the Claimants therefore                 reserve      the right to      amend           the



Proofs of Claim and this Annex                       consistent     with the     results        of such reconciliation




                        8            Notices         ALL NOTICES WITH RESPECT TO THE CLAIMS SHOULD

BE SENT TO




                                                                          15
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                                                    11/15/11 AND
                                                               Entered  11/15/11
                                                                 RESTATED    ANNEX15:14:08
                                                                                     TO PROOFSExhibit   B
                                                                                                 OF CLAIM
                             JPMorgan   Chase Bank PgNA84Jof 109 Securities Inc and JP Morgan Clearing Corp
                                                          P Morgan


                   JPMorgan Chase Bank            NA
                   245 Park Avenue        12th    Floor

                   New York New         York      10167

                   Attention         Kevin       C Kelley     Esq
                   Fax               646534 6400

with a copy to


                   Wachtell Lipton Rosen               Katz

                   51    West 52nd   Street

                   New York New         York      10019

                   Attention         Harold      S   Novikoff Esq
                                     Kathryn      Gettles   Atwa Esq
                   Fax               212403 2249



Penalty   for   Presenting   Fraudulent Claim         Fine of up    to   500,000 or imprisonment for up   to   five

years or both       18   U Sc        152 and     3571




                                                              16
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                                                                                                                                        Pg 85 of 109


     B    10      Official          Form            10H    2 07

                                                                                                                                                                                                                                                                              paOOF OF CLAIM
    UNITED                       STATES BANKRUPTCY                                                     COURT                          Southern               District ofNew                       York

    NameofDebtllr                                                                                                                                                                                                                                Numbcr
      Lehman                     Brothers Inc                                                                                                                                                                                                  08 Q1420 JMP SIPA
              NOTE                Thi3form            shouldllof be usedto                       make 0           claimfor an         administrative            expe11se      arising     after       The    commencemenT            ofthe case               A    reuestjOrpaymem                         ofan
                                                                                                             admlnfstratille          expmre     IIU7Y        be   filed PUYSUOIlt        to I    I   USc            S03

    Name
       JP
                  ofCreditor
                        Morgan Secur
                                             the person 9r
                                                                     to es
                                                                         ther entity

                                                                                      Inc
                                                                                                to     whom         the debtor owes          money           or property                                                                   lit   Check
                                                                                                                                                                                                                                                 claim
                                                                                                                                                                                                                                                               this

                                                                                                                                                                                                                                                              amends
                                                                                                                                                                                                                                                                         box to indicate
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                                                                                                                                                                                                                                                                                                               this




    Name          and      address where                  notices      should be sent                                                                                                                                                            claim

                                      Avenue                         2th
     245

     New York NY
                     Park
                   10167
                                                                                 Floor
                                                                                                                                                                                                                                           Court Claim                  Nnmber               4          1,11

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     Attention   Kevin Kelley Esq
    Telephone

      212 648 0427
                            number
                                                                                                                                                                                                                                           Filcdon                    sIZ’i                o
    Name          and                       where        payment         should        be sent              ifdifferent       from     above                                                                                               o     Check         this      box ifyou           arc    aWlllC       that

                                                                                                                                                                                                                                                 anyone           else    has      filed a       proofof         claim


       NA                                                                                                                                                                                                                                        relsrlng         to your claim                  Atw h copy             of
                                                                                                                                                                                                                                                 statement giving                    partiCUlars




 Telephone                 numher                                                                                                                                                                                                          o Check             this      box ifyou           are    the    debtor

                                                                                                                                                                                                                                                 or   trustee       in this case

    1     AmoUDtofClaim                             asofDllte          Case      F1Jed                                     See        attached                  Annex                                                                      5     Amount            of C1llim Entitled                     to

                                                                                                                                                                                                                                                                                        UsC                      a
 Ifall

 item         4
               or    part        ofyour         claim      is        d          complete               item 4       below     however         ifall ofyour              claim     Is   unsecured            do not complete
                                                                                                                                                                                                                                                 Priority under 11

                                                                                                                                                                                                                                                 AllY

                                                                                                                                                                                                                                                 one
                                                                                                                                                                                                                                                             portion ofyour

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                                                                                                                                                                                                                                                                                            claim

                                                                                                                                                                                                                                                                                             categories
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 If     all    or   part         ofyour         claim     is   entitle         to priority             complete           item    S                                                                                                              lU’nouat



 U ChecJc              this       box ifclaim Includes                   interest          01 other charges                 in addition      to the      principal        amount        ofclaim             Attaeh itemized                Specify the             priority        oftlte        claim
         statement           ofinterest               or charges
                                                                                                                                                                                                                                J
                                                                                                                                                                                                                                           o     Domestic           support          obligatIons            under

 2       BII Is        for       Cblim          See         attaghed                       Annex                                                                                                                                                 11   U SC               507       a1A              or    aIB
            Sec     instruction                 2 on    reverse       side
3           Lan       four        dfl      ts   ofany number                   by whlcla creditor idendfles                           debtor         See attached                          Annex                                           o Wages                salaries         or commissions                 up
                                                                                                                                                                                                                                                 to      10,950               earned       within 180 days

               3a       Debtor             may      have       schedUled          account               at                                                                                                                                       before        filing       oflhe blmkroptcy

                           See      instruction             3a on      revet’GC       side                                                                                                                                                       petition          or    cessation         olthe         debtor’s


4        Secured             Clalm              Sec    instruction       114     on   reverse             side        See         attached               Annex                                                                                   business whichever                        is earlier            II


         Check          the      appropriate            box ifyour claim                   is    secured           by a    lien   on propetty or             a right    ofsctoffand         proVide           the   reque3ted
                                                                                                                                                                                                                                                 U SC              507 11            4
         information
                                                                                                                                                                                                                                           o     Contributions                to   an employee              benefit


         Nature           of property                 or right orsetoff                         oReal            Estate            o Motor     Vehicle                     POther                                                                plan        11     US C             S01         aS
         Describe
                                                                                                                                                                                                                                           o Up         to     2,425          ofdeposits                toward

         Value ofProperty                                                                       Annuallllterest                   Rate                                                                                                           purchase           lease or rental                 ofpropcrty
                                                                                                                                                                                                                                                 or   services          for   personal family or

          Amount                 of arrearag              a dolM                                        oftlme                                                              claim
                                                                                                                                                                                                                                                 household           usc           Il   U SC             507
                                                                               charges           as                           llIed    included          In secured
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          I any S                                                                8asb           for     perfe tlon
                                                                                                                                                                                                                                          o      Taxes        or   pcl1lIJties        owed         to


          AMount             of Secured                Claim                                                               Amount       Unsecured
                                                                                                                                                                                                                                                 governmental                 unils         II     US C           507

                                                                                                                                                                                                                                                 a8
6        Credits             The      amount            ofall       payments          on    this       claim has been             credited     for            purpose       ofmaking         this      proofofclaim
                                                                                                                                                                                                                                          o
                                                                                                                                                      tlte
                                                                                                                                                                                                                                                 Other            Specify          applicable           paragraph
     See attached Annex
7 Doeumenu Attach redaeted copies ofanydo umenls that iUJlPOI1 the claim such Il                                                                                             promissot            notes        purcbl1SC
                                                                                                                                                                                                                                                 of     II    USC             507          aU
OI’dens invoiQCS itemized mtemenla ofrunning lICunts contracts judgments mortgages                                                                                                and    security       agreements
                                                                                                                                                                                                                                                      Amount             entitled        to priority
You may               also        attach        a   summary           Attach teducted copies ofdocuments                                     providing          mdence          ofpcrfection            of

a                                                                     attach      a   mmmary                      S  e defmiJIoll       of rlldlC ed               on   rev sid                                                                                    See        attached                   Annex
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DO NOT SEND                          ORIGINAL                  DOCUMENTS                          ATIACHED DOCUMENTS                                   MAY BE DESTROYED                               AFfER
                                                                                                                                                                                                                                            Amounts           are     subject         to   adjustmenl 01
SCANNING
                                                                                                                                                                                                                                          4n IO         andevery            3yet thereafter                      with
                                                                                                                                                                                                                                          respltel       to cases         commencedon                    orajler
If    the     documents               are       not available           please        explain
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                                                I   SilDature            The pason                   tiling       this    claim   must sign     it       Sign and         print    name     and       title    ifanyoftha           creditor        or

    31 10                                           other person
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                                                                                 Attach copy
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                                   Penaltyfor             Preuntingfrtttidu                     eJft    claim         Fine   ofup      to    500,000           orimprisonlllent           for    up to        5   years    or both        18   U SC                152      and      3571
 08-13555-mg              Doc 22164-3            Filed 11/15/11 Entered 11/15/11 15:14:08                                       Exhibit B
                                                       Pg 86 of 109


                                 UNITED STATES BANKRUPTCY COURT
                                  SOUTHERN DISTRICT OF NEW YORK

 In re


 Lehman       Brothers      Inc                                               Case       No 08 01420            JMP       SIPA


                                            Debtor


                                        AMENDED AND RESTATED
                                     ANNEX TO PROOFS OF CLAIM OF

                                     JPMORGAN CHASE BANK N                                      A
                                   JP MORGAN SECURITIES INC AND
                                    J P MORGAN CLEARING CORP


                    1           Name   of   Claimants This             is   the    Amended        and Restated       Annex       the



 Annex       to   the   amended Proofs       of Claim         the     Proofs of         Claim submitted by            JPMorgan


Chase   Bank      NA JPMCB                  JP   Morgan       Securities          Inc        JPMSI       and    JP Morgan        Clearing


Corp       fk a Bear Stearns       Securities     Corp          JPM        Clearing and each of               JPMCB JPMSI              and



JPM    Clearing a        Claimant      each having an address                 at   245 Park       Avenue New York New York


10167 against       debtor    Lehman      Brothers      Inc     the       Debtor             The Claimants       are parties     to the



Collateral Disposition          Agreement dated         as    of March        16,2010           the     CDA among Lehman
Brothers Holdings         Inc     LBHI        certain subsidiaries            of   LBHI         excluding the      Debtor        the



Claimants and certain of the Claimant’s Affiliates                         as defined        below       which was approved            by


the   Bankruptcy        Court presiding     over LBHI’s chapter               11 case        by an order dated March 24,2010


The   signatory    of each Proof of Claim          to   which       this    Annex       is   attached   is   authorized    to   make such


claim on behalf of the Claimant named therein                       and     to the extent        applicable the following



persons     collectively      such Claimant’s           Affiliates           such Claimant’s successors predecessors


assigns parents subsidiaries           affiliates directors               officers      consultants agents representatives



advisors    and employees and each other person or entity                          who        within the meaning of section               15



                                                                      1
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of the Securities           Act of 1933 or section          20   of the Securities       Exchange Act of 1934                   the



 Exchange           Act      each    as   amended        controls such Claimant                The amended Proof of Claim                      to




which       this   Annex     is   attached    supersedes the original proof of claim                 filed    by   the Claimant          named


in such      amended Proof           of Claim with respect          to   the Claims described             herein




                       2            Basis for Claims         On    September         19 2008        the      Petition    Date          the



United      States    District Court for the Southern              District of      New      York    the      Court entered             an



Order granting          the application         of Securities     Investor     Protection      Corporation         for   issuance       of a



protective         decree adjudicating         that the customers         of the Debtor are         in    need of the protection



afforded      by    the Securities        Investor    Protection    Act of 1970         as    amended         SIPA          On    and prior



to   the   Petition    Date       the Debtor     and the Claimants were             parties    to   among other          things certain



commercial          and financial relationships            and agreements           which gave       rise    to the claims set forth in



the Proofs of         Claim and          further described      below     collectively        the   Claims           As of      the Petition



Date       unless    otherwise specified




                       A            JPMCB       Claims


                       1            Clearance      and   Settlement      Claims Clearance            Agreement As                of October



1,2008        JPMCB         was owed          25,279,675,964       for   extensions      of credit for the clearance              and


settlement         of securities     transactions      under the Clearance Agreement signed by the Debtor on



June       7 2000     as   amended         to which    JPMCB       and the Debtor are party together                 with certain of the



Debtor’s       affiliates     the        Clearance    Agreement           As   of   March 15,2010             such amount had been



reduced to          6,333,781,099            principally   by    application    of the sale proceeds of securities                     collateral




 the       Clearance Agreement Securities                  Collateral pledged by the Debtor pursuant                        to    the



Clearance          Agreement        to   secure such claims application              of distributions received             on    the




                                                                         2
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Clearance Agreement Securities                     Collateral         application      of cash repo adjustments received                   with



respect   to   the Clearance          Agreement Securities                 Collateral    the exercise       of setoff rights against



certain   of the Debtor’s            demand       deposit       accounts      application      of collateral    pledged by the Debtor


in connection      with the Agency                MSLA          as defined      below    and other account activity




                    In addition as of              March 31 2010              JPMCB         was owed        280,224,670       for interest



accrued on and         after    the   Petition     Date on the Claims under the Clearance Agreement




                    II              Swap Agreement Claims                   USDA      Master    Agreement JPMCB was owed


 49,243,907       arising      from swap agreements under                     the   ISDA     Master Agreement dated              as   of



September       8 2004         as   amended        between        JPMCB         and   the Debtor      the     ISDA   Master



Agreement           This       is   a net   Claim comprised of Unpaid                   Amounts Loss           amounts     owing      for




failure to return Posted Collateral                    as   such terms are defined           in   such   ISDA    Master Agreement



and other amounts          arising under           swap agreements              including      terminated      swap agreements


JPMCB      sent the Debtor            a   Calculation       Statement dated October               17 2008       together      with



appendices and attachments containing                           related detail        together the       Calculation       Statement


requesting      payment of            13,756,134         of such net Claim             As   described    in the Calculation



Statement       such     13,756,134              was   repaid    by   application      of proceeds of the liquidation of


securities     collateral posted            by   the Debtor under the Clearance                 Agreement




                    The Claims              arising under the         ISDA      Master Agreement and the Calculation



Statement have changed                 as   described       below     as   a result of corrections          identified   by   JPMCB         in the



reconciliation     of the Claims




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          1          The amount of             the Claims of     JPMCB           against      the Debtor          under the   ISDA      Master



         Agreement was determined                   to have been        understated           in    the Calculation        Statement by


           35,487,773            which    is   the result of   an overstatement               of the    Close out Amount             as   such



         term   is   defined      in the    ISDA    Master Agreement                   owed by        JPMCB        to   the Debtor of



           6,692,220         an overstatement           of the Unpaid Amount                  owed by        JPMCB        to the Debtor of



           28,686,285         and interest accrued on unreturned collateral posted by                                   JPMCB     owed by        the



         Debtor      to    JPMCB       of      109,268 and




          2          The      45,567,129         Claim balance         stated     in the original Proof of                Claim filed by


         JPMCB        against      the Debtor       was an     estimate       of such understatement                    and should be



         deemed superseded by                  the results of the reconciliation




As   a result of the       foregoing      changes       JPMCB     is   owed by          the Debtor under the               ISDA    Master



Agreement       35,487,773          more than       the    amount    set forth in the Calculation                   Statement        All of



such amount       plus interest          thereon    remains unpaid




                     III          Securities     Contract Claims           for    Securities        Loans Master            Securities



Lending Agreement                JPMCB         was owed        23,817,391          arising from securities                loans   under the



Master Securities Lending Agreement dated                        as of     March        9 1983 as amended                  between      JPMCB

f lc a The    Chase Manhattan               Bank    National     Association                 as   trustee    or   managing agent and             the



Debtor f k a Shearson American Express                         Inc      the      Agency           MSLA            Of this amount          a

 8,010,490     related      to   income        dividends    and other distributions on securities borrowed                           by    the



Debtor under      the      Agency      MSLA        which the Debtor           failed    to    remit     to   JPMCB        as required     by   the



Agency MSLA               fees and other charges           owing under           the   Agency        MSLA          and   indemnification




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claims and         b    15,806,901         related to   out of pocket expenses          and transaction      costs incurred           by


JPMCB       in connection         with the exercise      of remedies with respect          to   the outstanding         securities



loans under the Agency              MSLA      and the liquidation of collateral held thereunder                       JPMCB     was


also   owed      an additional          8,565,357 by the Debtor in fees account balances                   and other amounts


under the Agency            MSLA



                       JPMCB       recovered      8,010,490      of the   non estimated         portion   of the Claim



described    in    the preceding         paragraph through       the application       of the proceeds of collateral posted



by   the Debtor under the           Agency     MSLA



                       In addition       JPMCB     is   owed    25,302 by LBI for other post petition expenses


incurred    as    a result of the closing       of the securities lending           portfolio




The    reconciliation         process    with respect    to   the Claims under the       Agency      MSLA        is   ongoing and


JPMCB       therefore      reserves      the right to   amend    its   Proof of Claim      including      this   Annex

consistent       with the     results    of such reconciliation




                       N         Securities     Contract Claims         for   Failed Transactions         Global Custody and


Clearing     Agreement JPMCB was owed                          2,450,272      arising from breaches of securities



contracts    under the Global Custody and Clearance Agreement dated as of March                                       14,2001     as



amended between JPMCB f k a The                         Chase Manhattan         Bank     and the Debtor This Claim                arises




from    the failure     of the Debtor to repay funds advanced                  by   JPMCB       as collateral agent        to   the



Debtor and        to settle    a portion    of certain securities contracts          because     the Debtor did not        pay    UK
stamp    taxes    applicable      to the transactions         and payable by the Debtor This Claim represents                         the




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amount payable by          the Debtor under the relevant               securities contracts       including      the stamp   tax


and   may   be subject      to   reduction     by   the   amount of any net proceeds          realized    by   JPMCB      from the



sale of the relevant       securities




                     V           BGI Related        Securities   Lending     Claim     Custodial Undertaking              JPMCB

was owed          8,024,375      arising from the exercise        of remedies with respect           to   the Debtor’s    defaults



under securities loans with           Batclays       Global Investors       Limited    as   agent   for Stichting



Pensioenfonds        voor de Gezondheid Geestelijke                en Maatschappelijke          Belangen          BGI      under



the Custodial Undertaking             in Connection          with Global Master Repurchase            Agreement and Global


Master Securities         Lending Agreement among                the   Claimant    as custodian       the Debtor and       BGI


dated as of January         18 2006




                     VI          Securities    Options Claims           JPMCB     as   assignee     from Washington        Mutual


Bank Account            No G54440            was owed        2,179,688    arising from put options          on   three forward



settling trades     for   FNMA       securities      on which    the Debtor defaulted          These trades       are evidenced



by two Option Confirmations and Agreements                        dated    September    3,2008 and one such agreement


dated September          9 2008



                     VII         Securities    Contract Service         Fees Account Charges and Other Amounts


JPMCB       was owed        2,910,494        for   various   fees and charges relating to accounts and services



provided    to or for the benefit        of the     Debtor The         fees and charges consist       of       2,803,620 of



service    fees   and   other fees    and charges         under the Master Implementation Form for Treasury


Services    General Service Terms and Conditions and Controlled                         Disbursement           Services   dated   as



of February       8 2005      as   amended         between    JPMCB       and the Debtor       41,949 of physical




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securities      fees and other fees and charges                     under the Domestic             Custody Agreement dated                       as   of



February        28,2007          as   amended            between    JPMCB          and the Debtor and                64,925 relating to            UK
Accounts        and other fees and charges under the Global Custody and Clearance Agreement dated


as of   March         14,2001         as    amended         between        JPMCB f k a       The Chase Manhattan                    Bank         and the



Debtor       In    addition       JPMCB           was owed         97,578 arising from an overdraft                      in account 66020751



resulting from returned                checks       dated prior       to   the Petition    Date      In addition              JPMCB       is   owed      the



following amounts                arising after       the Petition      Date         a    491,692     for       post petition broker dealer


fees      483,974 and             fees      on   physical      settlements         7,718      b      75,473       for    principal and interest



payments in           relation to      two       physical      securities purchased         by JPMSI             c      12,102,386         for   legal



expenses and              d      1,913,362         for   consulting        expenses     incurred    by    JPMCB          with respect          to its



Claims against            the   Debtor



                         VIII         Misdirected Payments



                         A            JPMCB         is   owed      7,000,000 for the return of misdirected                        payments         with


respect    to   its     client Bridgewater                On   September       17 and 18,2008             JPMCB          made erroneous


payments        totaling         7,000,000         from     JPMCB          custodial    accounts    to    accounts        of the Debtor



maintained         with Citibank             London         accounts         account      66427     and account


GB23CITI18500810640409                              Bridgewater issued cancellation                  instructions             that were    not



executed before            the   payments            JPMCB         made payment          recall    requests      to    Citibank      but Citibank



rejected    the recall          of the funds         JPMCB         paid Bridgewater           7,000,000           and subsequently               filed     a


claim with the Debtor                 for   the return of the        payments           This Claim arose              after    the Petition       Date




                         B            JPMCB         is   owed      4,433.89 for the return of misdirected                        payments        with


respect    to     its   client Fidelity Central             Investment        Portfolios     LLC         fbo    Fidelity       Mortgage Backed




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Securities      Central        Fund          Fidelity On September                        16,2008        the Debtor        wired      4,433.89



through    Citibank           to    JPMCB      for     further credit to Fidelity                 In   October 2008         JPMCB          which had



been unable        to    confirm with Fidelity the instructions                           regarding       the    Funds     returned       the funds to



the Debtor      and subsequently                  received     instructions            from    Fidelity to       execute the cash payment



This Claim arose              after    the Petition        Date




                        B             JPMSI Claims


                        1             Securities        Contracts Claims                for   Defaulted      Securities     Loans         JPMSI     was


owed      10,097,117               arising   from      securities    loans       under the Master Securities                 Loan Agreement


dated as of April             23     1993    as   amended         between         JPMSI          fk a    Chemical      Securities         Inc     and the



Debtor     f kJa    Shearson           Lehman Brothers Inc                       the     JPMSI         MSLA          This   is   a net Claim



remaining       after    the close out of outstanding securities                              loans    and application       of collateral        posted



under the    JPMSI            MSLA           Such       10,097,117       has      been paid by application                 of cash    collateral




posted by    LBHI            to secure its Guaranty             dated as of September                   9   2008     the    Second LBHI


Guaranty         of     all   obligations         of   LBHI    and   all    of    its   subsidiaries        to   JPMCB      and    all   of its



affiliates subsidiaries                successors          and assigns      as indicated          in the following documents                  sent by



JPMCB      to   LBHI          collectively           the    LBHI Demand Documents Demand                                     for   Payment under


Guaranty dated October                  24 2008            Notice of EnforcementofSecurity                          in respect     of Guaranty



dated October           29 2008         Restated           Demand     for    Payment under Guaranty dated November                                 14


2008     and Restated Notice                 of Enforcement           of Security             in Respect         of Guaranty      dated    November


14,2008




                        II            Underwriting           or Placement Fees                   JPMSI was owed              9,554,671 for net


underwriting fees payable to                      JPMSI      pursuant       to   certain underwriting               arrangements          where the




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Debtor      as lead or        managing         underwriter             or equivalent          failed to pay     JPMSI     fees    owed       for    its




participation       as   joint   book running manager                     co manager           or underwriter        or equivalent          in   debt



equity and asset backed                    securities      offerings     which took place           in   June July August and


September of 2008                    7,314,913        is   attributable to fees or interests               arising from equity          offerings



and     2,807,714        is   attributable to fees            owing      to   JPMSI         from the Debtor arising from debt and



asset backed securities originations                         net of fees of          567,956 arising from debt and asset backed


securities      originations         which are owing              to   the Debtor       from      JPMSI




                         C           JPM      Clearing Claims                 JPM   Clearing was owed              525,266 arising from



securities      loans    under the Master Securities                     Loan Agreement dated                as of January       18 2002           as



amended between JPM                        Clearing     and the Debtor          the         JPM   Clearing    MSLA          This       is   a net



Claim remaining              after   the close out          of outstanding          securities     loans     and application       of collateral



posted under the          JPM        Clearing      MSLA           Such        525,266 has been paid by application                     of cash


collateral posted         by LBHI            to secure      the   Second       LBHI     Guaranty         as indicated in the       LBHI


Demand Documents




                         D           Additional Claims Applicable                      to    All Claimants         In addition    to    the Claims



set forth    above each Claimant may hold                          additional        Claims some of which may have accrued


after the Petition           Date or       may   accrue       after    the date hereof            Such Claims include            but are not



limited    to    a Claims            for    post petition      interest accrued under applicable                    agreements or           law      b

Claims     for   prepetition         and post petition            costs and        expenses       including     transaction      and legal fees


and expenses            payable under applicable                  agreements or             law    c   increases    to   Claim amounts             stated



above     in this   Annex        that      may be     determined upon               final    reconciliation     of the relevant transactions



and amounts         payable           d     contingent        Claims not currently              liquidated      e   Claims for prepetition




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and post       petition misdirected            payments       to the    Debtor including            but not limited     to amounts              paid



or payable         by or       to customers of the Claimant              amounts        held in accounts      for the   Debtor by a



Claimant and amounts paid                     to    the Debtor    that should have          been paid or remitted         to    the



Claimant and               f   Claims arising from          outof pocket            expenses     and transaction    costs incurred              by



or   on behalf of Claimant                in connection       with the exercise          of default remedies       enforcement             of



rights and the liquidation                  of collateral




                           Each Claimant           asserts all rights     entitlements          claims and remedies with respect                     to




such Claims as a matter of general                      law   equity     or   otherwise and reserves          the right    to    assert any



and   all   rights       entitlements claims and remedies                     as   a creditor   for such   Claims The Claimant on


behalf of         itself   and   its   Affiliates     also asserts a claim against              the Debtor   for all amounts           owed      to




the Claimant             and or    its   Affiliates   by   the Debtor that are not          yet absolutely     due or owing or are


otherwise contingent or unliquidated                        including     any amount that           may    be due to the Claimant



and or      its   Affiliates from the Debtor               in respect    of representations          warranties reimbursement



obligations          agreements           covenants or indemnities made by the Debtor or implied                          at    law or in



equity




                           E           Securities     Law Claims        Claims Filed by Codebtor               Each Claimant             or its



Affiliates        may      have contingent          contractual   and    non contractual           indemnity     contribution



equitable         and other claims against             the Debtor       for   any losses claims damages or other                      liabilities




 or actions         in   respect    thereof        joint or several to        which such Claimant may become                    subject



under securities law or otherwise including without limitation settlement costs investigation



costs   and the fees and expenses                    of counsel    collectively           Actions      arising   from based on             or



relating to the underwriting                  placement       andor     sale of securities         by such Claimant            In




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                                                                      P Morgan


circumstances            where     a Claimant or an Affiliate of                    a Claimant     is    the    lead      managing underwriter


with respect        to    an offer of securities            such Claimant or Affiliate also                         asserts    claims of the kind



described      in   the preceding             sentence     against        the Debtor      on behalf of          all     underwriters         in the



underwriting         syndicate           and   their     affiliates with respect            to such offer               In addition each



Claimant and          its   Affiliates         as an entity that is or           may be     liable with the Debtor                   to    a creditor    that



has not     filed    a proof      of claim hereby               files    pursuant to Bankruptcy               Rule        3005 a      a proof of claim



on behalf     of each such           creditor      covering        claims       in Nhich    such Claimant or Affiliate                       as




applicable      is   a codebtor          with the Debtor The                   name of     each such creditor                 is   not currently



known




                     This       filing   is   intended     to    include without limitation                    all   Claims of the types



described above             in the preceding           paragraph arising from the                facts       and circumstances                which


allegedly     gave       rise   to the claims asserted              against      Claimant any of              its    Affiliates      andor        the Debtor



in the   following         cases         In re   Ambac Fin Group                  Inc    Sec    Litig        S DN         Y        In re   American          Int’l




Group Inc Sec              Litig     S DN        Y       American          Nat’l Ins      Co    v Fuld         et    al    SD Tex S DN                  Y
City of Cleveland            v Deutsche          Bank      Trust        Co     et al    Ohio Ct    Com Pl Cuyahoga                          County       ND
Ohio      City of Cleveland               v JPMorgan             Chase Bank            NA      et al     Ohio Ct           Com Pl Cuyahoga

County In           re Fannie        Mae 2008 Sec               Litig      S DN        Y   Freidus           et al      v ING       Groep     NV        et   al



S DN      Y         Genesee County Employees Ret System v Thornburg                                            Mortgage Inc                 et al     Santa


Fe County           New Mexico Iron                Workers         Local       No      25 Pension Fund              v   CreditBased Asset


Servicing      and       Securitization          LLC      SDN       Y          Jacoby    v Syron        et   al      SD N          Y      Luther v



Countrywide          Home        Loans        Servicing     LP      et    al    County of Los Angeles New York                              City



Employees’Ret               System       v    Countrywide          Fin Corp             CDN     Y        Orange County Employees Ret




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System      et al   v Carlson         et al        ND Cal Phynice                   Kelley     v     ShoreTel           Inc    et al      San   Francisco



County N       D Cal Rubin              v    MF      Global        Ltd      et al    S DN        Y      In re      US     Interactive           Inc    Sec


Litig      B D Pa       In re   SemGroup Energy Partners                            LP   Sec       Litig       ND Okla              In re Virgin



Mobile USA IPO Litig               DNJ               In re Washington               Mutual Inc Sec              Litig         W D Wash                and


Watkins      v ShoreTel         Inc     et    al    ND Cal               as well as      a     all   cases    or Actions relating to the



restoration     retrieval     or clean        up    of Claimant’s            its   Affiliates        and or    the Debtor’s properties



affected     by September         11,2001           terrorist     actions      and     b    all    cases     or Actions relating to



allocation     compensation           and analyst recommendation matters                              involving          initial   public       offerings



including but not limited to In re                     Initial     Pub      Offering     Sec       Litig       SD N       Y      and actions          filed




by Vanessa Simmonds               seeking          relief   under Section            16 b    of the     Exchange Act                W D Wash              9th



Cir       The Claimants         further reserve             all   rights to assert all claims under contract federal



securities    law and    common law                 including           but not limited to indemnification                      and contribution



against    the Debtor       with respect           to all similar actions            brought         against    Claimant whether                 the



actions    currently    are pending            or are filed        at    a future   date




                    3           Secured Claim                     In addition       to the collateral          applied        against     Claims as



described     above     JPMCB         currently         holds       a     cash and securities collateral                      including     cash


principal    and interest payments                 and other proceeds thereof posted by the Debtor under the


Clearance Agreement               which secures             all   claims of        JPMCB        against      the    Debtor         the aggregate



value of which collateral             is     not currently         determinable            b    approximately                 8,565,357     of the cash



proceeds of collateral posted by the Debtor under the Agency                                         MSLA          to   secure the Claims under



the   Agency    MSLA        and   all      other    JPMCB          Claims against          the     Debtor and            c     at least




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 142,476,437        of cash in accounts of the Debtor against                                which      JPMCB       has    collateral         andor


setoff rights




                        In addition the Claims of                         JPMCB    against      the Debtor        under the Clearance



Agreement        are guaranteed             by     the Guaranty            of   LBHI    dated as of August              26     2008     the        First




LBHI Guaranty               and secured by the cash and securities collateral posted therefor pursuant                                                     to




the   Security    Agreement           relating to the First                LBHI    Guaranty dated as of August                       26 2008         between



JPMCB       and   LBHI          The Claims of              all      of the Claimants against            the Debtor         are guaranteed             by    the



Second LBHI Guaranty and                       secured          by    additional     collateral     posted therefor pursuant                   to    the



Security Agreement relating to the Second                                 LBHI     Guaranty dated           as   of September           9,2008


between        JPMCB      and    LBHI          The        aggregate        value of the collateral posted by                   LBHI      is    not



currently      determinable




                    In accordance                with the           CDA the       Claimant has applied             or   will apply the Collateral



 as defined      in the   CDA          to    the    non contingent              Claims    set   forth herein




                    4            Amount              of Claim Entitled Priority                     Each Claim            is   a secured       claim to


the   extent    of the value of the collateral securing                          such Claim        is   entitled to priority as an



administrative      expense           to    the extent         it   arose on or after the         Petition       Date and       is    a general



unsecured claim to the extent                      that   it   is   not secured     and      not entitled to      such priority without


prejudice      to any     and   all   of the rights of the Claimant                      i under Section 1111 b of                     chapter        11 of



the United      States    Bankruptcy               Code        11    US C         101   et   seq    the     Bankruptcy           Code          and     ii to



assert that all or a portion                of the Claims            is   entitled to   administrative           priority under Sections                   503



and 507 of       the Bankruptcy              Code         These Proofs of Claim are                 filed    without prejudice                to   the right




                                                                                13
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                                                                                                     TO PROOFSExhibit   B
                                                                                                                 OF CLAIM
                                         JPMorgan       Chase Bank PgNA99Jof 109 Securities Inc and JP Morgan Clearing Corp
                                                                          P Morgan


of any Claimant to request                      payment       of any administrative               expense claims that            it   may     have



against    any of the Debtors                    including without limitation administrative                          expenses             not described



in this Proof of             Claim and          administrative        expense         claims arising from the use of Claimants                          cash



collateral    by       the debtors         in these Chapter           11   cases and Claimant                  reserves    the right to request



payment of such               administrative            expenses      at   a later date or        when    required        by   the    Court     the



Bankruptcy         Code            or other applicable             law




                         5               Credits        The amount of           all   payments       on   the Claims has been credited                   and



deducted     for the purpose of                      making   this   Proof of Claim or such payments                       have been described


above      The Claimant                 reserves       the right to      set   off against       any amount        securities         or   positions



owed by      it   to    the   Debtor           all   obligations     of the Debtor         to   the Claimant and any obligations                      that



the   Debtor or any                affiliate    owes    to   the   Claimant or any          affiliate     in    each case      to     the extent



allowed     by    applicable            law or any agreement or instrument




                         6              Supporting           Documentation               The Claimants have               heretofore          provided       to




the   Trustee          the    SIPA Trustee appointed by                         the Court under           SIPA tens        of thousands of pages


of documents requested by the SIPA Trustee                                     including        copies   of the agreements referred to



herein and information relevant to the Claims described                                         herein     Consequently              additional       copies



of such voluminous                    documents         are not included with this                Annex    to   the Proofs of          Claim The


Claimant will furnish                   the Debtor        and the Trustee          as applicable          with copies of any additional



pertinent    documentation                     upon request



                         7              Reservation           of   Rights Amendments                     The    assertion of Claims             by each


Claimant herein               is    not a concession or admission                  as   to the correct         characterization            or treatment




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                                                                                                            OF CLAIM
                                      JPMorgan     Chase Bank     A Jof
                                                              PgN100    109 Securities Inc and JP Morgan Clearing Corp
                                                                      P Morgan



of any such claims nor a waiver                      of any rights of such         Claimant The execution and                       filing      of the



this Proof of          Claim does          not constitute       a   a waiver      or release      of such Claimant’s rights                  against



any   other entity or person liable for all or part of the                        Claims          b   a consent        by such Claimant              to




the jurisdiction         of    this   Court with respect        to any proceeding             commenced           against      or otherwise



involving such Claimant                     c   a consent by such Claimant                to the treatment            of any   non core         claim



against    it   as    a core claim          d   a waiver    of the right to       move      to withdraw          the reference       with



respect    to   the subject        matter of the Claims or otherwise including                          without limitation any



objection       or other proceedings               commenced        with respect        thereto       or any other proceedings



commenced against                or otherwise involving             such Claimant             e   a waiver       of any right to          the



subordination            in   favor    of such     Claimant     of indebtedness            or liens    held by other creditors of the



Debtor          f    an election      of remedies that waives             or   otherwise      affects    any     other remedies            or    g        a



waiver     of any right to            arbitration or other alternative            dispute      resolution       mechanism          that   is




otherwise applicable                  Each Claimant         expressly reserves          its   right to   amend and supplement                    this




Proof of Claim           to   the fullest       extent   permitted by law         to   specify        and quantify damages costs



expenses        and other charges or claims incurred by the Claimant and                                 to    file   additional    proofs       of



claim     for   additional       claims including           without limitation            i   claims     for   post petition       interest legal



fees and related expenses                   that are not    ascertainable       at this    time and       ii claims arising from or



relating to the avoidance                  of transfers made        to   the Claimant or any other entity                      The Claimants


reconciliation          process       is   ongoing and      the Claimants therefore               reserve      the right to      amend         the



Proofs of Claim and               this     Annex    consistent with the results             of such reconciliation




                         8            Notices       ALL NOTICES WITH RESPECT TO THE CLAIMS SHOULD

BE SENT TO




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                                                                                               OF CLAIM
                          JPMorgan   Chase Bank     A JPof Morgan
                                                PgN101     109 Securities Inc and JP Morgan Clearing Corp


                 JPMorgan    Chase    Bank    NA
                 245 Park Avenue       lih Floor
                 New York New        York     10167

                 Attention        Kevin     C Kelley      Esq
                 Fax              646534 6400

with a copy to



                 Wachtell Lipton Rosen             Katz

                 51   West 52nd   Street

                 New York New        York     10019

                 Attention        Harold     S   Novikoff Esq
                                  Kathryn     Gettles   Atwa Esq
                 Fax              212403 2249



Penalty for Presenting Fraudulent Claim           Fine of up    to   500,000 or imprisonment for up   to   five

years or both    18   U Sc        152 and    3571




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                                                                                      JPMorgan Chase Bank N A al                                       et




                                                                      EXHIBITC

                                      JPMSIILBHI SECURITIES                               LAW CLAIMS


January 3,2002 offering               of    1,000,000,000                   principal   amount   of    6.625          Notes due 2012 issued

by LBHI pursuant               to an Underwriting            Agreement dated               as of January        3,2002 among            LBHI       as

issuer and        JPMSI LBI           ABN AMRa               Incorporated Bane of America Securities                          LLC BNP
Paribas     Securities         Corp Danske Bank                  Dresdner Kleinwort Wasserstein                       Securities LLC HSBC

Securities        USA       Inc Hypo        Vereinsbank                The Royal Bank of Scotland pIc Salomon Smith
Barney Inc            SG Cowen        Securities          Corporation SunTrust Capital Markets                         Inc UBS Warburg
LLC US            Bancorp       Piper Jaffray        Inc     and Westdeutsche               Landesbank          Gironzentrale        as

underwriters


November          6   2002 offering        of    250,000,000                principal    amount of Medium Term Notes                          Series    G
issued by        LBHI      with a maturity        date of        November         15 2017 pursuant to the Purchase Agreement
dated November             6   2002 among         LBHI           as    issuer    and JPMSI LBI ABN AMRa Incorporated

Bane of America             Securities     LLC         Credit     Lyonnais         Securities     USA        Inc      Fleet Securities           Inc
HSBC Securities                USA Inc          Mellon      Financial          Markets      LLC      Salomon Smith Barney Inc and
U S Bancorp             Piper Jaffray      Inc as underwriters incorporating                         by   reference       the provisions         of the

Amended          and Restated Distribution Agreement dated                               as of July   26,2001


March 12          2003 offering       by Lehman            Brothers           Holdings     Capital    Trust III         Trust     IIf     a

Delaware         statutory     trust guaranteed            by LBHI of              300,000,000        aggregate       liquidation       amount of
its   Preferred Securities           Series     K pursuant             to   the Underwriting         Agreement dated            as of   March          12
2003 among Trust               III as issuer      LBHI           as   guarantor and         JPMSI      and    its   predecessor Bear Stearns

      Co   Inc        BSC and         the other underwriters                   named on Schedule           II   thereto



August 20,2003             offering    by LBHI of 120,000                     shares of its Cumulative              Preferred     Stock       Series        F
pursuant     to   the Underwriting            Agreement dated                  as of    August   20   2003 among          LBHI       as issuer

JPMSI      and    its   predecessor       BSC     and the other underwriters                  named on Schedule              II   thereto



October 9,2003 offering               by Lehman             Brothers          Holdings     Capital    Trust     IV      Trust     IV      a

Delaware         statutory     trust guaranteed            by LBHI of              300,000,000        aggregate       liquidation       amount of
its   Preferred Securities           Series L pursuant to the Underwriting Agreement dated October                                             9,2003
among      Trust      IV   as issuer      LBHI as guarantor and JPMSI and its predecessor BSC and                                             the other

underwriters          named on Schedule              II   thereto



February     14,2004           offering    by   LBHI        of        750,000,000        principal    amount of Medium Term Notes
Series     G with       a maturity    date of     March 13,2014 and                      500,000,000       principal      amount of Medium
Term Notes            Series   G with     a maturity        date of          March 13,2009 pursuant              to    the Purchase

Agreement dated February 14,2004 among                                      LBHI   as issuer and       JPMSI LBI            ABN AMRO
Incorporated           Bane    of   America      Securities           LLC       Citigroup Credit Lyonnais               Securities        USA
Inc HSBC           Securities        USA        Inc       Santander Central Hispano Investment                         Securities     Inc
SunTrust     Robinson           Humphrey The               Royal Bank of Scotland                The Williams           Capital     Group        LP
as underwriters            incorporating        by   reference          all   of the provisions       of the    Amended           and Restated

Distribution       Agreement dated              July      26,2001




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April 1 2004 offering

statutory   trust guaranteed by
                                by Lehman
                                          LBHI
                                                 Brothers

                                                    of
                                                               Holdings

                                                         400,000,000
                                                                              Capital Trust

                                                                             aggregate
                                                                                               V
                                                                                         liquidation
                                                                                                    Trust   V
                                                                                                         amount of
                                                                                                                  a Delaware

                                                                                                                       its

Preferred    Securities       Series   M   pursuant      to   the Underwriting      Agreement dated April 1,2004
among Trust        V   as issuer      LBHI     as guarantor      and   JPMSI     and   its   predecessor    BSC   and the other
underwriters       named on Schedule           II   thereto    and


January     5   2005 offering     by Lehman          Brothers    Holdings       Capital Trust      VI    Trust   VI     a

Delaware        statutory    trust guaranteed        by LBHI      of       200,000,000   aggregate      liquidation    amount of
its   Preferred Securities       Series    N   pursuant       the Underwriting      Agreement dated January 5,2005
among     Trust    VI   as   issuer    LBHI     as guarantor and            JPMSI and    its   predecessor   BSC      and the other
underwriters       named on Schedule           II   thereto




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                                 EXHIBITD

                            PWC CLAIM LETTERS

                               Previously   supplied




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                                 EXHIBITE

                            LBIE CLAIM LETTERS

                               Previously   supplied




                                       E    l
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                                                    EXHIBITF

                      LBIE CALCULATION STATEMENTS AND DEMANDS


Calculation      Statement dated as of October      12 2008 from   lPMBD f k a BSB          to    LBIE    including

all   accompanying     appendices     attachments and media containing     related detail        JPM 2004
00003390000342

Calculation      Statement dated    as of October   17,2008 from   lPMM    flk a   BSIL     to   LBIE     including

all   accompanying     appendices     attachments and media containing     related detail        JPM 2004
00003340000338




00000110000042
Calculation      Statement dated as of October      27    2008 fromJPMCB   to   LBIE    including       all

accompanying appendices            attachments and media containing    related detail    lPM 2004



JPM20040000001
Demand     for   Payment under Guaranty dated
                   0000003
                                                     as   of October 24,2008 from   lPMCB         to   LBHI




JPM20040000008
Notice   of Enforcement

                   0000009
                            of Security in respect    of Guaranty dated as of October       29    2008




Note The      foregoing   Bates numbers exclude any accompanying           CDs




                                                          F1
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                                                                              etal




                                 EXHIBITG

                            SWISS CLAIM LETTER

                               Previously   supplied




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                                                                           JPMorgan Chase Bank N A al                     et




                                                        EXHIBITH

                         LBFSA CALCULATION STATEMENTS AND DEMANDS




00001760000204
Calculation Statement dated as of October                17     2008 from   JPMCB    to    LBFSA including          all

accompanying appendices                attachments and media containing         related detail  JPM 2004
               Supplementary          Calculation    Statement dated as of February 24,2009 from                 JPMCB     to

LBFSA



00001690000175
Calculation       Statement dated as of October          17 2008 from JPMIBL          to   LBFSA including          all

accompanying appendices                attachments and media containing         related    detail JPM 2004


                                                                            JPMM fk a BSIL                LBFSA

JPM20040000205
Calculation       Statement dated as of October          17     2008 from                            to


including    all   accompanying appendices             attachments    and media containing related         detail

                        0000211       Supplementary     Calculation   Statement dated       as   of February     24,2009
from     JPMM      to   LBFSA

Supplementary           Calculation    Statement dated     as   of February   24 2009 from        JPMM f k a BSIL              to

LBFSA       including      all   accompanying       appendices    attachments   and media containing            related

detail



Supplementary           Calculation    Statement dated     as   of February   24   2009 from      JPMCB    to    LBFSA
including    all   accompanying appendices             attachments    and media containing related detail


Supplementary           Calculation    Statement dated     as   of February   24   2009 from JPMIBL         to    LBFSA
including    all   accompanying appendices             attachments    and media containing related detail




00000010000003
Demand      for    Payment under Guaranty dated           as of October     24,2008        JPM 2004


Note     The   foregoing         Bates numbers exclude any accompanying             CDs




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                                  EXHIBIT I

                              PROOFS OF DEBT

                               Previously supplied
